Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 1 of 206 PagelD: 1

MICHAEL O’B. BOLDT, ESQ.

MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
1300 Mount Kemble Ave.

P.O. Box 2075

Morristown, NJ 07962-2075

(973) 993-8100

Attomeys for Defendants,

Rutgers, The State University of New Jersey and

Jewell Battle, in her Official Capacity as the

OPRA Administrator and Records Custodian of Rutgers University

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHRIS DOE,

Plaintiff, CIVIL ACTION NO.

VS. NOTICE OF REMOVAL
(28 U.S.C. § 1446)
RUTGERS, THE STATE UNIVERSITY
OF NEW JERSEY, and JEWELL BATTLE,
IN HER OFFICIAL CAPACITY AS THE
OPRA ADMINISTRATOR AND RECORDS
CUSTODIAN OF RUTGERS UNIVERISTY,
Defendants.

 

To: Clerk
United States District Court
District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 2020
Trenton, NJ 08608

On Notice to: Clerk
Superior Court of New Jersey
Law Division — Middlesex County
56 Paterson St.
New Brunswick NJ 08903
Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 2 of 206 PagelD: 2

COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq.

Park 80 West - Plaza One

250 Pehle Avenue, Suite 40]
Saddle Brook, New Jersey 07663
JAMIE EPSTEIN, ESQ,

1? Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925
Attorneys for Plaintiff

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331 and 1441, ef seq.,
defendants, Rutgers, The State University of New Jersey (“University”) and Jewell Battle, in her
Official Capacity as the OPRA Administrator and Records Custodian of Rutgers University
(“Administrator”) (together, “Defendants”), by their undersigned attorneys, hereby remove this
action captioned Chris Doe vs. Rutgers, The State University of New Jersey and Jewell Battle. in
her Official Capacity as the OPRA Administrator and Records Custodian of Rutgers University,
Docket No, MID-L-05051-21 from the Superior Court of New Jersey, Law Division, Middlesex
County, to the United States District Court, District of New Jersey.

PLEASE TAKE FURTHER NOTICE that a copy of this Notice of Removal is being
filed with the Clerk of the Superior Court of New Jersey, Law Division, Middlesex County, and
is being served on counsel for all named parties, thereby effecting removal pursuant to 28 U.S.C.
§ 1446(d).

PLEASE TAKE FURTHER NOTICE that by effecting removal of this civil action,
Defendants reserve all rights to raise any and all defenses available under the Federal Rules of
Civil Procedure including, but not limited to, Federal Rule of Civil Procedure 12.

PLEASE TAKE FURTHER NOTICE that in support of this removal, Defendants rely

upon the following:

ho
Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 3 of 206 PagelD: 3

1. The University and the Administrator are defendants in the civil action filed on
August 26, 2021 in the Superior Court of New Jersey, Law Division, Middlesex County, Docket
Number Docket No. MID-L-05051-21 and served on the Administrator on September 15, 2021.
True and accurate copies of the Order to Show Cause, Amended Verified Complaint,
Certification of Jaime Epstein and Brief served on the Administrator, are attached hereto as
Exhibit A through D.

2. Defendants are removing this action pursuant to 28 U.S.C. § 1331 to the United
States District Court for the District of New Jersey, which is the judicial district and division in
which the action is pending, based upon the existence of federal questions in this case, including
the assertion of claims by plaintiff Chris Doe that the University is allegedly in violation of the
federal Family Educational Rights and Privacy Act of 1974 ("FERPA"), 20 U.S.C.A.
§1232g(a)(1), and its implementing regulations 34 C.F.R. § 99.11. See First Amended Verified
Complaint (attached as Exhibit B), § 59 (“as a matter of law, Defendants are prohibited from
charging a student for the costs to search for or retrieve the student’s own education records. 34
CPLR. § 99.1 1(b), 20 ULS.CLA, $1232g(a)(1)"); Brief of Plaintiff in support of Order to Show
Cause (attached as Exhibit C) at 2 (same), 8 (“Defendants denial of access to Plaintiffs student
records unless a $7,020 special service charge is paid violates OPRA because a special service
charge related to the retrieval of student records is prohibited by FERPA. 34 CFR § 99.11(b), 20
U.S.C, 1232g(a}(1)’). Plaintiff's Brief further states:

But, it is not necessary to jump to disputing the service charge because a
service charge is prohibited by the controlling federal law governing
student records, to wit, FERPA, 20 U.S.C. 1232g(a)(1). Custodians must
comply with all other applicable law that governs the type of record
requested and in this case FERPA governs the requested student records.
[Doe vs. Rutgers, 466 N.J. Super. 14, 24-26 (App. Div. 2021)).

Specifically, 34 C.F.R. 99.11 (b) states "An educational agency or
institution may not charge a fee to search for or to retrieve the education
Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 4 of 206 PagelD: 4

records of a student." Here, Defendants prohibited $7,020 service charge
constitutes a denial of access in violation of OPRA. Accordingly, the
Court should disallow the special service charge and grant Plaintiffs
proposed Order for access to his own student records within the requested
identified emails.

(At 13.)
3, Thus, this Court has jurisdiction pursuant to 28 U.S.C. § 1331.
4. Removal is therefore appropriate pursuant to 28 U.S.C. § 1441 ef seq.
5. Venue is appropriate because the state court action was filed within this district.

28 U.S.C. § 144i (a).

6. This Notice of Removal is timely because it is filed in this court within 30 days
after the receipt by the Administrator of a copy of the Order to Show Cause and Amended
Verified Complaint in this action, which occurred on September 15, 2021. Removal is therefore
timely under 28 U.S.C. § 1446(b).

7. The University, which has not been properly served with the Order to Show
Cause, Amended Verified Complaint or previously filed Verified Complaint, joins in the
removal of the action. Although not properly served, the University learned of the pendency of
this action through informal notice from plaintiff's counsel to outside counsel for the University
on August 30, 2021.

8. In accordance with 28 U.S.C. § 1447(b) there are attached to this Notice of
Removal true and correct copies of all pleadings, process and orders served upon Defendants by
the plaintiff in this case. See Exhibits A through E.

9, In accordance with 28 U.S.C. § 1447(b) Defendants shall give prompt written
notice of the removal of this case to the plaintiff, and shall file a copy of this Notice of Removal

with the Clerk of the Superior Court of New Jersey, Law Division, Middlesex County.
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WHEREFORE, defendants Rutgers, The State University of New Jersey and Jewell
Battle, in her Official Capacity as the OPRA Administrator and Records Custodian of Rutgers
University, respectfully request that this case proceed before this Court as an action properly

removed.

MCELROY, DEUTSCH, MULVANEY

& CARPENTER, LLP

Attorneys for Defendants

Rutgers, The State University of New Jersey and

Jewell Battle, in her Official Capacity as the

OPRA Administrator and Records Custodian of Rutgers
University

By: s/Michael O'R. Boldt
Michael O’B. Boldt

Date: September 29, 2021

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Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 6 of 206 PagelD: 6

EXHIBIT A
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COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No. 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 40]

Saddle Brook, New Jersey 07663
(201) 845-9600

JAMIE EPSTEIN, ESQ.- 000000059920
17 Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925

Attorneys for Plaintiff

 

Chris Doe, Plaintiff, SUPERIOR COURT OF NEW JERSEY _|
]
|v: ' sTCyNY- . |
|RUTGERS, THE STATE UNIVERSITY OF LAW DIVISION: MIDDLESEX COUNTY |
| NEW JERSEY and Jewell Battle in his official | = DOCKET NO. MID-L-5051 21
capacity as the OPRA ADMINISTRATOR and |
RECORDS CUSTODIAN of Rutgers University, CIVIL ACTION |

Defendants. | ORDER TO SHOW CAUSE

THIS MATTER being brought before the Court by Walter M. Luers, ESQ., attorney for
Plaintiff S.B., seeking relief by way of summary action pursuant to R. 4:67-1 and 2(a), based upon the
facts set forth in the verified complaint and supporting papers filed herewith; and the Court having
determined that this matter may be commenced by order to show cause as a summary proceeding
pursuant to N.J.S.A. 47: 1A-6 and for good cause shown,

IT IS on this 9th __ day of September , 2021 ORDERED that the Defendants
Rutgers, The State University of New Jersey and Jewell Battle in her official capacity as the OPRA
Administrator and Records Custodian of Rutgers University appear and Chris Doe is a fictitious name
used to protect the plaintiff/student's right to confidentiality of the plaintiff/student's records under state
and federal law which are the subject of civil action. Family Educational Rights and Privacy Act of
1974 (FERPA), 20 U.S.C.S. § 1232g, New Jersey Pupil Records Act, N.J.S.A. § 18A:36-19, L.R. v.
Camden City Pub. Sch. Dist., 452 N.J. Super. 56, 86 (NIAD 2017) (“to safeguard the reasonable

privacy interests of parents and students against the opposing interests of third parties who may seek
CUSED: 2DAPIT811 Cwewevent 1 Rie@ 642A ITPaga/S0af AD Recs D: 8

ee. 3

2021 before the Honorable DENNIS V. NIEVES , at the

Middlesex County Courthouse, 56 Paterson Street, New Brunswick, New Jersey at 2 o’clock in the
after noon or as soon thereafter as counsel can be heard, why judgment should not be entered:
A. Ordering Defendants to provide copies of records in pdf media of:
De-identified disciplinary records of other Rutgers Newark Graduate Students
charged with a separable offense;
Plaintiff's own student records of Defendants' communications making
reference to Plaintiff as requested by Plaintiff in Plaintiff's OPRA Request of 4/3/21 and
4/13/23); and
After in-camera review, the non-privileged portion of the redacted 102 page
record in response to Hem 4, OPRA search/response records improperly asserting
various privileges.
B. An award of costs of this action and reasonable attorneys’ fees;
C. Such other, further and different relief as the Court may deem equitable
and just.
IT IS FURTHER ORDERED AS FOLLOWS:
A. A copy of this order to show cause, verified complaint and all supporting
affidavits or certification submitted in support of this application be served upon the Defendants
PERSONALLY OR BY OVERNIGHT DELIVERY WITH SIGNATURE CONFIRMATION ONLY
within seven (7) days of the date hereof, in accordance with Rules 4:4-3 and R, 4:4-4, this being
original process. DELIVERY BY REGULAR MAIL AND CERTIFIED MAIL, RETURN RECEIPT
REQ-UESTED, SHALL NOT CONSTITUTE EFFECTIVE SERVICE.
B. The plaintiff must file with the Court their proof of service of the pleadings on the

Defendants no later than three (3) days before the return date.
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C, Defendants shall file and serve a written answer, an answering affidavit or a motion
returnable on the return date to this order to show cause and the relief requested in the verified

complaint and proof of service of the same within fifteen (15) days of service. The answer, answering

via eCourts
affidavit or a motion, as the case may be, must be filed wither GtereeSthe-Gepere neers

 

 

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Bytantocivcry Croce Cate
D, The plaintiff must file and serve any written reply to the defendants’ order to show cause

via eCourts
opposition by no later than three (3) days before the return date. The reply papers must be filed webblestdegsenmene

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E. if the defendants do not file and serve opposition to this order to show cause, the application
rit be decided on the papers on the return date and relief may be granted by default, provided that the
plaintiff files a proof of service and a proposed form of order at least three (3) days prior to the retum
date,

F. Ifthe plaintiff has not already done so, a proposed form ef order addressing the relief sought
on the retum date (along with a selfaddressed return envelope with return address and postage) must
be submitted to the court no later than three (3) days before the retarn date.

G, Deiendants take notice that the Plaintiff has filed a lawsuit against you in the Superior Court
of New Jersey. The verified complaint attached to this order to show cause states the basis of the
lawsuit. If you dispute this complaint, you, or you attorney, must file a written answer, answering
affidavit or a motion returnable on the return date to the order to show cause and proof of service

before the return date of the order to show cause,
via eCourts

i. These documents must be filed wethe=threSheseettine-Gepememiuenein the county listed

above. A directory of these offices is available in the Civil Division Management Office in the county

listed above and online at http://www judiciary. state.nj.us/prose/10153_deptyclerklawref.pdf. Include a
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$175 filing fee payable to the “Treasurer State of New Jersey.” You must also send a copy of your
answer, answering affidavit or motion to the Plaintiffs attorney whose name and address appear above,
or to the Plainuff, if no attorney is named above. A telephone call wiil not protect your rights;

you must file and serve your answer, answering affidavit or motion with the fee or judgment may

be entered against you by default.

1. If you cannot afford an attorney, you may call the Legal Services office in the county in
which you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJLAW (1-888-
576-5529). I you do not have an attorney and are not eligible for free legal assistance you may obtain a
referral to an attorney by calling one of the Lawyer Referral Services. A directory with contact
information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.judiciary.state.us/prose/10153_deputyclerklawref.pdf.

J. The Court will entertain argument, but not testimony, on the return date of the order to show
cause, unless the Court and pariles are advised to the contrary no later than three days before the retum
date.

K. ABSENT A SHOWING OF EXCEPTION AND UNFORESEEN CIRCUMSTANCES,
THE COURT WILL NOT ENTERTAIN ADJOURNMENT REQUESTS RECEIVED ON THE DAY

BEFORE THE RETURN DATE.

[t/ Dennes V Atavet

HON. DENNIS V. NIEVES JSC

 
Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 11 of 206 PagelD: 11

EXHIBIT B
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COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No. 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 401

Saddle Brook, New Jersey 07663
(201} 845-9600

JAMIE EPSTEIN, ESQ.- 00808 1990
17 Pleetwood Drive

Hamilton, New Jersey 08690
Telephone: §56.979.9925

Attorneys for Plaintiff —

 

[Chris Doe’, Se Plaintiff, SUPERIOR COURT OF NEW JERSEY _ |
y | i
RUTGERS, THE STATE UNIVERSITY OF | LAW DIVISION: MIDDLESEX COUNTY

NEW JERSEY and Jewell Battle in her official | DOCKET NO. MID-L-005051-21 |

capacity as the OPRA ADMINISTRATOR and |
RECORDS CUSTODIAN of Rutgers University, CIVIL ACTION

 

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| Defendants. : FIRST AMENDED VERIFIED COMPLAINT |

 

Plaintiff Chris Doe, through counsel, Law Offices of Walter M. Luers, LLC &
Jamie Epstein, Attorney at Law, and by way of verified complaint against the Defendants
Rutgers, The State University of New Jersey and Jewell Battle in her official capacity as the
OPRA Administrator and Records Custodian of Rutgers University, alleges as follows:

PRELIMINARY STATEMENT

1. This is an action under the Open Public Records Act, N.J.S.A. 47:1A-1 et seq., seeking a copy
of his own student records from 1/1/17 to the present and the de-identified disciplinary records of other
Rutgers Newark Graduate Students charged with a separable offense as per Plaintiffs OPRA Request
received by Defendant on 4/3/21 and 4/13/21.

PARTIES

 

} Chris Doe is a fictitious name used to protect the plaintiff/student’s right to confidentiality of the plaintiff/student’s records
under state and federal law which are the subject of civil action, The Federal Family Educational Rights and Privacy Act of
1974 (PERPA), 20 U.S.C.S. § 12322, New Jersey Pupil Records Act, N.JLS.A. § 18A:36-19, LR. ve Camden Ciry Pub, Sch.
Dist, 452 NJ. Super. 56, 86 (NFAD 2017) C'to safeguard the reasonable privacy interests of parents and students against the
opposing interests of third parties who may seek access to their student records ")

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2. Plaintiff Chris Doe is a citizen of the State of New Jersey, a natural person and a former student
of Rutgers University. Chris Doe's current State of residence is New Jersey.

3. Defendant Rutgers, the State University of New Jersey, 1s a public entity of the State of New
Jersey and is a public agency within the meaning of N.J.S.A. 47:1 A-1.1. With respect to requests for
public records, on information and belief, Rutgers’ principal piace of business is 65 Bergen Street, Suite
1346, Newark, New Jersey. Rutgers is a public institution of higher education and is subject to all
applicable state and federal laws pertaining to the maintenance and dissemination of its students’
records,

4, Defendant Jewell Battle, sued in her official capacity as the OPRA Administrator and Records
Custodian of Rutgers, is a “custodian of a government record” as that term is defined by OPRA,
N.E.S.A. 47:1A-1.]. On information and belief, Defendant University Custodian of Records’ principal
place of business is 65 Bergen Street, Suite 1346, Newark, New Jersey.

JURISDICTION AND VENUE

5, Venue is properly laid in Middlesex County. R. 4:3-2(a).
6. This Court has subject matter jurisdiction pursuant to OPRA, N_J.S.A.
AP AA-6.

FACTUAL ALLEGATIONS
7. From September 2010 to October 2017, Plaintiff was a student at Rutgers University in the
graduate school of business - Newark.
8. While at Rutgers University, all of Plaintiffs personally identifiable student records were non-
public records because of Plaintiff’s’s status as a student.
9, Rutgers University receives funding under programs that are administered by the United States
Department of Education. As such, Rutgers University is subject to the Family Educational Rights and
Privacy Act (‘FERPA”), which requires Rutgers University to not disclose personally identifiable

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information from a student’s records. Doing so risks loss of funding.

10. Because Plaintiff was a student of Rutgers, Plaintiff was within the class of persons whose
personally identifiable information was protected by FERPA.
11. Rutgers University’s duty to safeguard the privacy of Plainuff’s personally identifiable
information continues indefinitely, regardless of whether Plaintiff is a student at Rutgers.

I. THE 4/3/21 OPRA REQUEST (OPRAIL)
12. ~—- Via 4/3/21, email, Plaintiff's attorney, Jamie Epstein, Esquire, transmitted Plaintiff's OPRA

Request for Defendants to deliver the following records in pdf format via email:

Records, whether in electronic or paper media, which make reference to [plaintiff's
name, initials and student id #]. Documents requested include, but are not limited to:
(1) academic records: [plaintiff's initials] file kept by Dr. Edward Bonder, Associate Professor,
Faculty Arts and Sciences - Department of Biological Sciences, (b) Dr. Wayne Eastman,
Professor Rutgers Business School — Supply Chain Management; (c) Dr. Francis Bartkowski,
Professor Faculty Arts and Sciences —- Department of English; (d} Dr. Kinna Perry, Associate
Dean Graduate School-Newark; (e) Dr. Kyle Farmbry, Dean of the Graduate School-Newark.
Date range 1/1/17 to present.
(2) communications records such as emails, memos, text Messages, voice mail, letters, etc.,
sent or received by staff, administrators, contractors or agents of the University.
search information:
senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and Sciences -
Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers Business School
— Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and Sciences ~
Department of English; (d} Dr. Kinna Perry, Associate Dean Graduate School-Newark; (e) Dr.
Kyle Farmbry, Dean of the Graduate School-Newark: (e) [plaintiff's real name] or [plaintiff's
initials]
body or subject: [plaintiff's name! or [plaintiff's initials].
date range: 1/1/2017 to present
(3) other student discipline records: with all personal identification information (PII)
redacted: the disciplinary case file of any Rutgers Newark Graduate Student charged with a
separable* offense from 1/1/2015 to present.

2 (this footnote was appended to item #3) A separable offense is defined by Rutgers University as, “2. Separable
Vielations Separable violations are very serious violations of academic integrity that affect a more significant portion of
the coursework compared to nonseparable violations, Separabie violations are often characterized by substantial
premeditation or planning and clearly dishonest or malicious intent on the part of the student commutting the violation.
Below are some examples of violations that are most often considered separable, Again, the list is certainly not
exhaustive and classification of a given violation as separable or nonseparable is always heavily dependent on the exact
facts and circumstances of the violation.

A second nonseparable violation.
Substantial plagiarism on a major assignment.
Copying or using unauthorized materials, devices, or collaboration on @ major exam.

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4. OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custedian’s search in response to [plaintiff's] OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the

Records Custodian’s search in response to [plaintiff's] OPRA Request of 3/13/18 or 3/16/18
Record Request.

Attached to the 4/3/21 OPRA Request was Plaintiff's executed Authorization for Defendants to

provide the records to Plaintiff's attorney, Jamie Epstein, Esquire.

13.A. The identified professors were exclusively involved in Plaintiff's discipline except.

14.

15.

On 4/14/21, Defendant responded to Plaintiff's 4/3/21 OPRA Request:

In regards to item 1, academic records, Defendant provided the following partial response:
Please see attached for academic records provide by Dr. Edward Bender in response to this
portion of the request consisting of 2 files (Impact_of_Employee_Referral_copy.pdf and
Wentzel_ Tomezak_Henkel_2014.pdf ) and requested an extension to 4/22/21.

In regards to item 2, communication records, Defendant requested an extension to 4/22/21],
In regards to item 3, other students’ disciplinary records, Defendants denied the request as
overly-broad.

in regards to item 4, Defendant requested an extension to 4/22/21.

On 4/22/21, in response to the 4/3/21 request, Defendants provided 2 records in response to

item 1, academic records (truaman_thesis.pdf and Hearing_Board_Roster.pdf) and requested an

extension to 4/28/21,

16.

On 4/28/21, Defendants provided 5 records in response to item 1, academic records

(AL_Prelim_Report.(1).pdf, Comparison_Report_(1}.docx, Open_Case.docx

Prelim_Al_Report.pdf, [plaintiffs name].pdf ) and extended their response to 5/6/21.

17.

18.

On 5/6/21, Defendants extended their response deadline to 5/13/21.

On 5/13/21, Defendants extended their response deadline to 5/20/21,

Having a substitute take an examination.

Making up or falsifying evidence or data or other source materials for a major assignment, including falsification
by selectively omitting or altering data that do not support one’s claims or conclusions.

Facilitating dishonesty by another student on a major exam or assignment.

Intentionally destroying or obstructing another student's work.

Knowingly violating research or professional ethics.

Any violation involving potentially criminal activity.”
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On 5/20/21, Defendants extended their response deadline to 5/27/21.

On 5/27/21, Defendants provided 1 heavily redacted 102 page record in response to item 4,

OPRA search/response records asserting various privileges (i.e., attorney-client, work product,

deliberative, etc.)

21.

22.

23.

On 3/27/21, Defendants extended their response deadline to 6/3/21.
On 6/3/21, Defendants extended their response deadline to 6/10/21.

On 6/10/21, Defendants advised they had located 1,400 responsive records and asked if the

search criteria could be narrowed.

24.

25.

20,

27,

On 6/10/21, Plaintiff responded,

“Sts been over 2 months since the request was received by your office. you are saying request
#2, where "[plaintiff] is in the subject or body of the communication record", there are 1200
records? | can narrow the request by eliminating sender/reciprent “(e) [plaintiff's name]
[plaintiff's name! or [plaintiff's initials}", how many responsive records do you get now?
remember to include any attachments to the emails.”

On 6/10/21, Defendants extended their response deadline to 6/15/21.
On 6/16/21, Defendants requested the search criteria of “plaintiff's initials” be eliminated.

On 6/16/21, Plaintiffs responded, as per the 6/10/21 email plaintiff's name and initials may only

be eliminated from the sender/recipient search criteria.

28.

29,

On 6/16/21, Defendants extended their response deadline to 6/23/21.

On 6/17/21, Plaintiff wrote Defendant, the request is over 2 months old how many records have

you found are responsive to each item, 1. , 2. , 3?

30.

On 6/22/21, Defendants wrote Plaintiffs;

Please note the following regarding your request:

1. We have provided you responsive records for portion | of your request. The number of pages
for these records does not count towards the calculation of the special services fee.

2, In accordance with your previous correspondence, we are not processing the portion of your

request seeking [plaintiff's name] [plaintiff's name}’s emails. The number of responsive records
are as follows for the remainder of individuals identified in this portion of your request:

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- Bonder: 134 pages of responsive email records

- Bartkowski: 372 pages of responsive email records

- Perry: 751 pages of responsive email records

- Farmbry: 703 pages of responsive email! records

The total number of pages of responsive email records is 1960. The University understands that
you do not wish to further narrow your request, Please see below for information regarding the
special services fee to process portion 2 of your request.

Pursuant to NJ.S.A. 47:1A-5(c), an agency is authorized to impose a special service charge
where the agency must make an extraordinary expenditure of time and effort to accommodate a
request to inspect government records.

This request has 1,960 pages to be reviewed and potentially redacted. At the rate of 40 pages
per hour, the request will require 49 hours. As the University does not charge for the first four
hours of review and redaction, the special services fee shall be $2,025 based on 45 hours at
$45.00 dollars per hour, as summarized below:

Total Pages: 1960

Total time for review/redaction (40 pages/hour}: 49 hours

Actual cost ($45,00/hour x 49 hours}: $2,205

Total waived ($45.00 x first 4 hours): $180.00

Total charged: $2,025

If you choose to request the records, you must pay the special service charge prior to the work
commencing.

IE. THE 4/13/21 OPRA REQUEST (OPRA2)

On 4/13/21, Plaintiff submitted another OPRA Request:

Records, whether in electronic or paper media, which make reference to [plaintiffs name,
initials, student id #} Documents requested include, but are not limited to:
(1) academic records: [plaintiff's initials]'s file kept by (a) Dr. Daniel Wentzel, Distinguished
Professor Materials Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research
Professor and the Chair of the Marketing Department . Date range 1/1/17 to present.
(2) communications records such as emails, memos, text messages, voice mail, letters, etc.,
sent or received by staff, administrators, contractors or agents of the University.
search information:
senders or recipients: (a) Dr. Daniel Wentzel, Distinguished Professor Materials Science and
Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and the Chair of the
Marketing Department . (e) [plaintiff] or [plaintiffs initials]
body or subject: [plaintiff] or [plaintiffs initials]
date range: 1/1/2017 to present
(3) OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian's search in response to [plaintiff's] OPRA Request of 4/6/21.

b. The metadata showing the folders, sub-folders and files containing the records of the
Records Custodian's search in response to [plaintiffs] OPRA Request of 4/6/21.
32.

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Attached to the 4/13/21 OPRA Request was Plaintiff's executed Authorization for Defendants ta

provide the records to Plaintiff's attorney, Jamie Epstein, Esquire.

34.

The identified professors were exclusively involved in Plaintiffs discipline except for Professor

Yeniyurt, who was Plaintiff's professor before he was involved in Plaintiff's discipline..

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AD,

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45.

On 4/22/21, Defendants extended their response deadline to 4/29/21.
On 4/29/21, Defendanis extended their response deadline to 5/6/21,
On 5/6/21, Defendants extended their response deadline to 5/13/21].
On 5/13/21, Defendants extended their response deadline to 5/20/21.
On 5/20/21, Defendants extended their response deadline te 5/27/21.
On 5/27/21, Defendants extended their response deadline to 6/3/21.
On 6/3/21, Defendants extended their response deadline to 6/10/21.
On 6/10/21, Defendants extended their response deadline to 6/15/21.
On 6/17/21, Defendants extended their response deadline to 6/22/21.
On 6/24/21, Defendants extended their response deadline to 7/1/21.
On 7/3/21, Defendants extended their response deadline to 7/9/21.

On 7/12/21, Defendants provided the following 5 records to request 1 academic information;

({plainiff] NOTES.docx, Event_Data_Term_Paper_-_Truman_[plaintiff].docx

truman_thesis.pdf, truman_thesis_highlights.pdf, [plaintiff] _Thesis_Highlighted.pdf )

46,

Also on 7/12/21, Defendant wrote Plaintiff in response to Request 2 for communication records:

We are only able to process the portions of your request seeking communications records of Dr.
Sengu Yeniyurt and [plaintiff's name]. We were not able to conduct a search of Dr. Wentzel’s
emails as he is not in our IT system. However, we have included his name as a keyword in the
search of Dr. Yeniyurt and [plaintiff's name]’s emails in addition to the keywords you provided.
As stated in your other public records request, we are aware that you do not wish to narrow:
The number of responsive records are as follows for the remainder of individuals identified in
this portion of your request:

- Yeniyurt: 4031 pages of responsive email records

- [plaintiff's name]: 577 pages of responsive email records

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The total number of pages of responsive email records is 4608. Please see below for
information regarding the special services fee to process portion 2 of your request.

Pursuant to N.J.S.A. 47: 1A-5(c), an agency is authorized to impose a special service charge
where the agency must make an extraordinary expenditure of time and effort to accommodate a
request to Inspect government records.

This request has 4608 pages to be reviewed and potentially redacted. At the rate of 40 pages per
hour, the request will require 115 hours. As the University does not charge for the first four
hours of review and redaction, the special services fee shall be $4995 based on 111 hours at
$45.00 dollars per hour, as summarized below:

Total Pages: 4608

Total time for review/redaction (40 pages/hour): 115 hours

Actual cost ($45.00/hour x 49 hours}: $5175

Total waived ($45.00 x first 4 hours): $180

Total charged: $4995

If you choose to request the records, you must pay the special service charge prior to the work
commencing.

Ill. Dee v. Rutgers, State Univ. of N_J., 466 N.J. Super. i4 (NJAD 20251)
46. On 1/12/21, the Appellate Division decided the parties’ prior OPRA civil action on appeal from
the Superior Court of New Jersey, Law Division, Middlesex County, Docket No. L-1651-18.
47. The Court reversed and required Rutgers provide Doe access to his own academic transcripts,
discipline records, and financial records because the request was not overly broad.
48. The Appellate Division affirmed the denial of the request for access to other types of his student
records such as communication records making reference to Doe as overly broad. /d. at 28-29
49. On 4/2/21, Defendants sent 367 pages of records purportedly in compliance with the 1/12/21
Order of the Appellate Division for Plainuffs own academic transcripts, discipline records, and
financial records.
50. The 4/3/21 and 4/13/21 OPRA Requests included requests for communication records of
professors (see {J 12, 13A, 31, 34, infra.) who were exclusively involved in Plaintiff's discipline which
were Plaintiff's discipline records subject to the Order for access of the Appellate Division.
51, Specifically, in regards to Plaintiff's prior request for de-identified disciplinary records of other

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Rutgers Newark Graduate Students charged with a separable offense, the Appellate Division, at 30,

held,

Lastly, we turn to Request Five seeking disciplinary files — with PH redacted — of all Rutgers
Newark graduate students charged with a separable offense from January 1, 2013 to the present.
Despite plaintiff's efforts to comply with OPRA's requirement that student records not disclose
the student’s identity, N.J.S.A. 47:1A-1.1, the trial court was correct in ruling the records were
not subject to disclosure because the request was overbroad. Plaintiff fails to provide any
reference to disciplinary guidelines indicating what charge might result in a student being
separated or expelled from a graduate program. Leaving 1 to defendants to research and
compile a database to determine what discipline records were exempted or could be redacted
makes the request overbroad.
52, Plaintiff's 4/3/21 OPRA Request, item 2 request (supra, [i2, n. 2), fully conforms with the
Appellate Division's specifications as how to properly delineate the request for de-identified other
students’ disciplinary records.
FIRST COUNT
(OPEN PUBLIC RECORDS ACT —N.JS.A. 47:1A-1, ET SEQ.)
53, Plaintiff hereby repeats and incorporates by reference paragraphs 1-52 of this Verified
Complaint,
54, Defendants’ denial of access to Plaintiff's 4/3/21 OPRA Request, item 2, for de-identified
disciplinary records of other Rutgers Newark Graduate Students charged with a separable offense
because it was overly-broad (supra, (14) constituted a denial of access in violation of OPRA.
55. Plaintiff's 4/3/21 and 4/13/21 Request for communication records were with professors who
were exclusively involved in Plaintiff's discipline (except for Professor Yeniyurt who was involved in
both Plaintiff's academics and discipline).
56, Those communication records were Plaintiff's own discipline recerds.
57. On 1/12/21, the Appellate Division ordered Defendants to give Plaintiff access to his own
discipline records.

57. By failing to give Plaintiff access to his own discipline records, Defendant's violated the

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Appellate Division's Order.
58. Defendants’ service charges of $2,025 and $4,995 constitute a denial of access to Plaintiffs’
4/3/21 and 4/13/21 request for 7,020 pages of Plaintiff's own student discipline records of Defendants’
communications making reference to Plaintiff,
59. As matter of law, Defendants are prohibited from charging a student for the casts to search for
or retrieve the student's own education records. 34 CFR § 99.11(b), 20 U.S.C. 1232 g(a)(1).
60. Defendants gave Plaintiff access to 99 pages of records of Defendants search in response to
Plaintiff's 2018 OPRA Requests but those records were heavily redacted.
ol. Defendant claimed those redactions were permitted under attorney client and ACD privilege.
62. Plaintiff is entitled to access to any record where the privilege does not apply.
63. The information requested by Plaintiff and withheld by Defendants are public records within the
definition of N.J.S.A.47:1A-1.1.
64. Defendants violated OPRA by not providing access to the information sought by Plaintiff,
WHEREFORE, Plainuff demands:
A. An order or judgment compelling access to of PDF copies of the following records:
i. De-identified disciplinary records of other Rutgers Newark Graduate Students
charged with a separable offense:
it. Plaintiff's own student records of Defendants’ communications making reference
to Plainuff.;
ili. Based on an in-camera review, the non-privileged records of the heavily redacted
99 page record in response to item 4, OPRA search/response records improperly
asserling various privileges.
B, An award of costs of this action and reasonable attorneys’ fees; and

Cc. Such other, further and different relief as the Court may deem equitable

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and just.
DESIGNATION OF TRIAL COUNSEL
Plaintiff hereby designates Walter M. Luers as trial counsel.
CERTIFICATION PURSUANT TO R. 1:38-7(B)

I certify that confidential personal identifiers have been redacted from documents

now submitted to the Court, and will be redacted from all documents submitted in the future,
CERTIFICATION OF NO OTHER ACTIONS

Pursuant to R, 4:5-1, it is hereby stated that the matter in controversy is not the
subject of any other action pending in any other court or of a pending arbitration proceeding to the
best of my knowledge and belief. To the best of my belief, no other action or arbitration proceeding
is pending or contemplated. Further, other than the parties set forth in this pleading, I know of no
other parties that should be joined in the above action, In addition, | recognize the continuing
obligation of each party to file and serve on all parties and the Court an amended certification if
there is a change in the facts stated in this original certification.

Respectfully submitted,

WALTER M. LUERS, ESQ.
Dated: 8/2/21

JF

JAMIE EPSTEIN, ESQ.
Dated: 8/2/21

VERIFICATION
1, Chris Doe am the Plaintiff in the within case and do hereby verify the following
statements are made based upon personal knowledge or is based upon information and belief, as this is

the understanding of the law as it has been explained to me.

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I certify on this 30th' day of August, 2021, the foregoing statements made by me are true and

that if the statements are willfully false or misleading, I understand that | am subject to punishment,

Chris Doe, Plaintiff

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Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 24 of 206 PagelD: 24

EXHIBIT C
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SUPERIOR COURT OF NEW JERSEY
MIDDLESEX COUNTY
LAW DIVISION

 

 

DOCKET NUMBER MID-L-005051-21

Chris Doe, Plaintiff
-against-
Rutgers, The State University of New Jersey and Jewell
Battle, in her official capacity as the OPRA administrator
and records custodian of Rutgers University, Defendants

 

 

ON ORDER TO SHOW CAUSE AND VERIFIED COMPLAINT

 

BRIEF OF PLAINTIFF

(Plaintiff Pb1-Pb17)

 

JAMIE EPSTEIN, ESQ., Bar ID. 008081990
JAMIE EPSTEIN, ATTORNEY AT LAW

17 Fleetwood Drive, Hamilton, NJ. 08690
Tel: (856) 979-9925

Walter M. Luers, Esq., Bar ID. 034041999

COHN LIFLAND PEARLMAN HERRMANN & KNOPF LLP

Park 80 West - Plaza One, 250 Pehle Avenue, Suite 401
Saddle Brook, New Jersey 07663

(201) 845-9600
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COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No. 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 401

Saddle Brook, New Jersey 67663
(201) 845-9600

JAMIE EPSTEIN, ESQ.- 008081990
17 Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925

Attorneys for Plaintiff

Chris Doe', SUPERIOR COURT OF NEW JERSEY
y Plaintiff, LAW DIVISION: MIDDLESEX COUNTY
“RUTGERS, THE STATE UNIVERSITY OF DOCKET NO. MID-L-00505 1-21
NEW JERSEY and Jeweil Battle in her official ;

capacity as the OPRA ADMINISTRATOR and CIVIL ACTION

RECORDS CUSTODIAN of Rutgers University, BRIEF

Defendants.

 

 

PRELIMINARY STATEMENT

In this case, Doe submitted new OPRA Requests on 4/3/21 and 4/13/21 to Rutgers for the same
records the Appellate Division previously affirmed were properly denied by this Court as overly broad.
Doe v, Rutgers, State Univ. of N./., 466 N.J, Super. 14 (NJAD 2021)(Doe /(attached} However, in
this new request, Doe fully conformed the records search terms in accord with the Appeilate Division's
opinion.

Doe again requested access to de-identified disciplinary records of other Rutgers Newark
Graduate Students charged with a separable offenses which Doe / held Plaintiff was entitled to via

OPRA. 7d. at 26 FERPA regulations provide that third parties without parental consent are entitled to

| “Chris Doe is a fictitious name used to protect the plaintiff/student’s right to confidentiality of
the plaintiff/student’s records under state and federal law which are the subject of civil action. The
Federal Family Educational Rights and Privacy Act of 1974 (FERPA), 20 U.S.C.S. § 12328, New
Jersey Pupil Records Act, N.JS.A. § 18A:36-19, L.R. v. Camden City Pub. Sch. Dist., 452 NJ. Super.
56, 86 (NJAD 2017) (“to safeguard the reasonable privacy interests of parents and students against the
opposing interests of third parties who may seek access to their student records “)” Doe at 14,n.1

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access to education records where personal identification information (PI) is removed. As per the
Appellate Division Opinion, Doe additionally included “any reference to disciplinary guidelines
indicating what charge might result in a student being separated or expelled from a graduate program.”
and also included Rutgers own policy's definition of a separable offense. Jd. Despite fully conforming
the new OPRA Requests, Rutgers still denied access as overly broad in violation of OPRA and contrary
to the Appellate Division's specific holding on this particular request.

Second, Doe requested access to his own student records, including Rutgers communication
records that made reference to Doe and five of the professors who were involved in his discipline.
Rutgers did not deny access to Doe's own student records because the request was improper or the
records were exempt. Rutgers identified 4,658 pages of records, which Rutgers, in violation of the Doe
I, was required to give Plaintiff access to those discipline records. Instead, Rutgers denied access unless
Doe paid service charges of $2,025 and $4,995, OPRA Requests for student records to Rutgers are
subject to other applicable laws including the Family Educational Rights and Privacy Act of 1974
(FERPA), 20 U.S.CS. § 1232g. Under FERPA, Rutgers is prohibited from charging Doe for the costs
to search for or retrieve Doe's own student records. 34 CFR § 99.11(b), 20 U.S.C. 1232e(a)(1) It is
also Doe's position Rutgers’ service charges are not warranted.

Finally, in response to Doe's 4/3/21 Request Item 4 for records of the OPRA responses in Doe J,
Rutgers provided 102 pages of heavily redacted records. Rutgers denied access to redacted portion of
the records on the grounds of an “advisory, consultation, deliberative” privilege. Doe has requested an

in-camera review of the redactions to determine if Rutgers asserted privilege applies.

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STATEMENT OF FACTS

Plaintiff shali rely on the facts as set forth in the Verified Complaint at {7-48 and for
background purposes, the Appellate Division's Dee /. opinion at p.21-22. On 1/12/21, the Appellate
Division reversed and remanded in part. /d, at 30 The Court reversed and required Rutgers provide
Doe access to his own academic transcripts, discipline records, and financial records because the
request was not overly broad. The Appellate Division affirmed the denial of the request for access to
other types of his student records such as communication records making reference to Doe as overly
broad, /d, at 28-29 The Appellate Division also affirmed the denial of the request for access to Rutgers
search for the responsive OPRA Request Records. /d. at 29 The Appellate Division also affirmed the
deniai of the request for the records of the search access to other Rutgers Newark graduate students’
disciplinary records as overly broad. /d. at 30

It appeared Rutgers had provided the reversed ordered records — but they did not. On 4/3/21 and
4/13/21, Doe cured the request as required by the Appellate Division for the affirmed denied his student
records of communications, the 2018 OPRA Search and other students' discipline records and
resubmitted it to Defendants. But again, Rutgers not only denied access which is the subject of this
civil action but also violated Plaintiffs litigant's rights by withholding 4,658 pages of his ordered

discipline records.

ARGUMENT
1. NEW JERSEY OPEN PUBLIC RECORDS ACT (OPRA)
The purpose of OPRA Is to “maximize public knowledge about public affairs in order to ensure
an informed citizenry and to minimize the evils inherent in a secluded process.” Asbury Park Press v.
Ocean County Prosecutor's Office, 374 N.J. Super. 312, 329 (Law Div. 2004); see, NASA. AT 1A-1,

“Any limitations on the right of access...shall be construed in favor of the public's right of access.”

Pb3
ASE. BROHV2A7 BH 1 ROGUE PTI PYA9/Fdn ABVERRAS ENB PagelD: 33

N.JS.A. 47:1 A-1. “(Without access to information contained in the records maintained by public
agencies, citizens cannot monitor the operation of our government or hold public officials accountable
for their actions.” Fair Share Housing Center, Inc. v. New Jersey State League of Municipalities, 208
NJ. 489, 501 (2011).

N.LS.A. 47:1A-5() deems a Custodian's failure to respond with all records within a request as a
denial of OPRA. OPRA explicitly places the burden on the Custodian to prove that a denial was
lawfully justified. N.7.S.A. 47:LA-6. The custodian is obliged to "locate and redact {the requested]
documents, isolate exempt documents, ... identify requests that require 'extraordinary expenditure of
time and effort’ and warrant assessment of a ‘service charge,’ and, when unable to comply with a
request, ‘indicate the specific basis" thereof. Spectrasery, Inc. v. Middlesex Cnty. Utilities Auth., 416
N.J. Super. 565,576, (App. Div. 2010) (quoting NJ. Builders Ass'n v. N.J. Council on Affordable
Hous., 390 N.J. Super. 166, 177 (App. Div.), certif’ denied, 190 N_J. 394 (2007)). The overly broad
basis for denial is premised upon the fifth and final clause of the previous sentence, which arises from
NJS.A, 47:1 A-5(g) and mandates if "the custodian is unable to comply with a request for access, the
custodian shall indicate the specific basis therefor on the request form and promptly return it to the
requestor." NSA. 47:1 A-5(g).

OPRA does not allow the Custodian to circumvent the statutory mandate of “shall indicate the
specific basis thereof” for the denial in the OPRA Response but then will not be bound by the “specific
basis for the denial thereof in the custodian's opposition to a requestor’s OPRA Complaint. In other
words, the custodian cannot tell the judge in opposition to the requestor's OPRA Complaint, “it does
not matter what the denial was, I can raise whatever denials ] want now!”

When attempting to utilize any exception, “a public agency secking to restrict the public's right
of access to government records must produce specific reliable evidence sufficient to meet a statutorily

recognized basis for confidentiality.” Courier News v. Hunterdon County Prosecutor's Office, 358 N.J.

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Super, 373, 382-83 (App. Div. 2003). “The reasons for withholding documents must be specific.”
Newark Morning Ledger, 423 N.J. Super. at 162, Courts will “simply no longer accept conclusory and
generalized allegations of exemptions...but will require a relatively detailed analysis in manageable
segments.” Loigman v. Kimmelman, 102 N.J. 98, 110 (1986) (internal quotation marks and citations
omitted). “Absent such a showing, a citizen's right of access is unfettered.” Courier News, 358 N.J, at
383 (emphasis added). In accessing whether an agency's denial is proper, “a court must be guided by

the overarching public policy in favor of a citizen's right to access.” [bid.

2. DE-IDENTIFTED DISCIPLINARY RECORDS OF OTHER RUTGERS NEWARK
GRADUATE STUDENTS CHARGED WITH A SEPARABLE OFFENSE,

In Doe I,

plaintiff submitted another OPRA request (Request Five) seeking documents in
electronic or paper media of "[t]he disciplinary case file of any and all Rutgers Newark
Graduate [s]tudent charged with a separable offense from 1/1/2013 to present" but "with
all [PIT] redacted.” Defendants denied that request on March 28 as "overly broad" and
requiring research by the custodian,

Id. at 22

The Appellate Division held,

Lastly, we turn to Request Five seeking disciplinary files ~~ with PII redacted —— of all
Rutgers Newark graduate students charged with a separable offense from January 1,
2013 to the present. Despite plaintiffs efforts to comply with OPRA’s requirement that
student records not disclose the student's identity, NJUS.A. 47:1A-1.1, the trial court was
correct in ruling the records were not subject to disclosure because the request was
overbroad. Plaintiff fails to provide any reference to disciplinary guidelines indicating
what charge might result in a student being separated or expelled from a graduate
program. Leaving it to defendants to research and compile a database to determine what

discipline records were exempted or could be redacted makes the request overbroad.
id. at 30

On 4/3/21 (Pal), cured the request and re-submitted it to Defendants:
Records, whether in electronic or paper media, which make reference to plaintiff's
name, initials and student id #]. Documents requested include, but are not limited to:(3)

other student discipline records: with all personal identification information (PII)

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redacted: the disciplinary case file of any Rutgers Newark Graduate Student charged
with a separable: offense from 1/1/2015 to present.

As required by the Appellate Division, Doe included in the request, “any reference to disciplinary

guidelines indicating what charge might result in a student being separated or expelled from a graduate

program,”:

A separable offense is defined by Rutgers University as, “2. Separable Violations
Separable violations are very serious violations of academic integrity that affect a more
significant portion of the coursework compared to non-separable violations, Separable
violations are often characterized by substantial premeditation or planning and clearly
dishonest or malicious intent on the part of the student committing the violation.
Below are some examples of violations that are most often considered separable.
Again, the list is certainly not exhaustive and classification of a given violation as
separable or non-separable is always heavily dependent on the exact facts and
circumstances of the violation.

* A second non-separable violation.

* Substantial plagiarism on a major assignment.

* Copying or using unauthorized materials, devices, or collaboration on a major exam.
* Having a substitute take an examination.

* Making up or falsifying evidence or data or other source materials for a major
assignment, including falsification

by selectively omitting or altering data that do not support one's claims or conclusions.
* Facilitating dishonesty by another student on a major exam or assignment.

* Intentionally destroying or obstructing another student's work.

* Knowingly violating research or professional ethics.

* Any violation involving potentially criminal activity.”

On 4/14/21, Defendants responded (Pa6} and denied access to the Request, item 3, other

students’ disciplinary records, as overly-broad.

In Doe /, the Court first held higher education records were public records subject to public

access via OPRA because no other law prohibited. Id. 23-24 The other law that regulated access to

student records was the “Family Educational Rights and Privacy, 73 Fed. Reg. 15,574, 15,583 (Mar.

24, 2008); 73 Fed. Reg. 74,806, 74,831 (Dec. 9, 2008), that support, respectively, the proposition that

disclosure is not barred under FERPA once "all identifiers have been removed{.]" 73 Fed. Reg. At

15,583." Doe fat 24 Second, the Court further held, other student's records were subject public access

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via OPRA as long as they were de-identified by redacting Pil. (“FERPA regulations provide that third
parties without parental consent are allowed access to education records where PII is removed. 34
C.F.R. § 99.31(b)(1)”) Zd. 26 The Court concluded by rejecting Defendants' argument that since they

disclose student records via FERPA they are exempt from disclosing them via OPRA. /d.

The Appellate Division then discussed at length the standards for courts to apply in analyzing

whether an OPRA Request is overbroad. /d. 27-28

OPRA "only allows requests for records, not requests for information." Burke v,
Brandes, 429 N.J. Super. 169, 174, 57 A.3d 552 (App. Div. 2012) (quoting Bent v Twp.
of Stafford Police Dep't., 381 N.J. Super. 30, 37, 884 A.2d 240 (App. Div. 2005)). The
custodian is obliged to “locate and redact [the requested] documents, isolate exempt
documents, ... rdentify requests that require 'extraordinary expenditure of time and
effort’ and warrant assessment of a ‘service charge,’ and, when unable to comply with a
request, ‘indicate the specific basis'" thereof. Spectraserv, Inc. v, Middlesex Cnty. Utils.
Auth., 416 N.J. Super. 565, 576, 7 A.3d 231 (App. Div. 2010) (quoting NJ Builders
Ass'n y. NJ. Council on Affordable Hous., 390 N.J. Super. 166, 177, 915 A.2d 23 (App.
Div. 2007) (quoting N.J.S.A. 47:LA-5(a)- Q))). If "the custodian is unable to comply
with a request for access, the custodian shall indicate the specific basis therefor on the
request form and promptly retum it to the requestor.” NJUS.A, 47: 1A-5(g).

While an exact definition of an impermissibly overly broad request is abstract, courts
have found requests that require a custodian to exercise his discretion, survey
employees, or undertake research to determine whether a record is responsive are overly
broad and not encompassed by OPRA. We have concluded plaintiff's requests for "any
and all documents and data .. . relied upon, considered, reviewed, or otherwise utilized"
were impermissibly overbroad because they require the custodian to exercise discretion
to determine whether to comply. NJ. Builders Ass'n, 390 N_I. Super. at 172. Thus, an
OPRA applicant "must identify with reasonable clarity those documents that are desired,
and a party cannot satisfy this requirement by simply requesting all of an agency's
documents. OPRA does not authorize unbridled searches of an agency's property.” Bent,
381 N.J. Super. at 37; see also Renna v. Cuty. of Union, 407 NJ. Super. 230, 245, 970
A.2d 414 (App. Div. 2009) ("The custodian must have before it sufficient information to
make the threshold determination as to the nature of the request and whether i falls
within the scope of OPRA.").

Specifically, in regards to Plaintiff's request for other “Rutgers Newark Graduate students
discipline records charged with separable offenses”, the Appellate Division held , id, 30, the defect in

Plaintiff's request was:

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Lastly, we turn to Request Five seeking disciplinary files -- with PIT redacted — of all
Rutgers Newark graduate students charged with a separable offense from January 1,
2013 to the present, Despite plaintiff's efforts to comply with OPRA's requirement that
student records not disclose the student's identity, N.J.S.A. 47:1A-1.1, the trial court was
correct in ruling the records were not subject to disclosure because the request was
overbroad. Plaintiff fails to provide any reference to disciplinary guidelines
indicating what charge might result in a student being separated or expelled from a
graduate program. Leaving it to defendants to research and compile a database to
determine what discipline records were exempted or could be redacted makes the
request overbroad. (emphasis added)

On 4/3/21, Plaintiff corrected the request in conformance with the requirements of the Appeliate
Division, adding,

Below are some examples of violations that are most often considered separable. Again,
the list is certainly not exhaustive and classification of a given violation as separable or
nonseparable is always heavily dependent on the exact facts and circumstances of the
violation.

* A second nonseparable violation.

* Substantial plagiarism on a major assignment,

+ Copying or using unauthorized materials, devices, or collaboration on a major exam.
* Having a substitute take an examination.

* Making up or falsifying evidence or data or other source materials for a major
assignment, including falsification

by selectively omitting or altering data that do not support one’s claims or conclusions.
* Facilitating dishonesty by another student on a major exam or assignment.

* Intentionally destroying or obstructing another student's work.

* Knowingly violating research or professional ethics.

* Any violation involving potentially criminal activity.”

Accordingly, Plaintiff's 4/3/21 was not overbroad. Defendants denial of access violated OPRA,
The Court should grant Plainuffs Order for Defendants to provide access to the disciplinary files —
with PU redacted — of all Rutgers Newark graduate students charged with a separable offense from

January 1, 2013 to the present,

3. PLAINTIFF'S STUDENT RECORDS, INCLUDING RUTGERS COMMUNICATION
RECORDS THAT MADE REFERENCE TO PLAINTIFF.

Defendants denial! of access to Plaintiffs student records unless a $7,020 special service charge
is paid violates OPRA because a special service charge related to the retrieval of student records 1s

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prohibited by FERPA, 34 CFR § 99.11(b}, 20 U.S.C. 12322(a)(1). Additionally, Defendants are not
entitled to a service charge because the search should be performed by the Custodian and the service
charge notice is deficient. Finaily, and most importantly, these records were limited to professors who
were involved with Plaintiff's discipline — meaning they were Plaintiff's discipline records. Defendants
were ordered to provide Plaintiff with his own discipline by the Appellate Division, Doe 7, 31
Defendants violated that Order and now Defendants require Plaintiff pay $7,025 to access the very

records they were ordered to give Plaintiff access to.

In Doe f, at 21, Plaintiff requested,

Any and ail documents, whether in electronic or paper media, which make
reference to [Chris Doe or Chris Doe's initials] between 1/1/2017 to present.
Documents requested include, but are not limited to: (d) communications records such
as emails, memos, text messages, voice mail, letters, etc., sent or received by staff,
administrators, contractors or agents of the University. Email search: where the sender
or recipients is a staff, administrator, contractor or agent of the University and the body
or subject of the email refers to [Chris Doe or Chris Doe's legal name initials or Chris
Doe's student number].

The Appellate Division, at 29, affirmed the denial of access because,

Subcategory (d)'s request for "communications records” is overbroad as it is not
the type of routine search required by OPRA. The request would be disruptive to
defendants’ operations because it would require an unreasonable labor expense given the
university's numerous departmenta! servers, faculty and staff desktop computers, email
accounts, and individual voicemail accounts. In fact, defendants sought to resolve the
request by telling plaintiff he would need to identify senders and/or recipients instead,
but he chose not to respond.

As per the Appellate Division's holding, Plaintiff cured the defect in his subsequent 4/3/21 (Pal)
and 4/13/21 (Pa5) requests by “identifying senders and/or recipients” (as underlined below):

Records, whether in electronic or paper media, which make reference to [plaintiffs
name, initials and student id #], Documents requested include, but are not limited to:
(2) communications records such as emails, memos, text messages, voice mail, letters,
etc., sent or received by staff, administrators, contractors or agents of the University.
search information:

senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and
Sciences - Department of Biological Sciences; (b} Dr. Wayne Eastman, Professor

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Rutgers Business School — Supply Chain Management: (c) Dr. Francis Bartkowski
Professor Faculty Arts and Sciences — Department of English; (d} Dr. Kinna Perry,
Associate Dean Graduate School-Newark: (e) Dr. Kvie Farmbry, Dean of the Graduate
School-Newark: (e} [plaintiff's real name] or [plaintiff's initials ?

body or subject: [plaintiffs name] or [plaintiff's initials].

date range: 1/1/2017 to present

         

In response, on 6/22/21 (Pal0), Defendants this time did not, like last time, deny access because
n the request was overbroad, instead their response denied access because:

Please note the following regarding your request:

|, We have provided you responsive records for portion | of your request. The number
of pages for these records does not count towards the calculation of the special services
fee,

2. In accordance with your previous correspondence, we are not processing the portion
of your request seeking [plaintiffs name] [plaintiff's name]’s emails. The number of
responsive records are as follows for the remainder of individuals identified in this
portion of your request:

- Bonder: 134 pages of responsive email records

- Bartkowski: 372 pages of responsive email records

- Perry: 751 pages of responsive email records

- Farmbry: 703 pages of responsive email records

The total number of pages of responsive email records is 1960. The University
understands that you do not wish to further narrow your request, Please see below for
information regarding the speciai services fee to process pertion 2 of your request.
Pursuant to N.J.S.A. 47:1A-3(c}, an agency is authorized to impose a special service
charge where the agency must make an extraordinary expenditure of time and effort to
accommodate a request to inspect government records.

This request has 1,960 pages to be reviewed and potentially redacted. At the rate of 40
pages per hour, the request will require 49 hours. As the University does not charge for
the first four hours of review and redaction, the special services fee shall be $2,025
based on 45 hours at $45.00 dollars per hour, as summarized below:

Total Pages: 1960

Total time for review/redaction (40 pages/hour): 49 hours

Actual cost ($45.00/hour x 49 hours): $2,205

Total waived ($45.00 x first 4 hours}: $180.00

Total charged: $2,025

If you choose to request the records, you must pay the special service charge prior to the
work commencing.

On 4/13/21, Plaintiff submitted another OPRA Request (Pa5), which include a request for

2 Plaintiff subsequently compromised and granted Defendants' request to reduce the number of
responsive records by removing “plaintiff real name or initials” as a sender/recipient.

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communication records in addition to those requested on 4/3/21:

Records, whether in electronic or paper media, which make reference to [plaintiff's
name, initials, student id #] Documents requested include, but are not limited to:

(2) communications records such as emails, memos, text messages, voice mail, letters,
etc., sent or received by staff, administrators, contractors or agents of the University.
search information:

senders or recipients: (a) Dr. Daniel Wentzel, Distinguished Professor Materials
Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and the
Chair of the Marketing Department . (e) [plaintiff] or {plaintiff's initials]?

body or subject: [plaintiff] or [plaintiff's initials]

date range: 1/1/2017 to present

On 7/12/21, Defendant wrote Plaintiff in response (Pal4) to Request 2 for communication

records:

We are only able to process the portions of your request secking communications
records of Dr. Sengu Yeniyurt and [plaintiff's name}. We were not able to conduct a
search of Dr. Wentzel’s emails as he is not in our IT system. However, we have included
his name as a keyword in the search of Dr. Yeniyurt and [plaintiff's name]’s emails in
addition to the keywords you provided. As stated in your other public records request,
we are aware that you do not wish to narrow:

The number of responsive records are as follows for the remainder of individuals
identified in this portion of your request:

~ Yeniyurt: 4031 pages of responsive email records

- [plaintiffs name]: 577 pages of responsive email records

The total number of pages of responsive emai! records is 4608. Please see below for
information regarding the special services fee to process portion 2 of your request.
Pursuant to N.J.S.A. 47:1A-S(c), an agency ts authorized to Impose a special service
charge where the agency must make an extraordinary expenditure of time and effort to
accommodate a request to inspect government records.

This request has 4608 pages to be reviewed and potentially redacted. At the rate of 40
pages per hour, the request will require 115 hours. As the University does not charge for
the first four hours of review and redaction, the special services fee shall be $4995 based
on 111 hours at $45.00 dollars per hour, as summarized below:

Total Pages: 4608

Total time for review/redaction (40 pages/hour}: 115 hours

Actual cost ($45.00/hour x 49 hours}: $3175

Total waived ($45.00 x first 4 hours): $180

Total charged: $4995

If you choose to request the records, you must pay the special service charge prior to the
work commencing.

3 Plaintiff again subsequently compromised and granted Defendants’ request to reduce the number of
responsive records by removing “plaintiff real name or initials” as a sender/recipient.

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Defendants fail to identify the position and salary of the employee who would have the minimum
requirements hourly pay rate to perform the search, But of more significance, Defendants fail to
provide the basis to deviate from the law that requires the custodian, at no expense to the requester, to
search her own records herself, (“agency's custodian of records ordinarily should be able to identify
privileged material”. Courter Post v. Lenape Regional High School District, 360 N.J. Super. 191, 202-
205 (Law Div.2002) Defendants in their special service charge demand have fail to properly meet their
burden for an exception to the legal requirement for the custodian to search the records herself.

In sum, Defendants require a $45 hourly rate for 53 hours to review 1960 pages and another
E11 hours* to review 4,608 pages. (based on a 40 hour work week = over 4 weeks) But Defendants
indicate, for the 4/13/21 Request, there are 4031 pages of responsive emails with the name Yeniyurt

and 577 with plaintiff's name. But Plaintiff only requested emails with both names.

If the production of government records involves "an extraordinary expenditure of time and
effort[,]" N.JS.A. 47:1 A-S(c) authorizes a public agency to impose a “special service charge[.]" This

section provides in pertinent part:

Whenever the nature, format, manner of collation, or volume of a government
record embodied in the form of printed matter to be inspected, examined, or
copied pursuant to this section is such that the record cannot be reproduced by
ordinary document copying equipment in ordinary business size or involves an
extraordinary expenditure of time and effort to accommodate the request, the
public agency may charge, in addition to the actual cost of duplicating the record,
a special service charge that shall be reasonable and shall be based upon the
actual direct cost of providing the copy or copies [.] ... The requester shall have
the opportunity to review and object to the charge prior to it being incurred.
(emphasis added}

A custodian’s imposition of an improper service charge constitutes a denial of access in violation of

OPRA. Fisher v. Div. of Law, 400 N.J. Super. 61, 70 (App. Div. 2008) (affirming GRC permitting 52.5

4 111 hours is being used even though contradicted by Defendants, Actual cost ($45.00/hour x 49
hours): $5175 11} hours X $45 = $4,995.

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hours to review 15,000 emails under the limited appellate review of an agency decision) Additionally,
Defendants should have previously included al! records, including emails, related to Plaintiffs
discipline in complying with the mandate of the Appellate Division. At minimum, the emails of
Administrators Perry and Farmbry and Professors Bonder, Eastman and Bartowski are highly unlikely
to relate to any other matter than Plaintiff's discipline since he did not have them as professors and they
were only involved with Plaintiff's discipline. Their emails, if they relate to Plaintiff's discipline were
aiso required to be provided when Defendants’ provided the disciplinary records mandated by the
Appeliate Division. /d¢. 31 Defendants are not entitled charge Plaintiff for those ordered discipline
related emails to be produced now.

But, it 1s not necessary to jump to disputing the service charge because a service charge is
prohibited by the controlling federal law governing student records, to wit, FERPA, 20 U.S.C. 1232g(a)
(1) Custodians must comply with all other applicable law that governs the type of record requested and
in this case FERPA governs the requested student records. Doe, at 24-26 Specifically, 34 C.F.R. §
99.11 (b) states “An educational agency or institution may not charge a fee to search for or to retrieve
the education records of a student.” Here, Defendants prohibited $7,020 service charge constitutes a
denial of access in violation of OPRA. Accordingly, the Court should disallow the special service
charge and grant Plaintiff's proposed Order for access to his own student records within the requested

identified emaiis.

4, BASED ON AN IN-CAMERA REVIEW, THE NON-PRIVILEGED RECORDS OF THE
HEAVILY REDACTED 99 PAGE RECORD IN RESPONSE TO 4/3/21 ITEM 4, OPRA
SEARCH/RESPONSE RECORDS IMPROPERLY ASSERTING VARIOUS PRIVILEGES.

On 4/3/21, Plainuff made the following OPRA Request (Pal):
4, OPRA Requests Response Search Records:

a. Emails with atiachments of the University Ethics and Compiiance Office of the

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Custodian's search in response to [plaintiff's] OPRA Request of 3/13/18 or 3/16/18.

b, The metadata showing the folders, sub-folders and files containing the records of the
Records Custodian's search in response to [plaintiff's] OPRA Request of 3/13/18 or
3/16/18 Record Request.

These same records were request in Doe at the time of the original request. The Appellate
Division affirmed the denial of access because the records may “require disclosure of inter-agency or
intra-agency advisory, consultative, or deliberative materiai" (ACD) Doe at 30 But the request was
precluded because the records were requested before they existed as Court stated at 29-30;

With respect to Request Three, seeking documents or emails regarding Requests One
and Two, and Request Four, seeking metadata responding to all requests, they both seek
records that did not yet exist at the time of the request. Hence, they are not yet
government records. OPRA’s plain language defines a record as a document,

information, or data "that has been made, maintained or kept on file... or that has been
received.”

Plaintiff has cured this defect by requesting the 2018 OPRA Request response in 2021. The only basis
for denial of access is if there are legitimate privilege exemptions regarding the Defendants search for
responsive records to the two 2018 OPRA Requests. On 5/26/21, Defendants provided | heavily
redacted 99 page record (Pal 8-117) in response to item 4, OPRA search/response records asserting
various privileges’ (i.e., attomey-client, work product, deliberative, etc.) Defendants provided no
privilege log or Vaughn Index®. Defendants response was a follows:

Please note advisory, consultative, and deliberative material has been redacted in the
responsive record, OPRA spectfically states that government records “shall not include
inter-agency or intra-agency advisory, consultative, or deliberative material.” N.J.S.A,
47:1A-1.1. Courts have construed this exemption to encompass the deliberative process
privilege. See Ciesla v. NJ. Dept. of Health & Senior Servs., 429 N.J. Super. 127, 137
(App. Div. 2012). That privilege “‘permits the government to withhold documents that
reflect advisory opinions, recommendations, and deliberations comprising part of a
process by which governmental decisions and policies are formulated.’” Education Law

5 Although Defendants asserted a privacy privilege, a review of the embedded noted redaction
did not identify any redaction based on privacy.

6 N. Jersey Media Grp., Inc. v. Bergen Cty. Prosecutor's Office, 447 N.J. Super. 182, 191 (App.
Div. 2016)('a Faughn index, in which the custodian of records identifies responsive documents and the
exemptions it claims warrant non-disclosure. Vaughn v. Rosen, 484 F.2d 820, 826-27, 157 U.S. App.
D.C, 340 (D.C. Cir. 1973)")

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Center, v. New Jersey Dept. of Education, 198 N.J. 274, 285-86 (2009) (quoting In re
Liquidation of Integrity Ins. Co., 165 N.J. 75, 83 (2000)}. Moreover, the deliberative
process privilege is absolute, as OPRA “contains no limitation or qualification on this
exemption.” Ciesla, 429 N.J. Super. at 143.

Moreover, the Courts have consistently held that the advisory, consultative and
deliberative exemption in OPRA is equivalent to the deliberative process privilege that
exempts pre-decisional documents from public disclosure. OPRA thus “shields from
disclosure documents ‘deliberative in nature, containing opinions, recommendations, or
advice about agency policies,’ and ‘generated before the adoption of an agency’s policy
or decision.’” Bent v. Stafford Police Department, 381 N.J. Super. 30, 37 (App. Div.
2005)(quoting Gannet New Jersey Partners LP v. County of Middlesex, 379 N.J. Super.
205, 219 (App. Div. 2005)).

The responsive record has also been redacted pursuant to OPRA's privacy

exemption. OPRA specifically places on the University “‘a responsibility and an
obligation to safeguard from public access a citizen’s personal information with which it
has been entrusted when disclosure thereof would violate the citizen’s reasonable

expectation of privacy.” Serrano v. South Brunswick Twp., 358 NJ. Super. 352, 368
(App. Div. 2003).

Please note, the responsive record has been redacted pursuant to OPRA’s attorney-client
privilege exemption N.J.S.A. 47:1A-1.1. OPRA specifically exempts “Any record within
the attorney-chent privilege...” and states “*...redactions may apply for information
contained in the invoices that are protected under the privilege.” N.J.S.A.47:1A-1.1. In
order to uphoid the University’s obligations to pretect privileged material, we have
redacted any and all information within the record that exempt pursuant to this
provision.

None of the ACD cases relied on by Defendants involve a OPRA Request for the Plaintiff's
prior OPRA Request search records as is the case here. To establish the applicability of the deliberative
process privilege, Defendant has the initial burden of showing that the documents that it seeks to
protect are pre-decisional (that is, created prior to a clearly-defined decision or policy) and deliberative
in nature (containing opinions, recommendations, or advice about agency policies). fa re Liquidation of
Integrity Ins. Co., 165 N.J. 75, 82, 754 A.2d 1177 (2000) In this case, Plaintiff is at a loss as to how the
search for OPRA records itself can have anything to do with policy. Corr Med. Servs. v. State, Dep't of
Corr, 426 N.J. Super, 106, 123 (App. Div. 2012) (This is because every decision an agency makes
arguably involves a policy. Thus, every document reflecting pre-decisional and deliberative
communications, regardless of its policy implications, would be exempt from public access. Instead,
the deliberative process privilege as incorporated in the agency memorandum exception protects only

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those documents invoived in policy formulation.)

The only way a record requester can know if they were denied access for an incorrectly asserted
privilege is by having the Court conduct an in-camera review. As a matter of law, the in-camera
review is mandatory in public records cases:

We have stated, “the court is obliged when a claim of confidentiality or privilege is
made by the public custodian of the record, to inspect the challenged document in-
camera to determine the viability of the claim.” MAG Enim't, LLC v. Div. of
Alcoholic Beverage Control, 375 NJ. Super. 534, 545, 868 A.2d 1067 (App. Div.
2005) (citing Hartz Mountain Indus., Inc. v. N.J. Sports & Exposition Auth., 369 NJ.
Super. 175, 183, 848 A2d 793 (App. Div. 2004)). The purpose of an in-camera
inspection is to allow both parties the opportunity to address principles related to the
claim of confidentiality and privilege; in-camera review also allows the government
custodian to argue specifically “why the document should be deemed privileged or

confidential or otherwise exempt from the access obligation.” /bid. (quoting Hartz
Mountain, supra, 369 N.J, Super. at 183).

DF vy, Collingswood Bd. of Educ., 2016 N.J. Super. Unpub. LEXIS 2449, *6-7, 2016 WL 6647784
(N.J. Court Rules 7:36-3, unpublished opinion attached )(lower court reversed, Jamie Epstein for
plaintiff); see also, L.R. v. Camden City Public School Dist., 452 N.J. Super. 56, 89, 171 A.3d 227, 247,
2017 NJ. Super. LEXIS 145, *46, (lower court reversed, Jamie Epstein for plaintiff) affirmed in part
by 238 N.J. 547, 548, 213 A.3d 912, 913, 2019 NJ. LEXIS 988, *1, 2019 WL 3210234 ; KL. v.
Evesham Tp. Ba. of Educ,, 423 N.J. Super. 337, 362, 32 A.3d 1136, 1150, 2011 NJ. Super, LEXIS 217,
*32: (“the Board declined to disclose the document until plaintiff filed his OPRA lawsuit and the court
ordered in camera review.) (iower court reversed, Jamie Epstein for plaintiff), certification denied by
210 N.J. 108, 40 A.3d 732, 2012 NJ. LEXIS 477 (2012). Accordingly, Plaintiff requests this Court
grant his proposed order for an in-camera review and order access of the non-privileged records of the
heavily redacted 99 page record in response to item 4 (Pal 8-119), OPRA search/response records

improperly asserting various privileges.

In fairness to Plaintiff, Defendant should also be ordered to submit a privilege log to allow

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Plaintiff to make meaningful objections to the marked up redacted 99 pages of records.

CONCLUSION

For the above stated reasons in this brief and in the pleadings, Plaintiff requests his proposed

order to show cause be granted compelling Defendants to give Plaintiff access to PDF copies of the

following records:

i. De-identified disciplinary records of other Rutgers Newark Graduate Students

charged with a separabie offense;

ii. Plaintiff's own student records of Defendants’ communications making reference

to Plaintiff.;

ill. Based on an in-camera review, the non-privileged records of the heavily redacted

99 page record in response to item 4, OPRA search/response records improperly asserting

various privileges.

Tn the event, Plaintiff obtains any relief, Plaintiff shall thereafter make an application for

prevailing party fees and costs. NULS_A. § 47: 14-6

Respectfully submitted,

JF

JAMIE EPSTEIN, ESQUIRE

WALTER M. LUERS, ESQ.
ATTORNEYS FOR PLAINTIFF

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ia
Doe v. Rutgers, State Univ. of NJ.
Superior Court of New Jersey, Appellate Division
October 28, 2020, Argued; January 12, 2021, Decided
DOCKET NO, A-5285-18T2
Reporter

466 NJ. Super. 14 *; 245 A.3d 261 **; 2021 N.J. Super. LEXIS 4 ***; 2021 WL 100236

CHRIS DOE |" Plaintiff-Appellant, v. ROTGERS, THE STATE UNIVERSITY OF NEW
JERSEY, and CASEY WOODS in his Official Capacity as the OPRA Administrator and
Records Custodian of RUTGERS UNIVERSITY, Defendants-Respondents.

Subsequent History: [***1] Approved for Publication January 12, 2021.

Prior History: On appeal from the Superior Court of New Jersey, Law Division,
Middlesex County, Docket No. L-1651-18,

Core Terms

records, requests, documents, emails, attorney's fees, disclosure, student records,
defendants’, regulations, redacted, higher education, trial court, confidential, Graduate,

exempt, staff, Subcategory, overbroad, government records, financial records, discipline,
sender

Case Summary

Overview

HOLDINGS: [1]-In a suit wherein plaintiff's requests for various records, including his
own graduate student records, was denied, the denial was reversed, in part, because the
Open Public Records Act (OPRA), NV./S.4. $8 #7:/A4-1 to - 47:1A-13, allowed plaintiff to
obtain copies of his own academic transcripts, discipline records, and financial records
subject to redaction to preclude the identity of other students; [2]-The court further held
that a remand was necessary for the trial court to determine whether plaintiff was entitled

 

‘Chris Doe is a fictitious name used to protect the plaintiff/student's right te confidentiahty of the plaintiff/student’s records under state and
federal law which are the subject of civil action. Federal Family Educational Rights and Privacy Act of 1974 (FERPA), 20 U.S.C.S. §1232g,
New Jersey Pupil Records Act, N.JS.A, 184:36-19, L.R. v. Camden City Pub. Sch, Dist., 452 NJ. Super. 56, 86 (App. Div. 2017) (“to
safeguard the reasonable privacy interests of parents and students against the opposing interests of third parties who may seek access to their
student records”)
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466 NJ. Super. 14, *14; 245 A.3d 261, **261; 2021 NJ. Super. LEXIS 4, ***4

to any attorney's fees related to his efforts to obtain the records; [3]-The court noted that
there was nothing in the Federal Family Educational Rights and Privacy Act of 1974
(FERPA), 20 USCS. 9 /232g, that precluded higher education students from obtaining

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their own student records through OPRA.

Outcome
Judgment affirmed in part and reversed; case remanded to trial court with directions,

LexisNexis® Headnotes

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Record
Requests

Civil Procedure > ... > Discovery > Electronic Discovery > Discoverability of
Electronic Information

f1N1{%] Methods of Disclosure, Record Requests

The Open Public Records Act (OPRA), NASA. 89 47//4-/] to - 47:1A-13, provides for
ready access to government records by the citizens of this State. Government records are
defined as any paper, written or printed book, document, drawing, map, plan, photograph,
microfilm, data processed or image processed document, information stored or maintained
electronically or by sound-recording or in a similar device, or any copy thereof, that has
been made, maintained or kept on file in the course of his or its official business by any
officer, commission, agency or authority of the State or of any political subdivision
thereof, including subordinate boards thereof, or that has been received in the course of his
or its official business by any such officer, commission, agency or authority of the State or
of any political subdivision thereof, including subordinate boards thereof.

Administrative Law > ... > Freedom of Information > Compliance With Disclosure
Requests > Notification Requirements

Administrative Law > .,. > Freedom of Information > Methods of Disclosure > Record
Requests

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Public
Inspection

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HN2[4.] Compliance With Disclosure Requests, Notification Requirements

 

The Superior Court of New Jersey, Appellate Division's over-arching public policy favors
a citizen's right of access. N.J.S.4. § 47:/4-/. Accordingly, the Open Public Records Act
(OPRA), NJ S.A. oy 47: 14-1 to - 47:1A-13, directs that all government records shall be
subject to public access unless exempt, and any limitations on the right of access shall be

records made, maintained or kept on file in the course of a public agency's official
business, as well as any document received in the course of the agency's official business.
N.ISA. § 47: 1A-L 1,

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Record
Requests

Civil Procedure > Appeals > Standards of Review > De Novo Review
Administrative Law > ... > Enforcement > Judicial Review > Standards of Review

Administrative Law > ... > Freedom of Information > Defenses & Exemptions From
Public Disclosure > Statutory Exemptions

HN3{%.|] Methods of Disclosure, Record Requests

Among the records specifically exempted under the Open Public Records Act (OPRA),
NAS AL, Ss 47:/4-1 to - 47:1A-13, are those kept by any public institution of higher
education, deemed to be privileged and confidential, such as information concerning
student records or grievance or disciplinary proceedings against a student to the extent
disclosure would reveal the identity of the student. Also exempt are any federal law,
federal regulation, or federal order, N./.S.4. 9 47:/4-/, and any information that is
protected by any federal law, federal regulation, or federal order, N./ S.A. § 47: /4-9a).
The appellate court reviews de novo the trial court's legal conclusions regarding plaintiff's
OPRA requests.

Education Law > Administration & Operation > School Safety > Constitutional Rights
Education Law > Students > Student Records

HN4d{&] School Safety, Constitutional Rights

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456 NJ. Super. 14, *44; 245 A.3d 261, **261; 2021 NJ. Super. LEXIS 4, ***4

NJAC. 64:32-2.! defines a student record as information related to an individual student
gathered within or outside the school district and maintained within the school district,
regardless of the physical form in which it is maintained.

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Public
Inspection

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Record
Requests

HN35[%] Methods of Disclosure, Public Inspection

Considering Open Public Records Act (OPRA's), NAS 4. 88 47-/4-7 to - 47:1A-13's,
commitment to allowing access to public records, we conclude that OPRA requires the
disclosure of higher education records if they do not contain PII. Generally, the public's
interest in nondisclosure is based on the need to keep the information confidential. N./S.A.

§ 47:1A-1.2 only exempts public higher education records from disclosure that reveal a
student's identity.

Education Law > ... > Student Records > Family Educational Rights & Privacy
Act > Access & Inspection

Education Law > Administration & Operation > Student Financial Aid > Eligibility for
Financial Aid

HNo{%| Family Educational Rights & Privacy Act, Access & Inspection

There is nothing in the Federal Family Educational Rights and Privacy Act of 1974
(FERPA), 20 U.S.CS. ¥ /2329, or its regulations that precludes higher education students
from obtaining their own student records through OPRA. FERPA is a funding statute with
corresponding regulations establishing procedures for administrative enforcement and
administrative remedies for improper disclosure of student records. It prohibits the federal
funding of educational institutions that have a policy or practice of releasing education
records to unauthorized persons. FERPA does not itself establish procedures for disclosure
of school records. It defines education records as records, files, documents, and other
materials containing information directly related to a student, which are maintained by an
educational agency or institution or by a person acting for such agency or institution, 20
USCS. & /2329(a)(4)(A). FERPA regulations provide that third parties without parental
consent are allowed access to education records where PI is removed. 34 CFR. $

99. 31D).

 

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466 N.J. Super. 14, “14; 245 A.3d 261, **261; 2021 NJ. Super. LEXIS 4, ***1

Administrative Law > ... > Freedom of Information > Enforcement > Burdens of Proof

Evidence > Burdens of Proof > Allocation

Administrative Law >... > Freedom of Information > Methods of Disclosure > Record
Requests

Administrative Law > ... > Freedom of Information > Compliance With Disclosure
Requests > Notification Requirements

Administrative Law > ... > Freedom of Information > Compliance With Disclosure
Requests > Processing Fees

HN7(+] Enforcement, Burdens of Proof

If a public agency denies a requestor access, the Open Public Records Act (OPRA),
NSA. 98 47:1A4-1 to - 47:1A-13, places the burden on the agency to prove the denial was
authorized by law. N./S.4. 8 47:/A-6. An agency secking to restrict the public's right of
access to government records must produce specific reliable evidence sufficient to meet a
statutorily recognized basis for confidentiality. Absent the necessary proofs, a citizen's
right of access is unfettered. In assessing the sufficiency of the agency's proofs submitted
in support of its claim for nondisclosure, a court must be guided by the over-arching public
policy in favor of a citizen's right of access. N./.S.4. 8 47-/A4-/. Lit is determined access
has been improperly denied, the access sought shall be granted, and a prevailing party shall
be entitled to a reasonable attorney's fee. N./S.A. § 47-14-6,

 

Administrative Law > ... > Freedom of Information > Compliance With Disclosure
Requests > Notification Requirements

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Record
Requests

Administrative Law > ... > Freedom of Information > Compliance With Disclosure
Requests > Processing Fees

HN&[%.] Compliance With Disclosure Requests, Notification Requirements

The Open Public Records Act (OPRA), N./S.A. 88 47: 74-1 to - 47:1A-13, only allows
requests for records, not requests for information. The custodian is obliged to locate and
redact the requested documents, isolate exempt documents, identify requests that require
extraordinary expenditure of time and effort and warrant assessment of a service charge,

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466 N.J. Super. 14, *14; 245 A.3d 261, **261; 2021 NJ. Super. LEXIS 4, *"*1

and, when unable to comply with a request, indicate the specific basis thereof. N./S.A. $
47:1A-S(a)-(j). lf the custodian is unable to comply with a request for access, the custodian

shall indicate the specific basis therefor on the request form and promptly return it to the
requestor. NLS.A. § 47:1A-3(g).

Administrative Law >... > Freedom of Information > Methods of Disclosure > Record
Requests

HN9[&] Methods of Disclosure, Record Requests

While an exact definition of an impermissibly overly broad request is abstract, courts have
found requests that require a custodian to exercise his discretion, survey employees, or
undertake research to determine whether a record is responsive are overly broad and not
Thus, an OPRA applicant must identify with reasonable clarity those documents that are
desired, and a party cannot satisfy this requirement by simply requesting all of an agency's
documents. OPRA does not authorize unbridled searches of an agency's property. The
custodian must have before it sufficient information to make the threshold determination as
to the nature of the request and whether it falls within the scope of OPRA.

Administrative Law > ... > Freedom of Information > Methods of Disclosure > Record
Requests

Governments > Legislation > Interpretation
HN160{%] Methods of Disclosure, Record Requests

The Open Public Records Act's (OPRA), N.AS.A. § 47:1A-7./, plain language defines a
record as a document, information, or data that has been made, maintained or kept on file
or that has been received. A court looks first to the plain language of the statute to
determine the Legislature's intent.

Administrative Law > ... > Defenses & Exemptions From Public
Disclosure > Interagency Memoranda > Deliberative Process Privilege

Evidence > Privileges > Government Privileges > Freedom of Information Act

HN1I{&) Interagency Memoranda, Deliberative Process Privilege

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466 N.J. Super. 14, 14; 245 A.3d 261, **261; 2021 N.J. Super. LEXIS 4, *"*4

Moreover, the requests are not permissible under OPRA because they seek inter-agency or
intra-agency advisory, consultative, or deliberative material that is part of the decision-
making process as to implementation of policy, NSA. 47:1A-1,/.

Education Law > Students > Student Records
HN1/2(%] Students, Student Records

In L.R. I, the Superior Court of New Jersey, Appellate Division has held that schooi
districts must afford parents and guardians a reasonable opportunity to comment upon the
proposed redactions of records relating to their own child. This allows them to show how
his or her child might be readily identified within the community, despite good faith efforts
by school employees to perform effective and thorough redactions of the child's records.

Counsel: Jamie Epstein argued the cause for appellant.
Michael O'B. Boldt argued the cause for respondents (McElroy, Deutsch, Mulvaney &
Carpenter, LLP, attorneys; Michael O'B. Boldt, of counsel and on the brief).

Judges: Before Judges Alvarez?, Sumners and Geiger. The opinion of the court was
delivered by SUMNERS, JR., J-A.D.

Opinion by: SUMNERS, JR.

Opinion

(*20] [**264] The opinion of the court was delivered by
SUMNERS, JR., A.D.

Defendant Rutgers University, through its records custodian defendant Casey Woods,
denied plaintiff Chris Doe's requests under the Open Public Records Act (OPRA), NuIS.A,
records, and for attorney's fees and costs (collectively “attorney's fees"). Following an
order to show cause hearing to determine whether defendants’ denial violated OPRA, the
trial court agreed with defendants’ action and issued an order dismissing the requests as
overbroad.

We reverse the court's order that plaintiff is not entitled to his own student records subject
to redaction of personally identifiable information (PLD) and remand [***2] to the court to

 

? Judge Alvarez did not participate in oral argument but has, with the consent of counsel, been added to the panel deciding this matter.

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466 N.J. Super. 14, *20; 245 A.3d 261, **265: 2021 N.J. Super. LEXIS 4, **"2

determine if plaintiff is entitled to attorney's fees related to the release of those records. We
also reverse and remand the court's order that plaintiff is not allowed attorney's fees related
to defendants’ voluntary release of information pertaining to copies of specific university
professors’ and administrators’ disclosable employment records, The remand is to allow the
court the opportunity to issue findings of facts and conclusions of law regarding plaintiff's
entitlement to attorney's fees. The court shall also determine if plaintiff is entitled to
attorney's fees related to the student records that we conclude he is entitled to receive. We
affirm all other aspects of the court's order.

[*21] I

Plaintiff, a former student at the State University's Graduate School of Business, Newark
campus, submitted OPRA requests to Woods, Interim OPRA Administrator and Records
Custodian. On March 13, 2018, he sought the following:

[Request One]. Any and all documents, whether in electronic or paper media, which
make reference to [Chris Doe or Chris Doe's initials] between 1/1/2017 to present.
Documents requested include, but are not limited to: (a) financial records (requested
immediately [***3] pursuant to [V./S.4_/ 47:1A-3) such as bills, invoices, receipts,
ledger accounts, payments, both sides of canceled checks, etc.; (b) academic records
such as records kept by staff who provided [Chris Doe] educational services,
transcripts, notes, letters, emails, reports, tests, etc.; (c) administrative records such as
health records, discipline records, ete.; (d) communications records such as emails,
memos, text messages, voice mail, letters, etc., sent or received by staff, administrators,
contractors or agents of the University. Email search: where the sender or recipients is
a staff, administrator, contractor or agent of the University and the body or subject of
the emai! refers to [Chris Doe or Chris Doe's legal name initials or Chris Doe’s student
number].

[Request Two]. Regarding each employee listed below, the following information is
requested: title, position, salary, payroll record, length of service, data contained in the
information which disclose conformity with specific experiential, educational or
medical qualifications required for employment, date of separation Gif any) and the
reason and the employee's employment contract (which is requested immediately
pursuant [***4] to [M.JS.A.] 47:1A-5)[:| (a) Dr. Edward Bonder, Associate Professor,
Faculty of Arts and Sciences -— Department of Biological Sciences; (b) Dr. Wayne
Eastman, Professor[,] Rutgers Business School ~-- Supply Chain Management, (c) Dr.
Francis Bartkowski, Professor[,| Faculty [of] Arts and Sciences —- Department of
English; (d) Dr. Kinna Perry, Associate Dean of Graduate School-Newark; (e) Dr. Kyle
Farmbry, Dean of the Graduate School-Newark.

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[Request Three]. Any and all documents or emails which refer to Record Request
Information Item[s] [One] and [Two] [**266] above either in the body of the email or
document or in its attachment.

{Request Four}. Any and all records created including metadata in responding to this
OPRA request.

Defendants replied that same day that Request Two records would be provided "as soon as
is practicable," but the other requests were denied because they were "overly broad" and
did not adequately "describe the documents sought." To obtain his academic transcript that
was sought in Request One, plaintiff was directed to a university website.

[*22] Three days later, plaintiff submitted another OPRA request (Request Five) seeking
documents in electronic or paper media of "[t]he disciplinary [***5] case file of any and
all Rutgers Newark Graduate [s]tudent charged with a separable offense from 1/1/2013 to
present" but "with all [PII] redacted." Defendants denied that request on March 28 as
“overly broad" and requiring research by the custodian.

Within a few days of the original request, and before receiving the Request Two records
that defendants advised would be provided, plaintiff filed an order to show cause and
verified complaint in the Law Division to obtain all the sought-after records. After the
court entered an order to show cause, plaintiff filed a second amended verified complaint.
Defendants provided the records responsive to Request Two shortly thereafter: forty-five
days after the request was initially made. The court subsequently issued an order and
written opinion denying plaintiffs OPRA requests for unprovided records and attorney's
fees.

I]

We first point out, with the exception of attorney's fees, we reject plaintiff's contention that
requires the court to set forth its factual findings and conclusions of law dismissing his
OPRA requests. Relying upon M4G Fat, LEC vy. Div. of Alcoholic Beverage Control, 375
NA Super. 534, 349. 868 A2d 167 (App. Div. 2003), the court found that plaintiff
made [***6] "wholesale requests’ for generalized information to be analyzed and
compiled by the responding agency [that were] outside of OPRA's scope.” Plaintiff did not
comply with defendants’ request by narrowing the emails sought by "content and/or
subject," "specific date or range of [transmission] dates," and "identify{ing] the sender
and|[/Jor recipient thereof.” Finding the demand was inconsistent with OPRA's legislative
intent, the court explained plaintiff's requests were not "well defined,” thereby requiring
Woods to make an impermissibly subjective analysis to determine [*23] what records
were sought. Paffy, Galloway Twp. (Paff iH), 229 NJ. 340, 355, 162 A.3d {046 (2017),

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466 NJ. Super. 14, *23; 245 A.3d 261, **266; 2021 N.J. Super. LEXIS 4, **"6

HNI[#¥] "OPRA provides for ready access to government records by the citizens of this
State.” Burnett v. Cnty. of Bergen, 198 NJ 408, 421-22. 968 Add F151 (2009) (citing
Mason v. City of Hoboken, 196 NJ 351, 64-65, 931 A.2d 1017 (2008)). Government
records are defined as

any paper, written or printed book, document, drawing, map, plan, photograph,
microfilm, data processed or image processed document, information stored or
maintained electronically or by sound-recording or in a similar device, or any copy
thereof, that has been made, maintained or kept on file in the course of his or its
official business by any officer, commission, agency or authority of the State or of any
political subdivision thereof, including subordinate [***7] boards [**267}] thereof, or
that Aas been received in the course of his or its official business by any such officer,
commussion, agency or authority of the State or of any political subdivision thereof,
including subordinate boards thereof. The terms shall not include inter-agency or intra-
agency advisory, consultative, or deliberative material.

[N.J.S.A. 47:14-1.] (emphasis added). ]

HN2(#] Our "overarching public policy” favors "a citizen's right of access." Courier News
v. Hiuutterdon Crty. Prosecutor's Off, 358 NJ. Super. 373, 383, 817 A.2d II7 (App. Div.
2003) (citing N.J.S.4. 47:/4-/). Accordingly, OPRA directs that "all government records
shall be subject to public access unless exempt[,]" and “any limitations on the right of
access... shall be construed in favor of the public's right of access." NW/S.A. 47:/A-/.
OPRA only applies to records "made, maintained or kept on file in the course of [a public
agency's] official business[,]" as well as any document "received in the course of [the
agency's] official business[.]" M./AS.A. 47-1A-1./.

HN3[¥] Among the records specifically exempted under OPRA are those kept by "any
public institution of higher education, . . . deemed to be privileged and confidential|, |"
such as "information concerning student records or grievance or disciplinary proceedings
against a student fo the extent disclosure would reveal the identity of the [***8] student.”
ibid. (emphasis added). Also exempt are [*24] "any federal law, federal regulation, or
federal order{,|" N/S.4, 47:/A-/, and any information that is protected by any "federal
law[,! federal regulation[,] or federal order|,]” N./S.4. 47:/4-9(a). We review de novo the
trial court's legal conclusions regarding plaintiff's OPRA requests. Puff vy. Galloway Twp.
(Paff ih), 444 NJ. Super, 495, 501, 134 A.3d 42 (App. Div. 2016; (citation omitted).

Both parties rely on our decision in L.R. v. Caniden City Pub. Sch. Dist, CARD), 432 NJ.
Super. 56, 93, 171 A.3d 227 (App. Div. 2017), affirmed by an equally divided Supreme
Court, LR. Camden City Pub. Sch. Dist. (LR. 1D, 238 NJ 547, 550, 213 A 3d 912
(2079) (Patterson, J., concurring), where we ruled that a request under OPRA, the New
Jersey Pupil Records Act, V./.S.4. /84:36-/9, and the Federal Family Educational Rights

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466 N.J. Super. 14, *24; 245 A.3d 261, **267; 2021 N.J. Super. LEXIS 4, ***8

and Privacy Act of 1974 (FERPA), 2U U.S.C. § 1232, for unredacted "[student] records"?
that do not "Incidentally mention or identify other students[,]" are accessible to the student
or the student's parent, guardian, or authorized legal representative. Plaintiff argues he is
entitled to his own student records that were deemed disclosable under OPRA in the 7.2.
decisions. Plaintiff also cites published responses by the Department of Education to
comments made to the agency's proposed regulations, Family Educational Rights and
9, 2008), that support, respectively, the proposition that disclosure is not barred under
FERPA once “all identifiers have been removed[.]" 73 Fed. Reg, at 15,383.

 

Defendants contend [***9] that L.2. [, albeit in dicta, specifically stated its ruling does not
apply to higher education institutions:

As a Starting point to our de novo legal analysis, we note it ts clear and essentially
undisputed that the school records sought here are within the scope of OPRA's broad
definition of "government record{s.]" NSA. ¢7:/A-1.1. They are [**268] not
"higher education” records exempted from OPRA under N./S.A. 4714-11.

[*25] [452 NZ. Super. at 82-83 (alteration in original). |

In response, plaintiff maintains that Z.R. [ recognized that disclosure of higher education
student records after redaction of PIl was permitted under N./JS.A. 47;7A-1.1. ld. at 79.

Although the parties argued the impact of the Z.X. decisions before the trial court, the court
did not address their arguments.

HNS{¥] Considering OPRA's commitment to allowing access to public records, we
conclude that OPRA requires the disclosure of higher education records if they do not
contain PII. "Generally, the public's interest in nondisclosure is based on the need to keep
the information confidential." L.R, 1 452 Nu. Super at SY (quoting Keddie v. Rutgers, 148
NJ. 36, 31, 689 A.2d 702 (1997)). NIS_A. 47:7A-1.1 only exempts public higher
education records from disclosure that reveal a student's identity. Plaintiff should be given
copies of the requested Rutgers's records that do not reveal the identity of other
students. {***10] This includes plaintiff's access to his own academic, discipline, and
financial records as long as identifiable references to other students are removed. In
reaching this conclusion, we are fully cogmizant of defendants’ need to maintain and
implement system-wide protocols under FERPA to safeguard confidentiality of its
students! records. Gundlach v. Reinstein, 924 F. Supp. 684, 692 (E.D. Pa. 1996) (citation
omitted) ("FERPA was adopted to address systematic, not individual, violations of
students’ privacy and confidentiality mghts through unauthorized releases of sensitive

 

 

=a
SNA] AW AC 644 32-2 detines a student record as "information related to an individual student gathered within or outside the school
district and maintained within the school district, regardless of the physical form in which it is maintained,”

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466 N.J. Super. 14, *25; 245 A.3d 261, 268; 2021 NJ. Super. LEXIS 4, ***10

educational records,"), affd, [14 F.3d 1172 (3d Cir. 1997). That said, allowing plaintiff
access to his own university records with appropriate redactions does not breach OPRA's
goal to protect confidential information.

Defendants contend plaintiff requested confidential "education records" that are subject to
and protected by FERPA. Defendants argue that requiring a public university to disclose a
student's own records to the student under OPRA would "substantially and needlessly
impede [their] compliance with FERPA's [*26] requirements" and increase the chances
that student privacy would be violated. We disagree.

HN6[¥] There is nothing in FERPA or its regulations that precludes higher education
students from [***11] obtaining their own student records through OPRA. "FERPA is a
funding statute with corresponding regulations establishing procedures for administrative
enforcement and administrative remedies for improper disclosure of student records." Stare
ve ASG, $56 NA Super 87, 100, 192 Add I (App. Div. 2018) (citations omitted). It
"prohibit[s] the federal funding of educational institutions that have a policy or practice of
releasing education records to unauthorized persons." Gonzaga v. Doe, 536 US. 273, 276,
1228 Ct 2268 153 L. Ed. 2d 309 (2002). "FERPA does not itself establish procedures for
disclosure of school records." K.L. v. Evesham Tp. Bd. of Educ., 423 NJ. Super. 337, 363,
32 A.3d 1136 (App. Div. 20/1). \t defines education records as "records, files, documents,
and other materials” containing information directly related to a student, which "are
maintained by an educational agency or institution or by a person acting for such agency or
institution.” Owasso Indep. Sch. Dist, No. 1-0] ve Falvo, 534 U.S. 426, 429, 122? S Ct
934, 131 Lb. Ed. 2d 896 (2002) (quoting 20 U.S.C. § 1232¢fa)(4)(dj). FERPA regulations
provide that third parties without parental consent are allowed access to education records
where PII is removed. 34 CFR. 9 99 3/fb)cl). [**269] Defendants fail to cite any
provision of FERPA or its regulations that precludes plaintiffs access to the requested
records under OPRA.

IV

 

Concluding that FERPA does not preclude plaintiffs OPRA requests does not end our
inquiry. We must consider whether the trial court properly denied his requests based
upon {[***12] OPRA’s limitations.

IIN7[¥] If a public agency denies a requestor access, OPRA places the burden on the
agency to prove "the denial... [was] authorized by law." N./S.4. 47-/4-6. An agency
"seeking to [*27] restrict the public's right of access to government records must produce
specific reliable evidence sufficient to meet a statutorily recognized basis for
confidentiality." Courter News, 358 N./. Super. at 382-83. Absent the necessary proofs, "a

agency's proofs submitted in support of its claim for nondisclosure, "a court must be

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guided by the overarching public policy in favor of a citizen's right of access.” /bid. (citing

shall be granted, and a prevailing party shall be entitled to a reasonable attorney's fee.
NASA AL TAO,

HNS8[F] OPRA "only allows requests for records, not requests for information." Burke vy.
Stafford Police Dep't, 38) NJ Super. 30, 37, 884 A.2d 240 (App. Div, 2005)}. The
custodian is obliged to "locate and redact [the requested] documents, isolate exempt
documents, ... identify requests that require ‘extraordinary expenditure of time and effort’
and warrant assessment of a 'service charge,’ and, when unable to comply with a request,
‘indicate the specific basis’ [***13] thereof. Spectraserv, Inc. v. Middlesex Cnty. Utils.
Auth, 416 NJ Super. 563, 576, 7 A 3d 231 (App. Div, 2010) (quoting N./. Builders Ass'n
ve NS Council on Affordable Hous, 390 NJ. Super. 166, 177, 915 A.2Qd 23 fApp. Div.
2007) (quoting N.JS.A. 47:1A-5(a)- G))). Wf “the custodian is unable to comply with a
request for access, the custodian shall indicate the specific basis therefor on the request
form and promptly return it to the requestor.” NASA. 47: 1A-5 (9).

HNSF] While an exact definition of an impermissibly overly broad request is abstract,
courts have found requests that require a custodian to exercise his discretion, survey
employees, or undertake research to determine whether a record is responsive are overly
broad and not encompassed by OPRA. We have concluded plaintiff's requests for “any and
all documents and data . . . relied upon, considered, reviewed, or otherwise utilized" were
impermissibly [*28] overbroad because they require the custodian to exercise discretion
to determine whether to comply. N./. Builders Ass'n, 390 NJ. Super. at 172. Thus, an
OPRA applicant "must identify with reasonable clarity those documents that are desired,
and a party cannot satisfy this requirement by simply requesting all of an agency's
documents. OPRA does not authorize unbridled searches of an agency's property." Bent,
Add 414 (App. Diy. 2009} ("The custodian must have before it sufficient information to
make the threshold determination as to the nature of the request and whether it falls within
the [***14] scope of OPRA.").

[**270] As to Request One, we conclude some of the records sought are disclosable and
some are not. Woods's certification in response to the order to show cause provides that
"searching all of the mail accounts on the University's email systems is practically
impossible and also very disruptive to certain other operations within the University's
Office of Information Technology, which is impossible for gathering electronic documents
from the University's e-mail servers[.]" He suggests "narrowing the search to specific
senders/recipients as well as a date range could greatly improve the chances [of] having a
successful search[.]" This limitation should not impede defendants’ ability to respond to

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466 N.J. Super. 14, *28; 245 A.3d 261, **270: 2021 N.J. Super. LEXIS 4, 7°14

plaintiff's request in subcategory (a) for financial records. Rutgers, like any organization
that maintains financial records for its clients, in this case students, should be able to
generate its financial history with plaintiff. Defendants have not proffered any reason that
suggests an impediment to locating those records.

With the exception of plaintiff's academic transcripts and discipline records, we agree with
the trial court that subcategories (b), (c), and (d) are overbroad [***15] as they require
Woods to exercise his discretion, survey staff, or undertake research to determine if he was
responsive to the request. Educational service records sought in subcategory (b) are
undefined. The subcategory's request for "records kept by staff’ such as "notes, letters,
emails, [*29] reports, tests, etc.[,]" requires Woods to identify and search the universe of
locations where these records might be maintained and thus constitutes an unbridled
records search. In the initial reply to plaintiff's request, Woods noted "[dlue to the
University’s size and the sheer number of employees, we cannot perform open-ended
searches on our servers using only a keyword, our [Office of Information Technology]
staff require[s] individual! sender/receiver identities to perform an email search."

Subcategory (c)'s request for "health records" is not subject to OPRA because the [Mea/th

Y, and its related regulations govern a patient's right to inspect and obtain copies of the
patient's medical records to protect unauthorized disclosure. See Snuth v. Datla, 43] Nid.
Super. 82, 1l2, 164 A.3d 1110 (App. Div. 2017); Bernetich, Hatzell & Pascu, LLC v. Med.
Records Online, inc., 445 NJ. Super. 173, 180, 136 A.3d 955 fApp. Div. 20/6). Plaintiff's
claim that defendants did not rely upon HIPAA as a reason for denying his
request [***16] is of no import because the release of health care is of significant public
interest for us to consider. See Zaman y. Felton, 219 N.J. 199, 226-27, 98 A.3d 503 (2014),
In addition, the requests would require research to determine where plaintiff received
health care through or at the university. Subcategory (d)’s request for "communications
records" is overbroad as it is not the type of routine search required by OPRA. The request
would be disruptive to defendants’ operations because it would require an unreasonable
labor expense given the university's numerous departmental servers, faculty and staff
desktop computers, email accounts, and individual voicemail accounts. In fact, defendants
sought to resolve the request by telling plaintiff he would need to identify senders and/or
recipients instead, but he chose not to respond.

 

With respect to Request Three, seeking documents or emails regarding Requests One and
Two, and Request Four, seeking metadata responding to all requests, they both seek
records that did not yet exist at the time of the request. Hence, [*30] they are not yet
government records. [**271] HN/O[¥] OPRA's plain language defines a record as a
document, information, or data "that has been made, maintained or kept on file... or that
has been received." [***17] NJS.A. 47:1A-1.1. See McGovern vy. Rutgers, 211 NJ. 94,

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466 NJ. Super. 14, *30; 245 A.3d 261, **271; 2021 N.J. Super. LEXIS 4, ***17

[08, 47 A.3d 724 (2012) (looking first to the plain language of the statute to determine the
Legislature's intent). Both requests are also not subject to disclosure under OPRA because
they are open-ended demands tantamount to an "any and all" request disfavored by
caselaw. To comply, defendants would have to search through all of Rutgers's files and
analyze the information contained therein to identify for plaintiff the records sought.
HN11[#] Moreover, the requests are not permissible under OPRA because they seek
"inter-agency or intra-agency advisory, consultative[,] or deliberative material" that is part
of the decision-making process as to implementation of policy. Ciesfa_v. NJ Dep't of
Health & Senior Servs.. 429 NJ. Super. 127, 137, 57 A.3d 40 (App, Div. 20/2) (citing
NS.A. 47:1A-11, Educ. Law Ctr. vo NJ Dep't of Fduc., 195 NJ. 274, 284, 966 A2d
L054 (2009); lave Liguidation of lateerity Ins. Co. 165 NJ 75, 83, 754 A.2d 11377
(2000).

 

Lastly, we turn to Request Five seeking disciplinary files —- with PH redacted —~ of all
Rutgers Newark graduate students charged with a separable offense from January 1, 2013
to the present. Despite plaintiff's efforts to comply with OPRA's requirement that student
records not disclose the student's identity, V.S.A. 47:/A-1.1, the trial court was correct in
ruling the records were not subject to disclosure because the request was overbroad.
Plaintiff fails to provide any reference to disciplinary guidelines indicating what charge
might result [***18] in a student being separated or expelled from a graduate program.
Leaving it to defendants to research and compile a database to determine what discipline
records were exempted or could be redacted makes the request overbroad.4

[*31] V

In sum, we conclude OPRA only allows plaintiff to obtain copies of his own academic
transcripts, discipline records, and financial records subject to redaction to preclude the
identity of other students. We remand for the trial court to determine whether plaintiff is
entitled to any attorney's fees related to his efforts to obtain these records. Each party
should be afforded the opportunity to present their respective positions to the court. We
leave it to the court's discretion to allow oral argument. We also remand for the court to
issue findings of facts and conclusions of law [***19] regarding plaintiff's entitlement to

 

a
4 NOB] In & 1, we held

that school districts must afford parents and guardians a reasonable opportunity to comment upon the proposed redactions of records
relating to their own child... . [This allows them to} show how his or her child might be readily identified within the community,
despite good faith efforts by school employees to perform effective and thorough redactions of the child's records,

[fal Aud Super, at 22]

Thus, we question whether a more circumscribed OPRA request would require that graduate students be afforded the opportunity to review
and object to a propesed redaction of thei disciplinary files to prevent disclosure of their identity. Because this issue was not before us, we do
not address it.

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attorney's fees related to defendants’ voluntary release of information pertaining to specific
university professors’ and administrators’ disclosable records. We take no position as to
whether plaintiff is entitled to any attorney's fees that the court shall consider on remand.

[**272] Affirmed in part and reversed and remanded in part consistent with this opinion.
We do not retain jurisdiction.

 

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DF. ve Collineswood Bd, of Educ.
Superior Court of New Jersey, Appellate Division
September 22, 2016, Argued; November 10, 2016, Decided
DOCKET NO. A-5311-14T2

Reporter
2016 N.J. Super. Unpub. LEXIS 2449 *; 2016 WL 6647784

D.F., a Minor, Individually and by his Parent and Legal Guardian, A.C., Plaintiffs-
Appellants, v. COLLINGSWOOD BOARD OF EDUCATION, Defendant-Respondent.

Notice; NOT FOR PUBLICATION WITHOUT THE APPROVAL OF THE
APPELLATE DIVISION.

PLEASE CONSULT NEW JERSEY RULE /:36-3 FOR CITATION OF UNPUBLISHED
OPINIONS.

Prior History: [*1] On appeal from Superior Court of New Jersey, Law Division,
Camden County, Docket No. L-3813-10.

Core Terms

records, attorney client privilege, redacted, trial judge, in-camera, billing, plaintiffs’, un-
redacted, disclosure, trial strategy, privilege log

Counsel: Walter M. Luers argued the cause for appellant (Law Offices of Walter M.

Luers, L..L.C., attorneys; Mr. Luers, of counsel and on the briefs; Jamie Epstein, on the
briefs).

Walter F. Kawalec, I] argued the cause for respondent (Marshall Dennehey Warner
Coleman & Goggin, attorneys; Mr. Kawalec and Richard L. Goldstein, on the brief).

Judges: Before Judges O'Connor and Whipple.

Opinion

PER CURIAM

Plaintiffs, A.C. and D.F., a parent and minor child, appeal from October 8, 2010,
November 12, 2010, and June 26, 2015 orders denying their request for the disclosure of
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documents pursuant to New Jersey's Open Public Records Act (OPRA), Nu S.A. 47:1 4-1
to-/2.

D.F. was a student in the Collingswood Public School system. In 2009, his mother, A.C.,
brought an administrative claim and ultimately, a federal lawsuit asserting D.F.'s
educational rights were violated under the /ndividuals with Disabilities Act (IDEA). 20
US. Cut 88 1400-1482. In June 2010, plaintiffs’ counse] filed a request with the
Collingswood Board of Education (the Board) for records pursuant to OPRA, N_/ S.A.
47: 14-1 to-12. In particular, the request sought:

All records, including, but not limited to, bills, vouchers, [*2] contracts, etc., whether
in electronic or paper media, whether received or sent, which makes reference to
attorney's fees from 11/11/09 to present which make reference to... [D.F.] and/or his
mother, [A.C.].

I also request a copy of the Board's current contract with the Board's attorney and/or
law firm.

Immediate access is requested for these "bills, vouchers, contracts", pursuant to OPRA
NISA, 47: 1A-S(e).
The Board responded stating invoices for legal services were available for inspection and
copying, but the names of certain persons identified in the records had been redacted under
the attorney chent privilege.

Plaintiffs filed a complaint and order to show cause under OPRA, secking disclosure of the
162 redacted names in the billing records. On October 8, 2010, the trial judge ordered the
Board to provide the un-redacted billing records for in-camera review and provide
justification for the redactions in a legal memorandum. The Board complied, providing un-
redacted records and a letter brief on October 21, 2010. Plaintiffs only received the letter
brief. In the letter brief, the Board argued for the application of attorney client privilege in
OPRA cases. The Board also argued the identities of [*3] individuals employed by the
Board who sought legal counsel should be protected because a chilling effect could result
from the revelation of their identities, particularly where plaintiffs were involved in
litigation against the Board. The Board also argued the information, if unredacted, could
give plaintiffs insight into the Board's legal strategy.

On November 12, 2010, the trial judge denied plaintiffs’ order to show cause without
prejudice:

While I do not know the - how each and every person whose name is set forth in the
un-redacted bills fits in the case it would certainly seem to me that there are references
to fact witnesses, there are references to professionals, there are references to the staff
of the Collingswood Board of Education and requiring the Board of Education's

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counsel to reveal those persons with whom he or she is speaking, particularly when the
date of the communication is also noted can certainly give rise to insight into counsel's
trial strategy, theories of the case and would undermine the client's - potentially
undermine the client's rights and strategy in this litigation.

The trial judge dismissed the complaint without prejudice because of the on-going

litigation, [*4] but opined the rationale for redaction might not exist after the completion
of litigation.

Plaintiff filed an appeal, which we dismissed as interlocutory without addressing the
merits. After completion of the IDEA litigation, plaintiffs filed a second appeal, which we
dismissed as interlocutory by order of April 21, 2015. Plaintiffs returned to the Law
Division, moving for summary judgment before a second judge. Plaintiffs argued
defendant had not provided a sufficient factual basis to establish it was entitled to assert
the attorney client privilege for the 162 redacted names and should, at the very least, be
ordered to serve and file a privilege Jog. Plaintiffs also argued they had an interest in
disclosure of the names under the Family Educational Rights and Privacy Act (FERPA),
20 USCA, § 1232, because D.F.'s records were allegedly disclosed to other people
without his consent. Plaintiffs also sought costs and attorney's fees.

The second judge denied the application because the law of the case doctrine precluded
him from revisiting the trial judge's previous ruling. This appeal followed.

On appeal, plaintiffs argue the court erred by failing to require defendant to submit
evidence in the form of [*5] a privilege log or certification to support the claim of attorney
client privilege, the privilege does not apply to names in billing records, the court erred by
relying on the attorney work-product privilege as a reason for non-disclosure, and the
court's findings were inconsistent. Plaintiffs also argue the Board should be foreclosed
from now supplementing the record to establish the privilege’s application, and the Board's
actions may have violated plaintiffs’ right to know who was given access to his records
pursuant to FERPA. Plaintiffs also argue they are entitled to an award of fees.

This court reviews a trial court's determination of whether access to public records was
warranted under OPRA de novo. Paff v. N./. State Firemen's Ass'n, 431 NJ Super. 278,
286, 69 43d TIS ¢(dpp. Div. 2013).

We now turn to our review of the dismissal! of plaintiffs' complaint and order to show
cause by the trial judge on November 12, 2010. The judge required the Board to provide
un-redacted billing records for in camera review and submission of a legal brief to support

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finding the names privileged. Plaintiff asserts it was error not to require the Board to
produce a privilege log or Vaughn' index. We disagree.

When a government custodian is unable to comply with the OPRA request relying [*6]
upon attorney client privilege, the "mere assertion of privilege” is not enough. Burke v.
Brandes, 429 NJ Super. 169, 178, 37 A.3d 552 (App. Div. 20/2). When stating the
reasons for the denial of a request, the government agency need not reveal the privileged
privilege to ‘describe the nature of the documents ... not produced or disclosed in a
manner that, without revealing information itself privileged or protected, will enable other
parties to assess the applicability of the privilege or protection.” Pa/ffyv. New Jersey Dept
of Labor, Bd. of Review, 379 NJ. Super, 346, 354, 878 A.2d 31 fApp. Div. 2005) (quoting
R. 4210-2¢e)).

 

When attorney client privilege has been claimed in an OPRA action, courts have either
ordered a privilege log to be produced or conducted an in-camera review in order to
determine whether the privilege applies. N./S.4. 47:/A4-1 to-]2 does not mandate a
privilege log must be filed when a government agency asserts a claim of attorney client
privilege. We have stated, "the court is obliged when a claim of confidentiality or privilege
is made by the public custodian of the record, to inspect the challenged document in-
camera to determine the viability of the claim." MAG Entat't, LLC v. Div. of Alcoholic
Beverage Control, 375 Nf. Super. 334,345, 868 A.2d 1067 (App. Div. 20035) (citing Hartz
Mountain fredus.. lnc iv Nf Sports & Exposition Auth, 369 NJ Super. 373, 183, S48
A.2d 793 (App. Div. 2004)}). The purpose of an in-camera inspection is to allow both
parties the opportunity to address principles related [*7] to the claim of confidentiality and
privilege; in-camera review also allows the government custodian to argue specifically
"why the document should be deemed privileged or confidential or otherwise exempt from
the access obligation.” /bid. (quoting Hartz Mountain, supra, 369 N.} Super. at 183).

 

The judge herein was within his discretion to conduct an in-camera review to determine
the validity of defendant's claim of privilege. However, that does not end the inquiry.

After conducting the in-camera review, the judge did "not know how each and every
person whose name is set forth in the un-redacted bills fits in the case." In other words, the
in-camera review did not demonstrate whether the redacted names were subject to the
privilege. Rather than ask the Board for additional information to clarify the assertion of
the attorney chent privilege vis-a-vis the redacted names, the judge, sua sponte, dismissed
plaintiffs' complaint because disclosure of the redacted names could reveal trial strategy in

 

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the underlying litigation. The judge then opined his rationale might not apply in the future
after the resolution of the underlying litigation.

Hence, the trial judge left unanswered the questions of the applicability of the attorney
client [*8] privilege, as well as whether the completion of the underlying litigation was a
changed circumstance requiring disclosure of the redacted names.

The judge erred in dismissing the complaint because the records could "give rise to insight
into counsel's trial strategy." "A party's right to access public records is not abridged
because it may be involved in other litigation with the governmental agency required to
respond to the OPRA request." MAG, supra, 375 NJ Super. at 545. in MAG, we said,
"{t}he fact that litigation was pending between the [the parties] when MAG made its public
records request does not, in itself, relieve the government agency of its obligation to
comply with OPRA." fd. at 344. "Documents that are 'governmental records' and subject to
public access under OPRA are no less subject to public access because the requesting party
is Opposing the public entity in possession of material sought in collateral litigation.” /d. a1
345. The pendency of collatera! litigation “neither diminishes nor expands the requestor's

 

on Affordable Hous., 390 Nf Super. 166, 182. 915 A.2d 23 (App. Div. 2007). In
Spectirasery, dnc. vo Middlesex Coy. Utils. Auth, 416 NL Super. 3635, S81. 7 A 3d 23) (App.
Div. 20/0), we stated that "although the pendency of collateral litigation ‘neither
diminishes nor expands the requestor's right of access to government records under
OPRA,' {*9] it is not a fact to be ignored." (internal citations omitted).

The blanket dismissal of plaintiffs’ complaint because disclosure of redacted names could
give rise to insight into trial strategy is error for the same reason the judge could not
determine the applicability of the attorney client privilege. The Board's submission did not
identify which of the 162 redacted names were employees and/or administrators, whether
any sought legal counsel, and more significantly, whether any were not employees of the
Board or third parties. The submission did not distinguish fact witnesses from expert
witnesses and did not establish whether any of the individuals were actual clients. Any
determination the information provided would give insight into trial strategy is speculative.

Armed with the foregoing analysis we turn to whether the second judge's determination
that his review was precluded by the law of the case doctrine. We conclude it was not
because the trial judge did not make findings regarding the attorney client privilege and
because the trial judge suggested the completion of the underlying litigation might be a
changed circumstance. Plaintiffs argue defendant should not be permitted [*10] to
supplement the record with information it should have provided initially. We disagree and
direct the scope of the inquiry, including the request for fees to the discretion of the trial
judge. We reverse the dismissal of plaintiffs’ complaint and remand the matter for
amplification of these issues consistent with this opinion.

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Reversed and remanded. We do not retain jurisdiction.

 

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COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No. 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 401

Saddle Brook, New Jersey 07663
(201) 845-9600

JAMIE EPSTEIN, ESQ.- 008081990
17 Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925

Attorneys, for Plaintiff

Chris Doe, Plaintiff, | SUPERIOR COURT OF NEW JERSEY

Vv.
-RUTGERS, THE STATE UNIVERSITY OF . LAW DIVISION: MIDDLESEX COUNTY
| DOCKET NO. MID-L-

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NEW JERSEY and Jewell Battle in her official
capacity as the OPRA ADMINISTRATOR and

 

;, RECORDS CUSTODIAN of Rutgers University, CIVIL ACTION

| Defendants. CERTIFICATION
I, JAMIE EPSTEIN, ESQ., of full age, hereby certify:

I. Iam an attorney of the State of New Jersey and co-ounsel for Plaintiff.

2, Attached hereto as Pal is a copy of Plaintiff’s 4/3/21 OPRA request.

3. Attached hereto as Pad is a copy of Plainuff’s 4/13/21 OPRA request

4. Attached hereto as Pa6 is a copy of Defendants’ 4/14/21 response to Plaintiff's 4/3/21 OPRA for
de-identified disciplinary records of other Rutgers Newark Graduate Students charged with a separable
offense.

5. Attached hereto as Pal is a copy of Defendants’ 6/22/21 response to Plaintiff's 4/3/21 OPRA
Request denying access for Plaintiff's own student records of Defendants’ communications making
reference to Plaintiff unless Plaintiff paid a special service charge of $2,025,

6. Attached hereto as Pal4 is a copy of Defendants’ 7/12/21 denial of access to Plaintiff’s 4/13/21

OPRA Request for Plaintiff's own student records of Defendants’ communications making reference to
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Plaintiff unless Plaintiff paid a $4,995 special service charge.
7. Attached hereto as Pal 8 is the 5/26/21 heavily redacted 102 page record in response to item 4,
OPRA search/response records improperly asserting various privileges.
8. All of the documents attached hereto are true and correct copies thereof, except Plaintiff's
personal identification information has been redacted.

I certify that the foregoing statements made by me are true. I understand that if any of the

statements made by me are willfully false, [ am subject to punishment.

JF

JAMIE EPSTEIN, ESQ.
Dated: 8/2/21]
MiTRSods2$4cx+1 68/8/262qc Ise 1p MFiked 09/2 ataneaga C2 anieAOG4eagelD: 72

State of New Jersey - Government Records Request

Record Custodian Information: Jewel] Battle, University Custodian of Records, Rutgers, The State
University of New Jersey, 65 Bergen Street, Ste. 1346, Newark, New Jersey 07101-1709, Phone: (973)

972-1981, Fax: (973)972-7174, Email: opraru@uec.rutgers.ed

Record Requester Information:
Jamie Epstein, Esq., 17 Fleetwood Dr., Hamilton 08690; je@jamieepsteinlaw,com, on behalf of Z.H.
(MBs authorization for release of his student records is attached)

Preferred Delivery:

X PDF via E-Mail Pick Up US Mail ___On Site

Under penalty of N.J.S.A. 2C;28-3, Lcertify that] X Have Not/ — Have been convicted of any
indictable offense under the laws of New Jersey, or any other state, or in United States.

JF

Dated: 4/3/21 Jamie Epstein, Esquire

Payment Information:

Maximum Authorized Cost $ thd Payment Method: Cash__— Check X Money Order __

Fees: Letter Size @ $0.03/page Legal Size @ $0.07/page. Electronic Records: shall be provided free of
charge, but agency may charge for cost of media, programming, clerical, supervisory assistance
and/or substantial use of information technology. Delivery: Delivery/postage fees additional depending
upon delivery type. Additional Charges: may be charged If extraordinary time/effort required,
depending upon request.

Record Request Information:

Records, whether in electronic or paper media, which make reference to

student id #136003725. Documents requested include, but are not limited to:

(1) academic records: a: file kept by Dr. Edward Bonder, Associate Professor, Faculty Arts and
Sciences - Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers Business
School — Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and Sciences —
Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark; (e) Dr. Kyle
Farmbry, Dean of the Graduate School-Newark. Date range 1/1/17 to present.

(2) communications records such as emails, memos, text messages, voice mail, letters, etc., sent or
received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and Sciences -
Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers Business School —
Supply Chain Management; (c) Dr, Francis Bartkowski, Professor Faculty Arts and Sciences -
Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark; (e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark: (c)
body or subject: [IJrammmms

date range: 1/1/2017 to present

(3) other student discipline records: with all personal identification information (Pi) redacted:
the disciplinary case file of any Rutgers Newark Graduate Student charged with a

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Miras@d6851 or 1 6808/2620 CLH6 MPM ie209/2 Ps atans age. C9 A249 b4eegelD: 73

separable’ offense from 1/1/2015 to present.

4. OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the Custodian's
search in response to I's OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the Records
Custodian's search in response to ma: OPRA Request of 3/13/18 or 3/16/18 Record Request.

| Aseparable offense is defined by Rutgers University as, “2. Separable Violations Separable violations are very serious
violations of academic integrity that affect a more significant portion of the coursework compared to nonseparable
violations. Separable violations are often characterized by substantial premeditation or planning and clearly dishonest or
malicious intent on the part of the student committing the violation. Below are some examples of violations that are most
often considered separable. Again, the list is certainly not exhaustive and classification of a given violation as separable
or nonseparable is always heavily dependent on the exact facts and circumstances of the violation.

* Asecond nonseparable violation.

* Substantial plagiarism on a major assignment.

* Copying or using unauthorized materials, devices, or collaboration on a major exam.

* Having a substitute take an examination.

* Making up or falsifying evidence or data or other source materials for a major assignment, including falsification

by selectively omitting or altering data that do not support one's claims or conclusions.

* Facilitating dishonesty by another student on a major exam or assignment.

* Intentionally destroying or obstructing another student's work.

* Knowingly violating research or professional ethics.

* Any violation involving potentially criminal activity.”

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Maseobtb el Bids document 1 Pitiled 99/AIP takRage A vepzi@RagelD: 74

DELEGATION OF EDUCATIONAL RECORD RIGHTS

L, | student number ma. do hereby authorize my designated representative,
Janie Epstein, Attorney at Law, 17 Fleetwood Drive, Hamilton, NJ. 08690, Tel: (856) 979-9925,
JE@JamicEpsteinLaw.com, to be permitted to inspect, review and obtain copics of the contents of my
student records maintained by Rutgers University. | further authorize my representative to have
communications with representatives of Rutgers University regarding information related to my
educational records. In authorizing this release, | have been fully informed of all information relevant
to this activity for which consent is being provided. | understand that the granting of this consent is
voluntary and shall remain in effect until revoked, that it may be revoked at any time and if revoked,
that revocation is not retroactive.

   

dated

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re

MAseobstb-crw41 7id3/adocumenk4 pmtileg G/AIL tadeage LHyehz2NH4AtagelD: 75

State of New Jersey - Government Records Request

Record Custodian Information: Jewell Battle, University Custodian of Records, Rutgers, The State
University of New Jersey, 65 Bergen Street, Ste. 1346, Newark, New Jersey 07101-1709, Phone: (973)

972-1981, Fax: (973)972-7174, Email: opraru@uec.nutgers.ed

Record Requester Information:
Jamie Epstein, Esq., 17 Fleetwood Dr., Hamilton 08690; je@jamieepsteinlaw.com, on behalf of Z.H.
(MBs authorization for release of his student records is attached)

Preferred Delivery:

X PDF via E-Mail Pick Up__ US Mail __—_—On Site

Under penalty of N.JLS.A. 2C:28-3, I certify that] X Have Not/ _ Have been convicted of any
indictable offense under the laws of New Jersey, or any other state, or in United States.

JF

Dated: 4/13/21 Jamie Epstein, Esquire

Payment Information:

Maximum Authorized Cost $ tbd Payment Method: Cash = Check X Money Order __

Fees: Letter Size @ $0.035/page Legal Size @ $0.07/page. Electronic Records: shall be provided free of
charge, but agency may charge for cost of media, programming, clerical, supervisory assistance

and/or substantial use of information technology. Delivery. Delivery/postage fees additional depending
upon delivery type. Additional Charges: may be charged if extraordinary time/effort required,
depending upon request.

Record Request Information:

Records, whether in electronic or paper media, which make reference to
student id #136003725. Documents requested include, but are not limited to:

(1) academic records: [i's file kept by (a) Dr. Daniel Wentzel, Distinguished Professor Materials
Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and the Chair of the
Marketing Department . Date range 1/1/17 to present.

(2) communications records such as emails, memos, text messages, voice mail, letters, etc., sent or
received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: (a) Dr. Daniel Wentzel, Distinguished Professor Materials Science and
Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and the Chair of the Marketing
Department . (¢)

date range: 1/1/2017 to present

(3) OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the Custodian’s
search in response to a: OPRA Request of 4/3/21.

b. The metadata showing the folders, sub-folders and files containing the records of the Records
Custodian's search in response to M's OPRA Request of 4/3/21.

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DELEGATION OF EDUCATIONAL RECORD RIGHTS

| RR. student number WH 30 pereby authorize my designated representative,

Jamie Epstein, Attorney at Law, 17 Fleetwood Drive, Hamilton, NJ. 08690, Tel: (856) 979-9925,
JE@JamieEpsieinLaw.com, to be permitted to inspect, review and obtain copies of the contents of my
student records maintained by Rutgers University. I further authorize my representative to have
comumunications with representatives of Rutgers University regarding information related to my
educational records, In authorizing this release, | have been fully informed of all information relevant
to this activity for which consent is being provided. 1 understand that the granting of this consent is
voluntary and shall remain in effect until revoked, that it may be revoked at any time and if revoked,
that revocation is aot retroactive.

et ray

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dated

Pa-5
Records Center] OpernASeogeas1Cy11 CBAs 2OCHMA LpNrileg OH4941-akage Kobe iesgagelD: 77

Subject: [Records Center] Open Public Records Act Request :: RO06575-040521
From: Rutgers Open Public Records Center <rutgers@ mycusthelp.net>

Date: 4/14/2021, 10:25 PM

To: "je@jamieepsteinlaw.com" <je@jamieepsteinlaw.com>

Attachments:
Impact of Employee Referral copy.pdf
Wentzel Tomezak Henkel 2014.pdf

 

--- Please respond above this line ---

Reference: Rutgers Open Public Records Request, # R006575-040521
Dear Mr. Epstein,

Please accept this letter as the University Custodian of Records response to your
request for records pursuant to the Open Public Records Act (“OPRA”). On April 05,
2021, this office received your request for the following:

“Record Request Information:

Records, whether in electronic or paper media, which make reference to
(a.k.a. ED

student id 4. Documents requested include, but are not limited to:

(1) academic records: 's file kept by Dr. Edward Bonder, Associate Professor,
Faculty Arts and

Sciences ~ Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor
Rutgers Business

Schoo] ~ Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty
Arts and Sciences —

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark. Date range 1/1/17 to present.

(2) communications records such as emails, memos, text messages, voice mail, letters,
efc., sent or

received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and
Sciences -

Pa-6
f 4 7/31/2021, 7:56 PM
ecords Center] OperMIAb@ds@dtor19803/2d2acLBerH PM Pep? Q9/PA/FtanPane C9 aiAOb4RagelD: 78

Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers
Business School ~

Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and
Sciences —

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark: (e) Po

body or subject: [i

date range: 1/1/2017 to present

(3) other student discipline records: with all personal identification information (PII)
redacted:

the disciplinary case file of any Rutgers Newark Graduate Student charged with
aseparablel offense from 1/1/2015 to present.

4. OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian’s

search in response to's OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the
Records

Custodian's search in response to {fs OPRA Request of 3/13/18 or 3/16/18 Record
Request.”

Please note the following information regarding your request:

(1) academic records: I's file kept by Dr. Edward Bonder, Associate Professor,
Faculty Arts and

Sciences - Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor
Rutgers Business

School ~- Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty
Arts and Sciences --

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark. Date range 1/1/17 to present.

Please see attached for academic records provide by Dr. Edward Bonder in response to
this portion of the request. The University is processing the remainder of this portion of
the request. Please note, due to the State of New Jersey being under a public health
emergency, processing and response to this request may be delayed. The University
requires an extension until April 22, 2021.

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4 7/31/2021, 7:56 PM
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(2) communications records such as emails, memos, text messages, voice mail, letters,
ete., sent or

received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and
Sciences -

Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers
Business School —

Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and
Sciences ~

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark: (c) [I

body or subject: i

date range: 1/1/2017 to present

The University is still processing this portion of your request. Please note, due to the
State of New Jersey being under a public health emergency, processing and response to
this request may be delayed. The University requires an extension until April 22, 2021.

(3) other student discipline records: with all personal identification information (PID)
redacted:

the disciplinary case file of any Rutgers Newark Graduate Student charged with
aseparable! offense from 1/1/2015 to present.

Please note, as written this portion of your request is overly broad. OPRA provides
access to “identifiable” government records that are not otherwise exempt. New Jersey
courts have held that a request under OPRA must specifically describe the document
sought. “A proper request for access to government records must identify with
reasonable clarity those documents that are desired, and a party cannot satisfy this
requirement by simply requesting all of an agency’s documents.” Bent v. Stafford
Police Department, 381 N.J. Super. 30, 38 (App. Div. 2005). A blanket request for a
class of various documents is not a request for specific identifiable documents, and a
custodian is not required to conduct research to locate records potentially responsive to
a request. See Elcavage v. West Milford Twp., GRC Complaint No. 2006-64 (May 28,
2008). Moreover, OPRA does not require a custodian to conduct research or an agency
to expend “indisputably limited agency resources to sift through the [agency's] vast
files and identify, analyze and select potentially relevant and responsive public
records.” Spectraserv v. Middlesex County Utilities Authority, 416 N.J. Super. 565, 578
(App. Div. 2010), Burnett v. Gloucester County, 415 N.J. Super. 506, 515 (App. Div.
2010). Nor does OPRA require an agency to analyze, collate and compile records in
Pa-8

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t . oa :
> order to respond to a request. MAG Entertainment v. Division of Alcoholic Beverage

Control, 375 N.J. Super. 534, 549 (App. Div. 2005). “In short, OPRA does not
countenance open-ended searches of an agency’s files.” Id. at 549.

You may clarify your request or submit narrower search terms by including a time
frame, or specifying precisely what records you are seeking.

4. OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian's

search in response to's OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the
Records

Custodian's search in response to I's OPRA Request of 3/13/18 or 3/16/18 Record
Request.”

The University is still processing this portion of your request. Please note, due to the
State of New Jersey being under a public health emergency, processing and response to
this request may be delayed. The University requires an extension until April 22, 2021.

If you have any questions or need additional information, please feel free to contact my
office at 973.972.1981.

Sincerely,

Jewell Battle
University Custodian of Records
Rutgers, The State University of New Jersey

973.972.1981

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To monitor the progress or update this request please log into the Open Public Records

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tecords Center] Opei@Rb@ Usd tar 10844/2 Re craBe tt IPM FeA1O91208 Trakame Gd aio2@GcRageiD: 81

f4

Subject: [Records Center] Open Public Records Act Reguest :: RO06575-040521
From: Rutgers Open Public Records Center <rutgers@mycusthelp.net>

Date: 6/22/2021, 7:20 PM

To: "je@jamicepsteinlaw.com" <je @jamieepsteinlaw.com>

Attachments:

190208 SIG.png
210403_OPRA_REQUEST+§§ OPRA. pdf
Al Prelim Report. 9 C).pat
Compartson_Report_(1).docx
Impact_of Employee Referral _copy.pdf
Open _Case.docx

RO006575__ Redacted. pdf
truman_thesis.pdf

Wentzel Tomezak Henkel 2014.pdf
ring Board Roster.pdf
im_Al_ Report.pdf

  
 
 

 

Metad

 

--- Please respond above this line ---

Reference: Rutgers Open Public Records Request # RO06575-040521

Dear Mr. Mr. Jamie Epstein,

Please accept this letter as the University Custodian of Records response to your
request for records pursuant to the Open Public Records Act (“OPRA”), On April 05,
2021, this office received your request for the following:

“Record Request Information:
Records, whether in electronic or paper media, which make reference to P|

(a.k.a. i)

student id #MMM. Documents requested include, but are not limited to:

(1) academic records: ['s file kept by Dr. Edward Bonder, Associate Professor,
Faculty Arts and
Sciences - Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor
Rutgers Business
Pa-10
7/31/2021, 7:55 PM
ecords Center] Ope MIDalsecbmalt-eu- 17844202 0qurment PuF Ped 09/292 Trakage 8A002 0ARagEID: 82

School — Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty
Arts and Sciences —

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark. Date range 1/1/17 to present.

(2) communications records such as emails, memos, text messages, voice mail, letters,
etc., sent or

received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and
Sciences -

Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers
Business School —

Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and
Sciences —

Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark;
(e) Dr. Kyle

Farmbry, Dean of the Graduate School-Newark: (c) EE

body or subjcct: iy

date range: 1/1/2017 to present

(3) other student discipline records: with all personal identification information (PI)
redacted:

the disciplinary case file of any Rutgers Newark Graduate Student charged with
aseparable! offense from 1/1/2015 to present.

4, OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian's

search in response to's OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the
Records

Custodian’s search in response to [J's OPRA Request of 3/13/18 or 3/16/18 Record
Request.”

Please note the following regarding your request:

1. We have provided you responsive records for portion | of your request. The
number of pages for these records does not count towards the calculation of the special
services fee.

Pa-11
if 4 7/31/2021, 7:55 PM
\ecords Center] OpeMEasS@cbe@st-ov-1d@ad2d20qument Pur ig P9/29P- trakRage 83 eb20HRaaeD: 83

2. In accordance with your previous correspondence, we are not processing the
portion of your request seeking IMPs emails. The number of responsive
records are as follows for the remainder of individuals identified in this portion of your
request:

-  Bonder: 134 pages of responsive email records

-  Bartkowski: 372 pages of responsive email records
- Perry: 751 pages of responsive email records

-  Farmbry: 703 pages of responsive email records

The total number of pages of responsive email records is 1960. The University
understands that you do not wish to further narrow your request. Please see below for
information regarding the special services fee to process portion 2 of your request.

Pursuant to N.J.S.A. 47:1A-5(c), an agency is authorized to impose a special service
charge where the agency must make an extraordinary expenditure of time and effort to
accommodate a request to inspect government records.

This request has 1,960 pages to be reviewed and potentially redacted. At the rate of 40
pages per hour, the request will require 49 hours. As the University does not charge for
the first four hours of review and redaction, the special services fee shall be $2,025
based on 45 hours at $45.00 dollars per hour, as summarized below:

Total Pages: 1960

Total time for review/redaction (40 pages/hour): 49 hours
Actual cost ($45.00/hour x 49 hours): $2,205

Total waived ($45.00 x first 4 hours); $180.00

Total charged: $2,025

If you choose to request the records, you must pay the special service charge prior to
the work commencing. You may send a check in the amount of $2,025 payable to
“Rutgers University” to the following address:

Rutgers, The State University of New Jersey
Custodian of Records
University Ethics and Compliance
335 George Street, Suite 2400
Pa-12

fa 7/31/2021, 7:55 PM
records Center] OpeMIOdsSe0bish-ow-losdd20oB0cument PMFHed 9/492 tramape VVveb2NoRageElD: 84

New Brunswick, NJ O8901.

3. We have provided you responsive records for portion 3 of your request. The
number of pages for these records does not count towards the calculation of the special
services fee. Please see attached for the metadata related to this portion of your request.

Sincerely,

Jewell Battle
OPRA Custodian
University Ethics & Compliance

Rutgers, The State University of New Jersey
973.972.1981

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To monitor the progress or update this request please log into the Open Public Records
Center,

 

Pa-13
4 7/31/2021, 7:55 PM
ecords Center] OpeMIOaseobith-ew-1yGdd2moqument buFed NS/49Vtadkage BS ,ebz20G4agelD: 85

Subject: [Records Center] Open Public Records Act Request :: RO06587-041321
From: Rutgers Open Public Records Center <rutgers@mycusthelp.net>

Date: 7/12/2021, 3:21 PM

To: "je@jamicepsteinlaw.com" <je@jamieepsteinlaw.com>

Attachments:

Event Data Term Paper - Truman Hong.docx
truman_ thesis.pdf
truman_ thesis highlights pdf

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--- Please respond above this line ---

 

Reference: Rutgers Open Public Records Request, # RO06587-041321
Dear Mr. Epstein,

Please accept this letter as the University Custodian of Records response to your
request for records pursuant to the Open Public Records Act (‘OPRA”). On April 13,
2021, this office received your request for the following:

“Record Request Information:

Records, whether in electronic or paper media, which make reference to [I
(a.k.2. J

student id Hi Documents requested include, but are not limited to:

(1) academic records: I's file kept by (a) Dr. Danie] Wentzel, Distinguished
Professor Materials

Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and
the Chair of the

Marketing Department . Date range 1/1/17 to present.

(2) communications records such as emails, memos, text messages, voice mail, letters,
etc., sent or

received by staff, administrators, contractors or agents of the University.

search information:

senders or recipients: (a) Dr. Daniel Wentzel, Distinguished Professor Materials
Science and

Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research Professor and the Chair of
the Marketing

Department. (
Pa-14
f4 7/31/2021, 7:54 PM
tecords Center] Ope asOdw@dtat 1983/2 Ro cine rat IP Mech 8 S/208 traRame 86.0102 OfpRageD: 86

oe

> body or subject:
date range: 1/1/2017 to present
(3) OPRA Requests Response Search Records:
a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian's
search in response to's OPRA Request of 4/3/21.
b. The metadata showing the folders, sub-folders and files containing the records of the
Records
Custodian's search in response to J's OPRA Request of 4/3/21.”

(1) academic records: a: file kept by (a) Dr. Daniel Wentzel, Distinguished
Professor Materials Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s
Research Professor and the Chair of the Marketing Department . Date range 1/1/17 to
present.

Picase see attached for the responsive records from Dr. Sengu Yeniyurt for this portion
of your request. The University has reviewed your request. The responsive document(s)
is available to you through the Rutgers University Open Records Center. Please log in
to the Records Center and "My Request Center" to retrieve the appropriate responsive
document(s). The document(s) is also attached to this email for your convenience.

Please note, as Dr. Daniel Wentzel is not an employee of the University, we are not able
to obtain responsive records from him.

(2) communications records such as emails, memos, text messages, voice mail, letters,

etc., sent or received by staff, administrators, contractors or agents of the University.

search information: senders or recipients: (a) Dr. Daniel Wentzel, Distinguished

Protessor Materials Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s

Research Professor and the Chair of the Marketing Department . iii” Or
date range: 1/1/2017 to present

We are only able to process the portions of your request seeking communications
records of Dr. Sengu Yeniyurt and [MM We were not able to conduct a search
of Dr. Wentzel’s emails as he is not in our IT system. However, we have included his
name as a keyword in the search of Dr. Yeniyurt and Mr. {js emails in addition to
the keywords you provided. As stated in your other public records request, we are
aware that you do not wish to narrow:

The number of responsive records are as follows for the remainder of individuals
identified in this portion of your request:

Pa-15
f4 7/31/2021, 7:54 PM
tecords Center] OpeM@ASOObGSH-Or- 16H b422909HE DK bur Het OBA’ trahear Ewe} Skea D: 87

-  Yeniyurt: 4031 pages of responsive email records
- Hong: 577 pages of responsive email records

The total number of pages of responsive email records is 4608, Please see below for
information regarding the special services fee to process portion 2 of your request.

Pursuant to N.J.S.A. 47:1A-5(c), an agency is authorized to impose a special service
charge where the agency must make an extraordinary expenditure of time and effort to
accommodate a request to inspect government records.

‘This request has 4608 pages to be reviewed and potentially redacted. At the rate of 40
pages per hour, the request will require 115 hours. As the University does not charge
for the first four hours of review and redaction, the special services fee shal] be $4995
based on 111 hours at $45.00 dollars per hour, as summarized below:

Total Pages: 4608

Total time for review/redaction (40 pages/hour): 115 hours
Actual cost ($45,00/hour x 49 hours); $5175

Total waived ($45.00 x first 4 hours): $180

Total charged: $4995

If you choose to request the records, you must pay the special service charge prior to
the work commencing. You may send a check in the amount of $4995 payable to
“Rutgers University” to the following address:

Rutgers, The State University of New Jersey
Custodian of Records

University Ethics and Compliance

335 George Street, Suite 2400

New Brunswick, NJ 08901.

(3) OPRA Requests Response Search Records: a. Emails with attachments of the
University Ethics and Compliance Office of the Custodian's search in response to
MME 's OPRA Request of 4/3/21. b. The metadata showing the folders, sub-folders and

files containing the records of the Records Custodian's search in response to || S
OPRA Request of 4/3/21.

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f4 7/31/2021, 7:54 PM
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This portion of your request refers to your previous request which is still open. We can
process this portion of your request prior to the closing of your other request. Please
confirm if you would like us to process this portion of your request after your precious
request has been completed.

If you have any questions or need additional information, please feel free to contact my
office at 973.972.1981.

Sincerely,

Jewell Battle
University Custodian of Records
Rutgers, The State University of New Jersey

973.972.1981

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To monitor the progress or update this request please log into the Open Public Records
Center.

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f4 7/31/2021, 7:54 PM
MCasecbah-ev- 199442 cd0qarment PuF Ped &9/aI& trakRage 8902 VaohagRD: 89

From: Charnette Hockaday

To: Casey Woods

Subject: Automatic reply; OPRA Request 4112-031918:: ROO4112-031918
Date: Tuesday, March 20, 2018 3:39:10 PM

 

| am out of the office and will return on March 23rd. | will not have access to emails
during this time.

If you need to reach a member of the Office of Community Standards & Student
Development staff during this time please email:
communitystandards@newark.rutgers.edu or call (973) 353-5063

in case of emergency please contact RUPD at (973) 353-5111 or Dial 911

Pa-18
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MGasecbsh-ev-10G44/2 Doaamenat Pu ted 99AIPtrakage Qob29aoRAgAID: 90

From: Tammy Khaleque

To: Casey Woods

Subject: Automatic reply: Work Order: RO04095-031318:: ROO4095-031318
Date: Wednesday, April 4, 2018 5:34:59 PM

 

Thank you for your email. I am currently out of the office and will return on Monday, April
9th. For immediate assistance, please contact Pete Camp at peter.camp@rutgers.edu.
Otherwise, I will respond to your email upon my return.

Thank you,
Tammy Khaleque

Tammy Khaleque

HRIS Business Analyst
University Human Resources
p. (848) 932-3857

e:

tammy khaleque@rulipers edu

     

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tha intended recipient, secure the contents in a manner that conforms to all applicable state and/or lederal requirements related ia privacy and confidentiality
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From: Elizaketn Minott

To: Aron Schwartz; Timothy Fournier; Casey Woods; John Hoffman
Subject: FW: Doe v. Rutgers [ROG4095-031318-Privileged & Confidential
Date: Fuesday, April 3, 2018 4:08:10 PM

Attachments: 74d¢25.pn0
Doe-original Verified Complaint. pdf

Doe-3-26- Es}
Doe-Brief j f OF.
Doe-Exhibits to Am, Verified Complaint. pdf

 

 

From: James P. Lidon [mailto:jlidon@mdmc-law.com]

Sent: Tuesday, April 03, 2018 3:52 PM

To: Elizabeth Minott

Subject: Doe v. Rutgers [R004095-031318-Privileged & Confidential

Elizabeth,

 

jim

James P. Lidon

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James P. Lidon

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Miab@ds84+ or 1 6803/2020 cLaBE 2h Ip iheppOW2P/8 + raRage Q8\elo2QSokeaeiD: 93

From: Peter Camp

To: Casey Woods

Ca Carolyn Knignt-Coie

Subject: PW: Work Order: ROO4095-031318:: RQ04095-03 1318
Date: Thursday, April 19, 2018 8:19:29 AM

 

From: Peggy Pouliot

Sent: Wednesday, April 18, 2018 8:35 PM

To: Peter Camp <ppc36@hr.rutgers.edu>

Cc: Aiexa Lepucki <al908@hr.rutgers.edu>

Subject: Re: Work Order: ROO4095-031318:: ROG4095-031318

HI Pete,

Peg

 
 

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y

Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

f: (732-932-0047)

e: pouliot@hr.rutgers edu

From: Peter Camp

Sent: Wednesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: RGO4095-031318:: ROO4095-031318

 

 

Pa-22
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is there anything | can do to help?

Sent from my iPhone

Begin forwarded message:

From: Casey Woods <caseywoo@ vec. rutgers edu>

Date: April 18, 2018 at 3:41:24 PM EDT

To: Pegpy Pouliot <mpouliot@hrrutgers edu>

Ce: Peter Camo <ppc36@hr rutgers.edu>, Elizabeth Minott

<emin rs. >
Subject: Re: Work Order: RO04095-031318:: ROG4095-031318

Hi Peggy and Peter,

 

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2028 3:19:21 PM

To: Peggy Pouliot

Cc: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: ROQ4095-031318:; ROO4095-031348

Thanks Peggy!
From: Peggy Pouliot

Sent: Tuesday, April 17, 2018 3:18 PM

Pa-23
MEAaB@d5831+-O-16603 229 CRE 9h Pr HELO MZA/2 FaRAGE PB \aio3 9S RagA!D: 95

To: Casey Woods <caseywoo@uec rutgers edu>
Ce; Peter Camo <ppc36@hrrutgers edu>
Subject: Work Order: ROO4095-031318:: RO04095-031318

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Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

Pp: (848-932-3942)

f: (732-932-0047)

e: poullot@hrrutegers.edu

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confidentiality of such information.

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From: Kiizabeth Minott

To: Casey Woods

Ce: ili mdme-law.

Subject: PW: Work Order: ROO4112-031918:: ROO4]12-031918
Date: Tuesday, March 20, 2018 1:29:18 PM

Hi firm:

Elizabeth

From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, March 20, 2018 12:57 PM

To: Elizabeth Minott

Subject: Work Order: RO04112-031918:: RO04112-031918

Sse

Reference No: R004] 12-031918

Request Status: Assigned

Service Request Type: Open Public Records Act Request
Priority: Medium

Assigned To: Casey Woods

Customer Email: je@jamieepsteinlaw.com
Name: Mr. Jamie Epstein

Customer Phone: 8569799925

Create Date: 3/19/2018 10:29:28 AM
Update Date: 3/19/2018 10:29:32 AM
Last Reviewed: 3/19/2018 10:29:32 AM
Source: Email

: Open Public Records Center

: Rutgers University

 

 

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MCabd0605-el-108 03/2 Rodarhé2t! PNERg@OSfa9& Traalfje OA V202 OL0RER#ID: 97

Is this request related to athletics?; No
Category of Requestor: Attorney
Type of Record(s) Requested: Other/Unknown

Describe the Record(s) Requested: With all personal identification information (PID)
redacted 1, any and all documents, whether in electronic or paper media of the following: a. the
disciplinary case file of any and all Rutgers Newark Graduate Student charged with a

separable offense from 1/1/2013 to present.

Preferred Method to Receive Records: Electronic via Records Center

Please Choose: I agree with the statement above.
Exemptions:

Additional Exemptions Applied:

Estimated Page Count:

Estimated Hours:

Hourly Wage Applied:

Special Services Fee Total:

Date Payment Received:

Amount of Payment Received:

Legal Information:

Legal Review Required:

Initial Legal Review Completed:

Executive Order No. 21 (McGreevey 2002) - |:
Executive Order No. 26 (McGreevey 2002) - 9:

Pa-26
MEAbOds@st ar 108/02/2@dcLMSera IP MFR POB2O8 Trahame 96\ai02OG0REeRID: 98

From: Aron Schwartz

To: John Hoffman; Elizabeth Minott; Casey Woods: Timethy Fournier: Alex Perez
Subject: RE: Doe v. Rutgers [RC04095-031318-Privileged & Confidentia!

Date: Monday, Apri 9, 2018 4:51:45 PM

Attachments: imageto1.pang

 

 

From: John Hoffman

Sent: Sunday, Apri! 08, 2018 11:55 AM

To: Elizabeth Minott; Casey Woods; Aron Schwartz; Timothy Fournier; Alex Perez
Subject: RE: Doe v. Rutgers [R004095-031318-Privileged & Confidential

 

From: Elizabeth Minott
Sent: Tuesday, Apri] 03, 2018 4:42 PM

To: Casey Woods <caseywoo@uec rutgers edy>: Aron Schwartz

< rt C.F rs.edu>; Timothy Fournier <thournier@uec rutgers.edu>; John
Hoffman <jhoffman@oge. rutgers edu>; Alex Perez <aperez@oge rutgers,edu>
Subject: RE: Doe v. Rutgers [RO04095-031318-Privileged & Confidential

consultative, Deliberative:

   

From: Casey Woods

Sent: Tuesday, April 03, 2018 4:38 PM

To: Elizabeth Minott; Aron Schwartz; Timothy Fournier; John Hoffman
Subject: RE: Doe v. Rutgers (RO04095-031318-Privileged & Confidential

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From: Elizabeth Minott

Sent: Tuesday, April 3, 2018 4:08 PM

To: Aron Schwartz <aschwartz@ogc rutgers.edu>: Timothy Fournier

<tfournier@uec rutgers edu>; Casey Woods <caseywoo@uec.rutgers.edu>: John Hoffman

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<jhofiman@ogc. rutgers.edu>
Subject: FW: Doe v. Rutgers [RO04095-031318-Privileged & Confidential

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Fram: James P. Lidon [mailto:jlidon@mdme-law.com]
Sent: Tuesday, Aprii 03, 2018 3:52 PM
To: Elizabeth Minott

Subject: Doe v. Rutgers [R004095-031318-Privileged & Confidential

Elizabeth,

onsultative, Deliberative

 

 

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James P. Lidon

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From: Elizabeth Minott

To: Casey Woods: Aron Schwartz; Timothy Fournier: John Hoffman: Alex Perez
Subject: RE: Doe v. Rutgers [RO04095-031318-Privileged & Confidential

Bate: Tuesday, April 3, 2018 4:42:09 PM

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From: Casey Woods

Sent: Tuesday, April 03, 2018 4:38 PM

To: Elizabeth Minott; Aron Schwartz; Timothy Fournier; John Hoffman
Subject: RE: Doe v. Rutgers [R004095-031318-Privileged & Confidential

  
  

 

From: Elizabeth Minott
Sent: Tuesday, April 3, 2018 4:08 PM
Fo: Aron Schwartz <aschwartz@oge rutgers edu>; Timothy Fournier <tfournier@uec rutgersedu>:

Casey Woods <caseywoo@uec rutgers edu>; John Hoffman <jheffman@oge.rutgers.edu>
Subject: FW: Doe v. Rutgers (RG04095-031318-Privileged & Confidential

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From: James P. Lidon [mailto:jtidon@mdmc-law.com]
Sent: Tuesday, April 03, 2018 3:52 PM

To: Elizabeth Minott

Subject; Doe v. Rutgers [R004095-031318-Privileged & Confidential

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From: John Hoffman

To: Elizabeth Minott; Casey Woods; Aron Schwartz; Timothy Fournier; Alex Perez
Subject: RE: Doe v. Rutgers [R004095-031318-Privileged & Confidential

Date: Sunday, April 8, 2018 11:54:34 AM

Attachments: im: 1.

 

  
     

mihanks. John.

From: Elizabeth Minott

Sent: Tuescay, April 03, 2018 4:42 PM

To: Casey Woods <caseywoo@uec.rutgers.edu>; Aron Schwartz <aschwartz@ogc.rutgers.edu>;
Timothy Fournier <tfournier@uec.rutgers.edu>; Jonn Hoffman <jhoffman@oge.rutgers.edu>; Alex

Perez <aperez@ogc.rutgers.edu>
Subject: RE: Doe v. Rutgers [R004095-031318-Privileged & Confidential

  

From: Casey Woods

Sent: Tuesday, April 03, 2018 4:38 PM

To: Elizabeth Minott; Aron Schwartz; Timothy Fournier; John Hoffman
Subject: RE: Doe v. Rutgers [R004095-031318-Privileged & Confidential

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From: Elizabeth Minott
Sent: Tuesday, April 3, 2018 4:08 PM

To: Aron Schwartz <aschwart7@ogc.rutgers.edu>: Timothy Fournier <tfournier@uecr itgers.edu>;

Casey Woods <caseywoo@uec rutgers.edu>; John Hoffman <jhoffman@ogc. rutgers.edu>
Subject: FW: Doe v. Rutgers [RO04095-031318-Privileged & Confidential

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From: James P. Lidon [mailtg:iidon@mdme-law.com]
Sent: Tuesday, Apri! 03, 2018 3:52 PM

Fo: Elizabeth Minott
Subject: Doe v. Rutgers [RO04095-031318-Privileged & Confidential

Elizabeth,

 

O° James P. Lidon
M DM Lu Partner
. McElroy, Deutsch, Mulvaney & Carpenter, LLP

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Case 1:21-cv-17811 Document 1 Filed 09/29/21 Page 107 of 206 PagelD: 107

MiID-L-005051-21 09/03/2021 12:56:21 PM Pg 36 of 119 Trans ID: LCV20212046337
From: " f
To: Casey Woods
Cc: Jarnes P, Liden: Elizabeth Minott
Subject: RE: Doe vs. Rutgers -- Faculty/staff information
Date: Tuesday, April 17, 2018 5:47:09 PM
Attachments; imagetO Lone

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Casey,
Thanks.

 

Thanks,

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Michael O'B. Boldt

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From: Casey Weods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, April 17, 2018 4:10 PM

To: Michael O'B. Boidt; Elizabeth Minott

Ce: James P, Lidon

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Hi Michael,

, PrN

 

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uecrutgers edu>

Ce: Peter Camp < hr r >
Subject: Work Order: R004095-031318:; ROO4095-031318

 

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Peggy

From: Michael O'B. Boldt [mailto:;mboldt@mdme-law.com]

Sent: Monday, April 16, 2018 5:02 PM

To: ‘Elizabeth Minott (minott@oldqueens rutgers.edu)' <minott@o dqueens rutgers edu>
Cc: Casey Woods <caseywoo@uec rutgers.edu>: James P. Lidon <jlidon@mdme-iaw.com>

Subject: RE: Doe vs, Rutgers -- faculty/staff information

Elizabeth,

 

Thanks,
MOB

Michael O'B. Boldt

M DM. Cc Of Counsel

McElroy, Deutsch, Mulvaney & Carpenter, LLP

 

wiv peloe-law com > mboldt@mdme-law.con
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Marristown, New Jersey 07962-2075 ' 973-425-0161

   

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From: Michael QUB, Boldt

To: Casey Woods; Elizabeth Minott

Ca James P, Lidon

Subject: RE: Doe vs. Rutgers -- faculty/staff information
Date: Wednesday, April 18, 2018 11:52:10 AM

Attachments: 691083, ong

 

Casey and Elizabeth,

 

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Thanks,

MOB

Michael O'B. Boldt

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McElroy, Deutsch, Mulvaney & Carpenter, LLP

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From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, April 17, 2018 6:22 PM

To: Michael O'B. Boldt

Ce: James P, Lidon; Elizabeth Minott

Subject: Re: Doe vs. Rutgers -- faculty/staff information

Hi all,

Advisory, Consultative, Deliberative

Casey Woods
848.239.0042

On Apr 17, 2018, at 5:47 PM, Michael O'R. Boldt <mboldt@mdmec-law.com> wrote:

 

Pa-40
PSE-dodds tet “Fhda eet 4DSBb4 phalleg QP/G2/ Fd 1 ERAB-We Bo2 SokeseyD: 112

Casey,

Thanks,

 

Thanks,

MOB

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Michael O'B, Boldt
<26df9a.png> Of Counsel
McElroy, Deutsch, Mulvaney & Carpenter, LLP

 

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> Please consider the environment before printing this e-mail.

From: Casey Woods [mailto:caseywoo@uec rutgers.edu]
Sent: Tuesday, April 17, 2018 4:10 PM

Fo: Michael O'B. Boldt; Elizabeth Minott

Cc: James P, Lidon

Subject: RE: Doe vs, Rutgers -- faculty/staff information

Hi Michael,

   

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uec suteers edu>

Cc: Peter Camp <opc36@hrrutgers edu>
Subject: Work Order: RO04095-031318:: ROO4095-031318

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Peggy

Pa-42
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From: Michael O'8, Boldt [mailto:mbotdt@mdmc-law.com)

Sent: Monday, April 15, 2018 5:02 PM

To: ‘Elizabeth Minott (minott@oldqueens rutgers.edu}’
<minott@olaqueens.rutgers edu>

Cc: Casey Woods <caseywoo@uec rutgers edu>: James P. Lidon <jidon@mdmc-
law.com>

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Elizabeth,

 

    

 

Thanks,
MOB

Michael O'B. Boldt

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McElroy, Deutsch, Mulvaney & Carpenter, LLP

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From: Michael O'8, Boldt

To: Casey Woods

cc James P. Lidon; Elizabeth Minott

Subject: RE: Doe vs. Rutgers -- faculty/staff Information
Date: Tuesday, April 17, 2018 6:31:06 PM

Attachments: 1473b2.png

 

Casey,

Thanks very much for the quick response. Let's circle up in the morning. [can be available
for calls tomorrow.

MOB

Michael O'B. Boldt

M DM Cc Of Counsel

McElroy, Deutsch, Mulvaney & Carpenter, LLP

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From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, April 17, 2018 6:22 PM

To: Michael O'B. Boldt

Ce: James P. Lidon; Elizabeth Minott

Subject: Re: Doe vs. Rutgers -- faculty/staff information

Hi all,

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Casey Woods
848.239.0042

On Apr 1/7, 2018, at 5:47 PM, Michael C'8. Boldt <mbolct@madmc-law.com> wrote:

Casey,

Thanks,

sade ns an crt

Advisory, Consultative, Deliberative

 

Pa-45
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MOB

Michael O'B. Boldt
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McElroy, Deutsch, Mulvaney & Carpenter, LLP

 
 

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From: Casey Woods [mailtoi;caseywoo@uec.rutgers.edu]
Sent: Tuesday, April 17, 2018 4:10 PM

To: Michael O'B. Boldt; Elizabeth Minott

Cc: James P. Lidon

Subject: RE; Doe vs. Rutgers -- faculty/staff information

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Hi Michael,

 

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uec rutgers.edu>

Ce; Peter Camp <ppc35@hr rutgers edu>
Subject: Work Order: RO04095-031318:: ROO4095-031318

 

Peggy

From: Michael O'B. Boldt [mailto:mboldt@mdmec-iaw.com|]
Sent: Monday, April 16, 2018 5:02 PM

To: ‘Elizabeth Minott (minott@oldqueens rutgers edu)!

<minott@oldqueens rutgers edu>

Cc: Casey Woods <caseywoo@uec rutgers edu>: James P. Lidon <jlidan@mdmc-
law com>
Subject: RE: oe vs. Rutgers -- facuity/staff information

Elizabeth,

 

MOB

Michael O'B. Boldt
<image001.png> Of Counsel
McElroy, Deutsch, Mulvaney & Carpenter, LLP

Pa-47
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From: Michael O"B, Boldt

To: Casey Woods: Elizabeth Minott

Ce: James P. Lidon; Jennifer McGruther

Subject: RE: Doe vs. Rutgers -- faculty/staff information
Bate: Wednesday, Apri! 18, 2018 3:18:20 PM
Attachments: images

Casey,

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MOB

From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Wednesday, Apri 18, 2018 3:05 PM

To: Michael O'B. Boldt; Elizabeth Minott

Ce: James P. Lidon; Jennifer McGruther

Subject: Re: Doe vs. Rutgers -- faculty/staf information

 
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From: Michael 0'B. Boldt <mboldt@mdmec-law.com>
Sent: Wednesday, April 18, 2018 12:55:02 PM

Ta: Elizabeth Minatt; Casey Woods

€e: James P. Lidon: Jennifer McGruther

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Elizabeth,

Thanks.

 

From: Elizabeth Minctt [ :
Sent: Wednesday, April 18, 2018 12:53 PM

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Pa-50
GAS dBA} BG bs RAUB BA PRIlSH,29/ZPI4 rBAQRLZe AIAISRASAIO: 122

Ta: Michael O'B. Boldt; Casey Woods
Cc: James P. Lidon; Jennifer McGruther
Subject: RE: Doe vs, Rutgers -- faculty/staff information

See emer een

 

From: Michael O'B. Boldt [mailto:mboldt@mdme-law.com]
Sent: Wednesday, April 18, 2018 11:52 AM

To: Casey Woods; Elizabeth Minott

Cc: James P. Lidon

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Casey and Elizabeth,

 

Pa-51
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“5 Michael O'R. Boklt
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From: Casey Woods [mailto:caseywoo@uec. rutgers.edu]
Sent: Tuesday, April 17, 2018 6:22 PM

Ta: Michael O'B. Boidt

Cc: James P. Lidon: Elizabeth Minott

Subject: Re: Doe vs. Rutgers -- faculty/staff information

Hi all,

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Pa-52
Case DBbAveah7 Ss Boome dy PesO2P424 TRAVLZE GS PAS age}D: 124

 

Casey Woods
848.239.0042

On Apr 17, 2018, at S:47 PM, Michael O'B. Boldt <mbo dt@mdme-law.com> wrote:

Casey,

Thanks.

 

Pa-53
Wese-do8ds Hell 76d/b3/RROCUMEHLA PHIEG SRAWPLT RAO 125,92 PkegelD: 125

 

Thanks,

MOB

Michael O'B. Boldt
<26df9a.png> Of Counsel
McElroy, Deutsch, Mulvaney & Carpenter, LLP

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From: Casey Woods [mailto:caseywoo@vec.rutgers.edu]
Sent: Tuesday, April 17, 2018 4:10 PM

Pa-54
RAPE dosda et “Boos RAT4DSB ot phil BS 859 Fd 1A ee BST SoRBPAO: 126

To: Michael 0’B, Boldt; Elizabeth Minott
Ce: James P, Lidon
Subject: RE: Doe vs. Rutgers -- faculty/staff information

 

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Peter Camp < hr edu>
Subject: Work Order: ROO4095-031318:: RO04095-031318

Hi Casey,

 

Peggy

From: Michael O'B. Boldt [mailte:mboldt@mdme-law.com]
Sent: Monday, April 16, 2018 5:02 PM

To: ‘Elizabeth Minott (minott@oidqueens.rutgers.edu)’

<minott@oldqueens rutgers edu>
Ce: Casey Woods <caseywoo@uec rutgers edu>: James P. Lidon <jlidon@mdme-
aw. com>

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Elizabeth,

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Thanks,

Pa-55
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MOB
Michael O'B. Boldt
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From: Michae: O°B, Boldt

To: Elizabeth Minott; Casey Woods

Ce: dames P. Liden; Jennifer McGrutner

Subject: RE: Doe vs. Rutgers -- facuity/staff information
Date: Wednesday, Aprit 18, 2018 12:55:15 PM

Attachments: imageO1.ong

 

Elizabeth,

Thanks.

 

From: Elizabeth Minott [mailto:eminott@ogc.rutgers.edu}
Sent: Wednesday, Apri! 18, 2018 12:53 PM

To: Michael O'B. Boldt; Casey Woods

Ce: James P. Lidon; Jennifer McGruther

Subject: RE: Doe vs. Rutgers -- faculty/staff information

   

Naya ett Rete Pers

From: Michael 0'B. Boldt [mailto:mboldt@mdmc-law.com]
Sent: Wednesday, April 18, 2018 11:52 AM

To: Casey Woods; Elizabeth Minott
Cc: James P. Lidon
Subject: RE: Doe vs. Rutgers -- faculty/staff information

Casey and Elizabeth,

 

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Thanks,

MOB

Michael O'B. Boldt

M DM. C Of Counsel

McElroy, Deutsch, Mulvaney & Carpenter, LLP

 

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From: Casey Woods [mailto;caseywoo@uec rutgers edu]
Sent: Tuesday, April 17, 2018 6:22 PM

To: Michael O'B. Boldt

Ce: James P. Lidon; Elizabeth Minott

Subject: Re: Doe vs. Rutgers -- faculty/staff information

Hi ail,

 

Casey Woods
848.239.0042

On Apr 17, 2018, at 5:47 PM, Michael 0'B. Boldt <mboldt@mdme-law.com> wrote:
Casey,

Thanks.

 

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Thanks,

MOB

Michael O'B. Boldt
<26dfa png> Of Counsel

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McElroy, Deutsch, Mulvaney & Carpenter, LLP

     

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From: Casey Woods [maiito:caseywoo@uec.rutgers.eduj
Sent: Tuesday, April 17, 2018 4:10 PM

To: Michael O'B. Boldt; Elizabeth Minott

Ce: James P. Lidon

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Hi Michael,

 

From: Peggy Pouliot

Sent; Tuesday, April 17, 2028 3:18 PM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Pater Camp <pock6@hrrutgers edu>

Subject: Work Order: ROO4095-031318:; RO04095-031318

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Peggy

Pa-61
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From: Michael O'B. Boldt [mailto:mb c: }
Sent: Monday, April 16, 2018 5:02 PM

To: ‘Elizabeth Minott (minott@oldqueens ruteers.edu)’
<minott@oldqueens rutgers edu>

Cc: Casey Woods <caseywoo@uec rutgers edu>; James P. Lidon <jlidon@madme-
aw com>

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Elizabeth,

 

Thanks,

MOB

Michael O'B. Boldt
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McElroy, Deutsch, Mulvaney & Carpenter, LLP

        

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Pa-62
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From: Elizabeth Minott

To: “Michael O"B, Boldt": Casey Woods

Ce: ames P, Lidon; Jennifer MeGruther

Subject: RE: Doe ys. Rutgers -- facuity/staff information
Date: Wednesday, April 18, 2018 12:52:57 PM

Attachments: image001.ong

 

 

From: Michael 0'B. Boidt [mailto:mboldt@mdme-law.com]
Sent: Wednesday, April 18, 2018 11:52 AM

To: Casey Woods; Elizabeth Minott

Ce: James P. Lidon

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Casey and Elizabeth,

 

Pa-63
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Thanks,

MOS

Michael O'B. Boldt

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From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, Aprii 17, 2018 6:22 PM

To: Michael O'B. Boldt

Ce: James P. Lidon; Elfzabeth Minott

Subject: Re: Doe vs. Rutgers -- faculty/staff information

Hi all,

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Casey Woods
848.239.0042

On Apr 17, 2018, at 5:47 PM, Michael O'S. Boldt <mboldt@madmc-law com> wrote:

Casey,

Thanks.

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Pa-65
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Thanks,

MOB

Michael O'B. Boldt
<26dfa.pne> Of Counsel
McElroy, Deutsch, Mulvaney & Carpenter, LLP

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1300 Mt. Kemble Avenue <imageiyfo1d .GLF > Download vCurd
P.O. Box 2075 <imagedcfooo, GIF > 973-425-8777

Morristown, New Jersey 07962-2075 <imageobodsa.GI¥>973-425-0161

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w Please consider the enviranment before printing this e-mail.

From: Casey Woods [mailto:caseywoo@uec, rutgers.edu]
Sent: Tuesday, April 17, 2018 4:10 PM

To: Michael O'B. Boidt; Elizabeth Minott
Ce: James P. Lidon
Subject: RE: Doe vs. Rutgers -- faculty/staff information

Hi Michael,

 

Pa-66
WMH5b-005054\21789/03/EN2dUIASAIZT PMIdth 69/00/29 TrRag D1 ee vx020L0REgEAD: 138

   

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM

To: Casey Woods <caseywoo@uec rutgers edu>

Cc: Pater Camp < Le >

Subject: Work Order: ROO4095-031318:: RO04095-031318

ST me ne

 

From: Michael 0'8. Boidt [mailto:mboldt@mdmc-law,com!

Sent: Monday, Apri! 16, 2018 5:02 PM

To: ‘Elizabeth Minott (minett@oldqueens rutgers edu}!

<minott@oldqueens rutgers edu>

Ce: Casey Woods <caseywoo@uec rutgers.edu>; James P. Lidon <jidon@mdme-
law.com>

Subject: RE: Doe vs. Rutgers -- faculty/staff information

Elizabeth,

 

MOB

Michael O'B. Boldt
<image00 1] pnge> Of Counsel
McElroy, Deutsch, Mulwaney & Carpenter, LLP

wie mdm law com <imageoo2.gif> mboldte@ meme Law.com
1300 Mt. Kemble Avenue <imageoo3.jpg> Download vCurd
P.O. Bo 2075 <jmageoo4.gif> 973-425-8777

Morristown, New Jersey 07962-2075 <imageoos.gif>973-425-0161

Pa-67
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Delaware | Florida | Rhode Island

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Pa-68
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From: Clizabeth Minott

Te: Casey Weeds; Peter Enelot

Subject: RE: OPRA Request 4112-031918:: ROO4112-031918
Date: Tuesday, March 20, 2018 1:32:37 PM

 

 

Thanks

From: Casey Woods [mailto:caseywoo@uec.rutgers.edu]
Sent: Tuesday, March 20, 2018 12:57 PM

Te: Nancy Cantor; Elizabeth Minott

Subject: OPRA Request 4112-031918:: RO04112-031918

 

Reference No: ROO4112-031918

Request Status: Assigned

Service Request Type: Open Public Records Act Request
Priority: Medium

Assigned To: Casey Woods

Customer Email: je@jamieepsteinlaw.com
Name: Mr. Jamie Epstein

Customer Phone: 8569799925

Create Date: 3/19/2018 10:29:28 AM
Update Date: 3/19/2018 10:29:32 AM
Last Reviewed: 3/19/2018 10:29:32 AM
Source: Ernail

: Open Public Records Center

: Rutgers University

Is this request related to athletics?: No

Category of Requestor: Attorney

Type of Record(s) Requested: Other/Unknown

Describe the Record(s} Requested: With all personal identification information (PH)
redacted1, any and all documents, whether in electronic or paper media of the following: a. the
disciplinary case file of any and all Rutgers Newark Graduate Student charged with a

Pa-69
WsHse-102050.21789.03/Pindumestzh Pilea 08/20129 Teagm 14d wioe2aécdaagetD: 141

separable offense from 1/1/2013 to present.

Preferred Method to Receive Records: Electronic via Records Center

Please Choose: [ agree with the statement above.
Exemptions:

Additional Exemptions Applied:

Estimated Page Count:

Estimated Hours:

Hourly Wage Applied:

Special Services Fee Total:

Date Payment Received:

Amount of Payment Received:

Legal Information:

Legal Review Required:

Initial Legal Review Completed:

Executive Order No. 21 (McGreevey 2002) - 1:
Executive Order No, 26 (McGreevey 2002) - 9:

Pa-70
Usse-00205e.21769/03/Roqumeeizg pliled 99/20/26 TRA 142 aic2gGo¢agetD: 142

 

From: Peter Englot

To: Elizabeth Minott; Casey Woods

Ce: Charnette Hockaday: erica williams@rutgers.edu
Subject: RE: OPRA Request 4112-031918:: ROO4112-031918
Date: Tuesday, March 20, 2018 3:20:19 PM
[lizabeth,

 

From: Elizabeth Minott

Sent: Tuesday, March 20, 2018 1:33 PM

To: Casey Woods <caseywoo@uec.rutgers.edu>; Peter Englot <peter.englot@rutgers.edu>
Subject: RE: OPRA Request 4112-031918:; ROO4112-031918

 

Thanks

From: Casey Woods [mailto.caseywoo@uec rutgers.edu]
Sent: Tuesday, March 20, 2018 12:57 PM

To: Nancy Cantor; Elizabeth Minott

Subject: OPRA Request 4112-031918:: RO04112-031918

een Cee ar

 

Reference No: RO04112-031918

Request Status: Assigned

Service Request Type: Open Public Records Act Request
Priority: Medium

Pa-7]1
Wiisb-do Rds oe 769/03/Macumoeas PRiled 99/2 24 TrRADw 148 02 Of0hegRID: 143

Assigned To: Casey Woods

Customer Email: je@ijamicepsteinlaw.com
Name: Mr. Jamie Epstein

Customer Phone: 8569799925

Create Date: 3/19/2018 10:29:28 AM
Update Date: 3/19/2018 10:29:32 AM
Last Reviewed: 3/19/2018 10:29:32 AM
Source: Email

: Open Public Records Center

: Rutgers University

Is this request related to athletics?: No

Category of Requestor: Attorney

Type of Record(s) Requested: Other/Unknown

Describe the Record(s) Requested: With all personal identification information (PID)
redacted!, any and all documents, whether in electronic or paper media of the following: a. the
disciplinary case file of any and all Rutgers Newark Graduate Student charged with a
separable offense from 1/1/2013 to present.

Preferred Method to Receive Records: Electronic via Records Center

Please Choose: | agree with the statement above.

Exemptions:

Additional Exemptions Applied:

Estimated Page Count:

Estimated Hours:

Hourly Wage Applied:

Special Services Fee Total:

Date Payment Received:

Amount of Payment Received:

Legal Information:

Legal Review Required:

Initial Legat Review Completed:

Executive Order No. 21 (McGreevey 2002) - 1:

Executive Order No. 26 (McGreevey 2002) - 9:

Pa-72
MASE .d08dsevr4 78d os /deaguasetes phaled, 99/9/24 1 RROD IAA ios 9SdgzagAyD: 144

From: Jewell Battie

To: Basil Kmech; Jack Chen; Rutgers Connect E-Discoveries
Cc: Elizabeth Minott; Casey Woods

Subject: RE: GPRA Request RO06575

Date: Thursday, April 15, 2021 12:22:03 PM

 

Jewell Battle

Ethics Training Officer & OPRA Administrator

University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1981

 

RUTGERS

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UF REA FEM SEY

 

From: Jewell Battle

Sent: Wednesday, Apri) 14, 2021 10:59 PM

Ta: Basil Kmech <kmech@oit.rutgers.edu>; Jack Chen <jec@oit.rutgers.edu>; Rutgers Connect E-
Discoveries <ediscovery@cit.rutgers.edu>

Ce: Elizabeth Minott <eminott@ogc.rutgers.edu>; Casey Woods <caseywoo @uec rutgers.edu>
Subject: RE: OPRA Request ROOGS75

Axe rc mL |

 

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1981

 

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Pa-73
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From: Jewell Battle

Sent: Wednesday, April 14, 2021 2:32 PM

To: Basil Kmech <kmech@oit rutgers. edu>; Jack Chen <jcc@oit rutgers edu>: Rutgers Connect E-
Discoveries <ediscovery@oit rutgers edu>

Ce: Elizabeth Minott <eminott@oec rutgers.edu>: Casey Woods <caseywoo@uec.rutgers edu>
Subject: OPRA Request RO06575

 

Advisory, Consultative, Deliberative

 

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1938}

 

 

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Pa-74
IMSb-1O205Sd21789/03/Bacumeet2h Phileas G9/20129 TRegm146\ol020GoRegeID: 146

From: Jewell Battie

To: Basi] Kmech: Jack Chen; Rutgers Connect E-Discoveries
Ce: Elizabeth Minott; Casey Woods

Subject: RE: OPRA Request ROO6575

Date: Saturday, April 17, 2021 5:54:04 PM

 

 

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Comphance

Rutgers, The State University of New Jersey
973.972.1981

jewellb@uec. rutgers.edu
ethics@uec.rutgers.edu

From: Basil Kmech

Sent: Saturday, April 17, 2021 11:26 AM

To: Jewell Battle <jewellb@uec rutgers.edu>; Jack Chen <jcc@oit.rutgers.edu>; Rutgers Connect E-Discoveries
<ediscovery@oit rutgers.edu>

Ce: Elizabeth Minott <eminott@oge rutgers.edu>; Casey Woods <caseywoo@uec rutgers.edu>

Subject: Re: OPRA Request R006575

 

kmech

 

From: Jewell Battle <jewellb@uec.rutgers.edu>

Sent: Thursday, April 15, 202) 12:22

To: Basil Kmech,; Jack Chen; Rutgers Connect E-Discoveries
Cc: Elizabeth Minott, Casey Woods
Subject: RE: OPRA Request ROOG6575

   
 

Jewell Battle
Ethics Training Officer & OPRA Administrator University Ethics and Compliance Rutgers, The State University of

New Jersey
973.972.1981
Jewellb@uec.rutgers.edu<jnatliojewellb@uec nitgers.edu>

ethics@uec.rutgers,edu<mailt
[RU_SHIELD SIG ST]

 

From: Jewell Battle

Sent; Wednesday, April 14, 2621 10:59 PM

To: Basil Kmech <kmech@oit rutgers.edu>; Jack Chen <jec@oit.rutgers.edu>; Rutgers Connect E-Discoveries
<ediscovery@oit rutgers.edu>

Ce: Ehzabeth Minott <eminott@oge rutgers.edu>; Casey Woods <caseywoo@uec mitgers.edu>

Subject: RE: OPRA Request ROO6575

Pa-75
HS b 90395 t2 1 7BY03/WSEUIZIEH21 PHIlEd COATOVPA TBO 17202 OB0PSBRID: 147

 

Jewell Battle

Ethics Training Officer & OPRA Administrator University Ethics and Compliance Rutgers, The State University of
New Jersey
973,972,198}

jewellb@uec.rutgers edu<mailio:iewellb/uec rutgers.edu>
ethics(@uec.rutgers.edu<nailto-ethics@@uec nitgers edu>
{RU_SHIELD SIG ST]

From: Jewell Battle
Sent: Wednesday, April 14, 2021 2:32 PM

To: Basil Kmech <kmech@oit rutgers.edu<mailio:kmech@oit mitgers.edu>>; Jack Chen

<icc@oil rutgers edu<nailtojec@oit mitgers.cdy>>; Rutgers Connect E-Discoveries
<ediscovery@oit mitgers. edu<mailto:edis scovery(@Moit rutgers edy>>

Ce: Elizabeth Minott <eminott@oge rutgers.edu<mailigceminott@oge rutgers.edu>>; Casey Woods
<casey woo @ucc.rutgers.edu<mailio-cas @. z >

Subject: OPRA Request R006575

 

Jewel! Battle

Ethics Training Officer & OPRA Administrator University Ethics and Compliance Rutgers, The State University of
New Jersey
973.972.1981

jewellb@uec.rutgers.edu<mailto jewellb@uec rutgers.edu>

ethics@uec.rutgers.edu<mailto:ethics@uec rutgers,edu>
[RU SHIELD SIG ST]

Pa-76
GSE d68d59%1 784 ba/VBGUBSBA phil94 99/2/74 BRO 4S vaezOSRARAID: 148

From: Jewell Battie

To: Basil Kmech; Jack Chen; Rutgers Connect £- Discoveries
Cc Elizabeth Minott; Casey Woods

Subject: RE: OPRA Request ROO6575

Date: Wednesday, April 14, 2021 10:58:59 PM

 

 

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1981

 

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From: Jewell Battie

Sent: Wecnesday, April 14, 2021 2:32 PM

To: Basil Kmech <kmech@oit.rutgers.edu>, Jack Chen <jcc@oit.rutgers, edu>; Rutgers Connect E-
Discoveries <ediscovery@oit.rutgers.edu>

Ce: Elizabeth Minott <eminott@ogc.rutgers.edu>; Casey Woods <caseywoo@uec.rutgers.edu>
Subject: OPRA Request RO05575

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Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1981

 

   

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From: Basil Kmech

To: Jewel! Battle; Jack Chen; Rutgers Connect £-Discoveries
Ce: Elizabeth Minott: Casey Woods

Subject: Re: OPRA Request ROO6575

Date: Saturday, Aprif17, 2621 11:26:15 AM

 

a MaRS ela ais

 

kmech

 

From: Jewell Battle <jewellb@uec.nitgers.edu>

Sent: Thursday, Apri! 15, 2021 12:22

To: Basil Kmech:; Jack Chen; Rutgers Connect E-Discoveries
Ce: Elizabeth Minott; Casey Woods
Subject: RE: OPRA Request RO06575

  

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethics and Compliance

Rutgers, The State University of New Jersey
973.972.1981

Jewellb@uec rutgers.cdu<mailto jewellb@iuec rutgers edu>

ethics(@uec.rutgers.edu<qnailto-ethics/@uec rutgers.edu>
[RU_SHIELD SIG ST}

Frem: Jewell Battle
Sent: Wednesday, April $4, 2021 10:59 PM

To: Basil Kmech <kmech@oit rutgers.edu>; Jack Chen <jec@oit.rutgers.edu>; Rutgers Connect E-Discoveries
<ediscovery@oit rutgers.edu>

Ce: Ehzabeth Minott <eminott@oge rutgers.cdu>; Casey Woods <caseywoo@uec rutgers.edu>

Subject: RE: OPRA Request R006575

   

  

Pree

Jewell Battle

Ethics Training Officer & OPRA Administrator
University Ethies and Compliance

Rutgers, The State University of New Jersey
973.972.1981]

Jewellb@uec.rutgers.edu<mailto;jewellb@uec rutgers edy>

ethics@uec.rutgers.edu<mailto:ethics@uec rutgers edu>
{RU_SHIELD SIG ST]

From: Jewell Battle

Sent; Wednesday, April 14, 2021 2:32 PM

To: Basil Kmech <kmech@oit rutgers.edu<imaillo:kmech@oitrutgers.edu>>; Jack Chen
<jec@oit.rutgers.cdu<mailtojeo@oit mitgers edy>>; Rutgers Connect E-Discoveries

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<ediscovery(@oit ratgers. edu<mailto:ediscoveryi@oit migers.edy>>
Ce: Elizabeth Minott <eminott@oge rutgers.edu<mailto: emimotti@ore nitgers.edu>>, Casey Woods

<caseywoo@uec.nuitgers, edu<mailto:caseywoo(@uec rutpers edu>>
Subject; OPRA Request R006575

Pee N CTR TS

 

Jewell Battle

Ethics Training Officer & OPRA Administrator

University Ethics and Compliance

Rutgers, The State University of New Jersey

973.972.1981

jewello@uec.nutgers.edu<mailtojewelib@uce rute ale
ethics@uec.rutgers.edu<muailto-ethics/@uec mtgers.edy>
{RU_SHIELD_ SIG ST]

Pa-80
Itise-020205¢\21789/03/Maduasai2i PHiléth 69/2012 TrRagm 16202 9G0RegEID: 152

From: Peter Camp

To: Casey Woods

Ce: Carolyn Knight-Coie

Subject: RE: Work Order: RO04095-031318:: ROO4095-031318
Date: Thursday, April 19, 2018 11:05:38 AM

 

 

From: Casey Woods

Sent: Thursday, April 19, 2018 10:16 AM

To: Peter Camp <ppc36@hr.rutgers.edu>

Cc: Carolyn Knight-Cole <ckcole@hr.rutgers.edu>

Subject: RE: Work Order: RO04095-031318:: RO04095-031318

  

 

From: Peter Camp

Sent: Thursday, April 19, 2018 8:19 AM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce; Carolyn Knight-Cole <ckcole@hbr, edu>

Subject: FW: Work Order: RO04095-031318:: ROO4095-031318

 

From: Peggy Pouliot

Sent: Wednesday, April 18, 2018 8:35 PM

To: Peter Camp <poc36@hr rutgers edu>

Ce: Alexa Lepucki <al Lruteers.edu>

Subject: Re: Work Order: RON4095-031318:: ROG4095-031318

HI Pete,

   

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Peg

Pa-81
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UNIVERSITY HUMAN RESOURCES

Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

f: (732-932-0047)

e: pouhot@hrrutgers.edu

From: Peter Camp

Sent: Wednesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: ROO4095-031318:: ROO4095-031318

Is there anything | can do to heip?

Sent from my iPhone

Begin forwarded message:

From: Casey Woods <caseywoo@uec.ruteers.edu>
Date: April 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot < ili £ er >
Ce: Peter Camp <ppc36@hrrutgers edu>, Elizabeth Minott
<eminott@ogc rutgers edu>

Subject: Re: Work Order: RO04095-031318:: RO04095-031318

Hi Peggy and Peter,

dvisory, Consultative, Deliberative

 

Pa-82
MASE-daddsGvod Baba dreeyneaby ped, 99/6444 TEAGR pA M398 ohagyD: 154

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2018 3:19:21 PM

To: Peggy Pouliot

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: RO04095-031318:: ROO4095-031318

Thanks Peggy!

From: Peggy Pouliot

Sent: Tuesday, Apri} 17, 2018 3:18 PM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Peter Camp < ne rs. >

Subject: Work Order: RO04095-031318:: RO004095-031318

Hi Casey,

 

RUTGERS

UNIVERSITY HUMAM RESOURCES

 

Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f: (732-932-0047)

e: pouliot@hr rutgers.edu

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confidentiality of such information.

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Itbse-G9505¢2 1 789/03/PAduiAEAZI PMléd 69/010/29 TRagM16C\Us020B0REaRND: 156

From: Michae! "8, Boldt

To: Casey Woods; Elizabeth Minott; James P, Liden
Subject: RE: Work Order: R004095-031318:: ROO4095-031318
Date: Thursday, April 19, 2018 10:31:42 AM

Attachments: 60937,pne0

 

Casey,

 

Thanks,

Michael O'B, Boldt

MDM © __ ofcoanse

McElroy, Deutsch, Mulvaney & Carpenter, LLP

ww ticle Liew. cor Po. mboldta@mednic-law.com

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Morristown, New Jersey 07962-2075 =. 979-425-0161

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Florida | Rhode Island

 
   

  
  

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Mandar porig

#4 Please consider the enviranment before printing this e-mail,

From: Casey Woods [mailto:caseywoo@uec. rutgers.edu]

Sent: Thursday, April 19, 2018 10:13 AM

Fo: Elizabeth Minott; Michael O'B. Boldt; James P. Lidon
Subject: FW: Work Order: RO04095-031318:: RO04095-031318

What is our time line on this?

From: Peter Camp

Sent: Thursday, April 1S, 2018 8:19 AM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Carolyn Knight-Cole < le@hroc c >

Subject: FW: Work Order: RO04095-031318:; RO04095-031318

 

Pa-85
ese-00305¢v21799/03/PiaourAseatzt Philéth 68/20/24 TRagw 1b@\afo20G0RegeID: 157

 

From: Peggy Pouliot
Sent: Wednesday, April 18, 2018 8:35 PM
To: Peter Camp <ppc36@hrrutgers edu>

Ce: Alexa Lepucki <al908@hr ruigers. edu>
Subject: Re: Work Order: RO04095-031318:: ROG4095-031318

HI Pete,

Ero aeete ne msrs arts

Peg

Gp RUIGERS

UNIVERSITY HUMAN ALSOURCES

Margaret S, Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

£: (732-932-0047)

e: pouliot@hr.rutgers.edy

From: Peter Camp

Sent: Wednesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: ROO4095-0313148:: RO04095-031318

Is there anything | can do to help?

Sent from my iPhone

Begin forwarded message:

 

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eb -GO505d 921 TAQ IEMAUTASALZ1 PMidty @9/eb128 TragiN1Lbe\Wd2Ied4gBSID: 158

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*

From: Casey Woods <caseywoo@uec,rutgers edu>
Date: April 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot <mpoulio ru edu>

Ce: Peter Camp <ppc36@hr rutvers edu>, Elizabeth Minott
<eminott@oge rutgers edu>

Subject: Re: Work Order: RO04095-031318:: RO04095-031318

Hi Peggy and Peter,

Bec a a Consultative, Byer eles gy d0G29

 

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2018 3:19:21 PM

To: Peggy Pouliot

Cc: Peter Camp; Elizabeth Minott

Subject: RE: Work Order; ROO4095-031318:: ROO4095-031318

Thanks Peggy!

From: Peggy Pouliot
Sent: Tuesday, Apri! 17, 2018 3:18 PM

To: Casey Woods <caseywoo@uec rutgers.edu>

Ce: Peter Camp < 6 Tutgers.edu>
Subject: Work Order: R004095-031318:: RO04095-031318

Hi Casey,

   

Pa-87
Mase AIS05 O21 7 BYO03/AMAduUrASAtZ1 PMiléh O89 KfOV PA T rag 150\aI02 OBO PetED: 159

 

Peggy

RUTGERS

VNIVERSITY HUMAN RESOURCES

 

Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f. (732-932-0047)

e liot@hr

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intended recipient, secure the contents in a manner that conforms to all
applicable state and/or federal requirements related to privacy and
confidentiality of such information.

Pa-88
Wkse-20305dv2178903/Piuracst2 PMldetyG9/2012 TRagem160 wi 2OEcdageiD: 160

From: Peter Camp

To: Casey Weads

Cec: Carolyn Knight-Cole

Subject: RE: Work Order: RO04095-031318:: RO04095-031318

Date: Thursday, April 19, 2018 1:13:35 PM

  
  

 

From: Casey Woods

Sent: Thursday, April 19, 2028 11:11 AM

To; Peter Camp <ppc36@hr.rutgers.edu>

Ce: Carolyn Knight-Cole <ckcole@hr.rutgers.edu>

Subject: RE: Work Order: ROO4095-031318:: RO04095-031313

 

From: Peter Camp

Sent: Thursday, April 49, 2018 11:06 AM
To: Casey Woods <caseywoo@uyec rutgers edu>

Cc: Carolyn Knight-Cole <ckcole@hrr C >
Subject: RE: Work Order: ROC4095-031318:; RO04095-031318

 

From: Casey Woods
Sent: Thursday, April 19, 2018 10:16 AM
To: Peter Camp < @hrrute >

Ce: Carolyn Knight-Cole <ckegle@hr rutpers.edu>
Subject: RE: Work Order: RO04095-031318:: ROG4095-031318

   

Advisory; Consultative, Deliberative

From: Peter Camp

Sent: Thursday, April 19, 2018 8:19 AM

To: Casey Woods <caseywoo@uec rutgers edu>
Ce: Carolyn Knight-Cole <c¢| rs.edu>

Pa-89
+

WES 6-90 O5dy2 1 7 B9S/ERFdUTAGStAT PMidth 00/20/29 TRag D167 \F02080ROGBID: 161

Subject: FW: Work Order: RO04095-031318:: RO04095-031318

 

From; Peggy Pouliot
Sent: Wednesday, April 18, 2018 8:35 PM

To: Peter Camp <poc36@hr cutgers.edu>

Ce: Alexa Lepucki <aj/SO8@hrrutgers. edu>
Subject: Re: Work Order: RO04095-031318:: RO04095-031318

HI Pete,

Peg

RUTGERS

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Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

f: (732-932-0047)

e: pouhot@hrrutgers.edu

From: Peter Camp

Sent: Wednesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: RO04095-031318:: RO04095-031318

Is there anything | can do to help?

Sent from my iPhone

 

Pa-90
MAse-dozds ont 76d/h3/dRacumeatt PMled 69/2/20 TRAC LEZ e29GoregeID: 162

Begin forwarded message:

From: Casey Woods <caseywoo@uec rutgers edu>

Date: Apri 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot <mpouliot@hr rutgers edu>

Cc; Peter Camp <poc36@hrrutgers. edu>, Elizabeth Minott

<eminott@oge. rutgers. edu>
Subject: Re: Work Order: ROO4095-031318:: ROO4095-031318

Hi Peggy and Peter,

dvisery, Consultative, PTET

 

Thanks again,

Casey

From: Casey Woods
Sent: Tuesday, Apri! 17, 2018 3:19:21 PM

To: Peggy Pouliot

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: RN04095-031318:; ROO4095-031318

Thanks Peggy!

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM

To: Casey Woods <caseywoo@uec ruteers edu>

Ce: Peter Camp <ppc Agu du>
Subject: Work Order: RO04095-031318:: ROO4095-031318

Pa-91
idlase-00205021789/03/Racurnéai2i PMlath O9/20124 TRagm L66\al02080RegRID: 163

Hi Casey,

 

 

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UNIVERSITY HUMAN RESOURCES

Margaret 5. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f: (732-932-0047}

e: pouliot@hr.ruteers.edu

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copies of this email including all attachments without reading them. If you are the
intended recipient, secure the contents in a manner that conforms to ali
appiicable state and/or federal requirements related to privacy and
confidentiality of such information,

Pa-92
tbs b-Q05054\2 1 7 B9/O3/ENIAUTASEt21 PMIdey GS/20729 TraagyO162 VF020 B0REBEID: 164

From: Peter Camp

To: Casey Woods

ca Carolyn Knight-Cole; Sonia Robell (sonia. robeil@rutoers edu}
Subject: RE: Work Order; ROO4095-031318:: ROO4095-031318
Date: Thursday, April 19, 2018 11:16:56 AM

 

    

From: Casey Woods

Sent: Thursday, April 19, 2018 11:11 AM

To: Peter Camp <ppc36@hr.rutgers.edu>

Ce: Carolyn Knight-Cole <ckcole@hr.rutgers.edu>

Subject: RE: Work Order: ROO4095-031318:: RO04095-031318

 

From: Peter Camp
Sent: Thursday, April 19, 2018 11:06 AM
To; Casey Woods <caseywoo@uec rutgers edu>

Ce: Carolyn Knight-Cole <ckegle@hrrittgers.edu>
Subject: RE: Work Order: ROO4095-031318:: ROO4095-031318

 

From: Casey Woods
Sent: Thursday, April 19, 2018 10:16AM
To: Peter Camp < hrrutgers edu>

Ce: Carolyn Knight-Cole <ckcole@nrrutgers. edu>
Subject: RE: Work Order: ROO4095-031318:: RQ04095-031318

   

Advisory, Consultative, Deliberative

From: Peter Camp

Sent: Thursday, April 19, 2018 8:19 AM

To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Caroiyn Knight-Cole <ckcole . >

Subject: FW: Work Order: ROO4095-031318:; RO04095-031318

Pa-93
INDsb-00305¢\21789/03/MaduN6az1 PREY 08/7/24 TrRagkD 165 \o20G0RegHD: 165

 

From: Peggy Pouliot
Sent: Wednesday, April 18, 2018 8:35 PM

To: Peter Camp <ppc36@hrrutgers ecu>

Cc: Alexa Lepucki <al nerutpers.edu>
Subject: Re: Work Order: RO04095-031318:: R004095-031318

HI Pete,

SOT Ce AOL Nd -

 

Peg

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VNIVERSITY HUMAN ATSOURCES

 

Margaret 5, Pouliot (Peggy)

University Human Resources

Manager Facuity & Staff Resource Center
p: (848-932-3942)

f: (732-932-0047)

e: pouliot@hr rutgers. edu

From: Peter Camp

Sent: Wednesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: ROG4095-031318:; ROO4095-031318

Is there anything | can da to help?

Sent fram my iPhone

Begin forwarded message:

Pa-94
IPHSe-CORNSdv21784.03/Deaumeet2h pMlee 93/20/24 TRaAgm166\aicAg@ SokegeID: 166

From: Casey Woods <caseywoo@uec rutgers edu>
Date: April 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot <mpouwliot@hr.ru edu>
Ce: Peter Camp <poc36@hrrutgers edu>, Elizabeth Minott
<emir cr >

Subject: Re: Work Order: RO04095-031318:: RO04095-031318

Hi Peggy and Peter,

TRS ee AOL Ln

 

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2018 3:19:21 PM

To: Peggy Pouliot

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: ROO4095-031318:; ROO4095-031318

Thanks Peggy!

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uec rutgers edu>

Cc; Peter Camp <ppc36@hr rutgers,edu>
Subject: Work Order: RO04095-031318:: RO04095-031318

Hi Casey,

   
 

Pa-95
iWAsb-00205t21789/03/Madunésaizt PMlEG 06/40/24 TrRagm LEZ ai20boRegeID: 167

 

 

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University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

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e; pouliot@hr rutgers.edu

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copies of this email including all attachments without reading them. If you are the
intended recipient, secure the contents in a manner that conforms to all
applicable state and/or federal requirements related to privacy and
confidentiality of such information.

Pa-96
’

Wssb-20305dv21 7 BAD 3/DARuMAGaot ZA PMidth@9/20/2% Tag tl 66 wd BaecaageiD: 168

From; Michaé} 0°B, Boldt

To: Casey Woods

Ce: Elizabeth Minott: James P. Lidon; Jennifer MeGruther
Subject: RE: Work Order: ROO4095-031318:: RO04095-031318
Date: Friday, Apri 20, 2018 4:01:39 PM

Attachments; Imace0Ol png

 

Casey,

ae Consultative; Deliberative-

 

MOB

From: Casey Woods [mailto:caseywoo@uec.rutgers, edu]
Sent: Friday, April 20, 2018 3:51 PM

To: Michael O'B. Boldt; Elizabeth Minott; James P. Lidon
Subject: RE: Work Order: ROO4095-031318:: R004095-031318

Hello all,

   

Casey

From: Casey Woods
Sent: Thursday, April 19, 27018 10:58 AM
To: 'Michaei O'8. Boldt’ <mboldt@mdme-law.com>: Elizabeth Minatt <emin L r.edu>:

James P. Lidon <jidon@madme-law.com>
Subject: RE: Work Order: ROO4095-031318:: ROO4095-031318

OK,

PGs erty Client attr =s

, Advisory, Consultative, Deliberative

 

From: Michael O'B. Boldt [mailto:mboidt@madmc-law.com]
Sent: Thursday, April 19, 2018 10:31 AM

Pa-97
iTiGsb-00205¢\21789/03/Macurmé6ai2t Philet 08/20/20 TrRagm 166 \aio2a6c4#agertD: 169

To: Casey Woods <caseywoo@uec rutgers.edu>; Elizabeth Minott <eminott@oge rutgers edu>:

James P. Lidon <jl; -law. >
Subject: RE: Work Order: ROO4095-031318:: RC04095-031318

Casey,

ach aL Privilege.

consultative; Deliberative:

 

MOB

Michael O'B, Boldt

MDM © __ eicounse

McElroy, Deutsch, Mulvaney & Carpenter, LLP

www mdme-law.com

 

 

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1300 Mt. Kemble Avenue . Download vCard
P.O. Box 2073 “973-425-8777
Morristown, New Jersey 07962-2075 <. 973-425-0161
New Jersey | New. York | Colorado | Pennsylvania | Connecticut | Massachusetts | Delaware |
Plorida | Rhode Island

  
 
 
  
 
  

  
 
 
 
  

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«4, Please consider the enviranment before printing this e-mail.

From: Casey Woods [mailto:caseywoo@uec. rutgers.edul

Sent: Thursday, April 19, 2018 10:13 AM

To: Elizabeth Minott; Michael O'B. Boldt; James P. Lidon
Subject: FW: Work Order: RO04095-031318:: RO04095-031318

What is our time line on this?

From: Peter Camp
Sent: Thursday, April 19, 2018 8:19 AM
To: Casey Woods <caseywoo@uec.rutgers edu>

Ce: Carcryn Knight-Cole <ckeole@hr rutgers.edu>
Subject: FW: Work Order: ROO4095-031318:: 8004095-031318

 

Pa-98
IPBSE-COSIS tr2 1 780/03/MadurAsai2t PMIEG OOO 2d Tage Li7O\i02060RegRID: 170

From: Peggy Pouliot
Sent: Wednesday, Apri! 18, 2018 8:35 PM

To: Peter Camp <ppc36@brrutgers edu>

Cc: Alexa Lepucki <al908@hr rutgers.edu>
Subject: Re: Work Order: ROO4095-031318:: RO04095-031318

HI Pete,

Aca |

 

Peg

UHR_ SHIELD SIG
a.

Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

£: (732-932-0047)

e: pouliot@hr rutgers.edu

From: Peter Camp

Sent: Wecnesday, April 18, 2018 3:54 PM

To: Peggy Pouliot

Subject: Fwd: Work Order: ROO4095-031318:: RCO4095-031318

 

Sent from my iPhone

Begin forwarded message:

From: Casey Woods <caseywoo@uec rutgers. edu>

Pa-99
MtBde0059$1e211 DBMB/2DRic here? 1. PNFilegl 18/0129 Tag éD1 ZC wieoedaagaiD: 171

Date: April 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot <mpouliot@hrrutgers. edu>

Ce: Peter Camp <ppc36@hr rutgers edu>, Elizabeth Minott
<emino t@oge r jigers ed >

Subject: Re: Work Order: RO04095-031318:; RO04095-031318

Hi Peggy and Peter,

Advisory, Consultative, Deliberative

 

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2018 3:19:21 PM

To: Peggy Pouliat

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: 8004095-031318:: RO04095-031318

Thanks Peggy!

From: Peggy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Peter Camp <ppc36@hrrutgers edu>
Subject: Work Order: RO04095-031318:: ROO4095-031318

Hi Casey,

    

Pa-100
x

 

Peggy

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Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

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Pa-161
+
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NtQ@de 00505-6201 7GR103/ADAtuUMBsE1 PMIlEd 08720/21b TRagelt Teka MapslD: 173

 

From: Pegay Pouliot

Fo: Casey Weeds

cc Peter Camp; Elizabeth Minott

Subject: RE: Work Order: ROO4095-031318:: ROO4095-031318
Date: Monday, April 23, 2018 7:35:43 AM

Attachments: DR PAF E Bonner. pdf

Hi Casey,

Peggy

From: Casey Woods
Sent: Wednesday, April 18, 2018 3:41 PM

  

Ta: Pegsy Pouliot <mpouliot @hr.rutgers.edu>

Cc: Peter Camp <ppc36@hrrutgers.edu>; Elizabeth Minott <eminott@ogce.rutgers.edu>
» ROC4095-031318

Subject: Re: Work Order: ROO4095-031318

Hi Peggy and Peter,

Thanks again,

Casey

From: Casey Woods

Sent: Tuesday, April 17, 2018 3:19:21 PM
To: Peggy Pouliot

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order; ROO4095-031318

2: ROO4095-031318

 

Pa-102
Mease0d$4e811 LO0B/2D2ic leraM?2 LPM ileg WAy/20/29 TRagéDi La wtenemagarD: 174

Thanks Peggy!

From: Pegey Poulot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods <caseywoo@uec rutgers edu>

Ce: Peter Camp <ppc36@hrrutgers.edu>
Subject: Work Order: RO04095-031318:; RO04095-031318

Hi Casey,

   

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Margaret S. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f: (732-932-0047)

e; pouliot@hr.rutgers.edu

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requirements related to privacy and confidentiality of such information.

Pa-103
Miade00505-2241 09108/2DH chiens? LPNTileg| 294A TRageOL lS wienedaagelD: 175

From: Peter Camp

To: Casey Woods; Elizabeth Minott

Cc: Carolyn Knight:Cole; tammy khalequegruteers.edu
Subject: RE: Work Order: ROO4095-031318:: RO04095-031318
Date: Thursday, March 22, 20178 10:18:01 AM

 

 

From: Casey Woods

Sent: Tuesday, March 20, 2018 3:52 PM

To: Peter Camp <poc36@hr.rutgers.edu>; Elizabeth Minott <eminott@ogc.rutgers.edu>
Cc: Carolyn Knight-Cole <ckcole@hr.rutgers.edu>; tammy.khaleque@rutgers.edu
Subject: RE: Work Order: ROC4095-031318:: RO04095-031318

Hi Peter,

fa Ae ic ae

 

From: Peter Camp
Sent: Thursday, March 15, 2018 11:30 AM
To: Casey Woods <caseywoo@vec rutgers edu>; Elizabeth Minott <eminott@ogc rutgers.edu>

Cc: Carolyn Knight-Cole <ckcole@hr rutgers edu>: Lammy khaleque@rutgers acs
Subject: RE: Work Order: ROO4095-031318:; RO04095-031318

Advisory, Consultative, Deliberative

 

From: Casey Woods <caseywoo@uec rutgers edu>
Sent: Tuesday, March 23, 2018 5:55 PM

To: Elizabeth Minott <eminott@ogc. rutgers edu>

Pa-104
Mase 0Ds05-t2-11 7E803/Deacument1 PMiled 09429/Pio TRAGAD AE Obelh Ragelp: 176

Ce: Peter Camp <ppc36@hrrutgers edu>; Carolyn Knight-Cale <ckcole@hr ruigers. edu>
Subject: Work Order: ROO4095-031318: RO04095-031318

Attachments:
SKM_€55848031317336 ocf

Advisory, Consultative, Deliberative

 

Reference No: ROO4095-031318

Request Status: Assigned

service Request Type: Open Public Records Act Request
Pricrity: Medium

Assigned To: Casey Woods

Customer Email: je@jamieepsteinlaw.com
Name: Mr. Jamie Epstein

Customer Phone: 8569799925

Create Date: 3/13/2018 5:48:19 PM
Update Date: 3/13/2018 5:49:02 PM

Last Reviewed: 3/13/2018 5:48:22 PM
Source: Fax

: Open Public Records Center

: Rutgers University

Is this request related te athletics?: No

Category of Requestor: Attorney

Type of Record(s} Requested: Other/Unknown

Describe the Record(s} Requested: 1. Any and all documents, whether in electronic or paper media,
which make reference to Zhijian Hong (aka ZH) and are dated between 1/1/2017 to present.
Documents requested include, but are not limited to: (a) financial records (requested immediately
pursuant to N.JS.A.47:14-5} such as bills, invoices, receipts, ledger accounts, payments, both sides
of canceled checks, etc.; {b) academic records such as records kept by staff who provided 7H
educational services, transcripts, notes, ietters, emails, reports, tests, etc,; (c} administrative records
such as health records, discipline records, ete.; (¢) communication records such as emails, memos,
text messages, voice mail, letters, etc. sent or received by staff, administrators, contractors or agents
of the University, Email search: where the sender or recipients is a staff, administrator, contractor or

Pa-105
MIateonsasici41 28icb/2Dpc wre? LPsriPg@ 08/2044 TRagal Ces 2Q6ddage!D: 177

agent of the University and the body or subject of the email refers to Zhijian Hong or ZH 136003725
2, Regarding each employee listed below the following information Is requested: title, position,
salary, payroll record, length of service, data contained in the information which disclose conformity
with specific experiential, educational or medica} qualifications required for employment, date of
separation {if any) and the reason and the employee's employment contract (which is requested
immediately pursuant to NJSA 47:1A-5). (a) Dr. Edward Bonder, Associate Professor Faculty Arts and
Sciences - Department Biological Sciences {b) Dr. Wayne Eastman, Professor Rutgers Business School
- Supply Chain Management (c} Dr, Francis Bartkowski, Professor Faculty Arts and Sciences -
Department of English; (d} Dr. Kinna Perry, Associate Dean Graduate School-Newark {e) Dr. Kyle
Farmbry, Dean of the Graduate Schoal-Newark. 3. Any and all documents or emails which refer to
Record Request Information Item #1 and #2 above either in the body of the email or document or in
its attachment. 4. Any and all records created including metadata in responding to this OPRA
request.

Preferred Method to Receive Records: Electronic via Records Center

Please Choose: | agree with the statement above.
Exemptions:

Additional Exemptions Applied:

Estimated Page Count:

Estimated Hours:

Hourly Wage Applied:

Special Services Fee Total:

Date Payment Received:

Amount of Payment Received:

Legal| ati

Legal Review Required:

Initia! Legal Review Completed:

Executive Order No. 21 {McGreevey 2002) -1
Executive Order No. 26 (McGreevey 2002} -3:

Pa-106
MBSE cb CY “Pode POPU MEH ST piled NY 2P/AL TRaged 7%.06g96 Pagelp: 178

From: Jennifer MeGruther

To: Michael O"B, Boldt; Casey Woods

ce; Elizabeth Minott; James P, Lidon

Subject: RE: Work Order: ROC4095-031318:: RQ04095-G31318
Date: Friday, April 20, 2018 4:46:32 PM

Attachments: imageQC Long

 

i agree.

From: Michael O'B. Boldt <mbolet@mdmc-law.com>

Sent: Friday, April 20, 2018 4:01 PM

To: Casey Woods <caseywoo@uec.rutgers.edu>

Ce: Elizabeth Minctt <eminott@oge rutgers.edu>; James P. Lidon <jlicon@mdme-law.com>; Jennifer
McGruther <jmcgruther@ogc rutgers.edu>

Subject: RE: Wark Order: RO04095-031318:: ROO4095-031318

Casey,

  
  

MOB

From: Casey Woods [malito:casevywoo@uec rutgers.edu]
Sent: Friday, Apri! 20, 2018 3:51 PM

To: Michael O’B, Boldt; Elizabeth Minott: James P. Lidon
Subject: RE: Work Order: RO04095-031318:; RO04095-031318

Helio all,

RT ra Sects

i Cotes aS CCUM Ses

 

Casey

From: Casey Woods

Sent: Thursday, Apri! 19, 2018 10:58 AM

To: 'Michael O'B. Boidt' <mboldt@mdme-law.com>: Elizabeth Minott <eminott@oge rutgers. i>)
James P. Lidon <jidon@mdme-law.com>

Pa-107
MIAse0nStKc241 7103 /2dpcupE? 1 Patileg 28/20/24 TRagel 72 0beDG agelD: 179

Subject: RE: Work Order: 3004095-031318:; ROO4095-031318

 

From: Michae! O'B. Boldt [mailto:mboldt@mdme-law.com]
Sent: Thursday, April 19, 2018 10:31 AM
To: Casey Woods <caseywoo@uec rutgers.edu>; Elizabeth Minott <eminott@ogc rutgers edu>:

James P. Lidon <Jidan@mdme-law.com>
Subject: RE: Work Order: RO04095-031318:; RO04095-031318

 

Thanks,

MOB

Michael O'B. Boldt

M DM , C Of Counsel

McElroy, Deutsch, Mulvaney & Carpenter, LLP

 

we pidiate- baw com - mbolhgmdme-law com
1300 ML. Kemble Avenue  Deawnload vCard
P.O. Box 2075  QF3-425-8777
Morristown, New Jersey 07962-2075 +. 973-425-0161

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From: Casey Woods [maiito:caseywoo@uec, rutgers.edu]

Sent: Thursday, April 19, 2018 10:13 AM

To: Elizabeth Minott; Michael O'8. Boldt; James P. Lidon
Subject: FW: Work Order: RO04095-031318:: ROO4095-031318

Pa-108
Mia¢e0059$4e241 NBI0B/2DOic ere? 1 PNFileg! H/2014 9 TRagéDL AC weeDedagerD: 180

What is our time line on this?

From: Peter Camp
Sent: Thursday, April 19, 2018 8:19 AM
To: Casey Woods <caseywoo@uec rutgers.edu>

Ce: Carolyn Knight-Cole <ckcole@hr rutgers edy>
Subject: FW: Work Order: RO04095-031318:: ROO4095-031318

 

From: Peggy Pouliot
Sent: Wednesday, April 18, 2018 8:35 PM
To: Peter Camp <poc36@hrrutgers edu>

Ce; Alexa Lepucki <aiSO8@hr rutgers. edu>
Subject: Re: Work Order: ROO4095-031318:: ROC4095-031318

HI Pete,

 

Peg

UHR. SHIELD SIG
i

Margaret 5. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center
p: (848-932-3942)

f; (732-932-0047)

e: pouliot@hr.rutgers.edu

From: Peter Camp
Sent: Wednesday, April 18, 2018 3:54 PM

Pa-109
Masecbstb-c211 (ild3/20acumene 1 Pitiled 08/20/44 TRAILS E VEGI OS RagglD: 181

To: Peggy Pouliot
Subject: Fwd: Work Order: ROO4095-031318:: RO04095-031318

Is there anything | can do to help?

Sent from my iPhone

Begin forwarded message:

From; Casey Woods <caseywoo@uec rutgers edu>
Date: April 18, 2018 at 3:41:24 PM EDT

To: Peggy Pouliot < ij Jutgers.edi>
Ce: Peter Camp <ppc36@hrrutgers edu>, Elizabeth Minott
<eminott@oge rutgers.edu>

Subject: Re: Work Order: ROO4095-031318:: RO04095-031318

Hi Peggy and Peter,

Dae

 

Thanks again,

Casey

From; Casey Woods

Sent: Tuesday, Aprii 17, 2018 3:19:21 PM

To: Peggy Pouliot

Ce: Peter Camp; Elizabeth Minott

Subject: RE: Work Order: ROQ4095-031318:; ROO4095-031318

Thanks Peggy!

Pa-110
Masettsibcy11 (hb 2bacument Lpmtileg 09/3P444 rTRageDl8et 9beDH Rage: 182

From: Pagesy Pouliot
Sent: Tuesday, April 17, 2018 3:18 PM
To: Casey Woods < . 5.edu>

Cc: Peter Camp <poc36@hrrutgers. edu>
Subject: Work Order: ROO4095-031318:: RO04095-031318

i Casey,

 

RUTGERS

UNIVERSITY HUMAN ALSOURCES

 

Margaret 5. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f: (732-932-0047)

e: iot@hr

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and deliberative, and may contain private, confidential, or legally privileged
information intended for the sole use of the designated and/or duly authorized
recipient(s). If you are not the intended recipient or have received this emai in
error, please notify the sender immediately by emai! and permanently delete al!
copies of this email inclucing all attachments without reading them. If you are the
intended recipient, secure the contents in a manner that conforms to all
applicable state and/or federal requirements related to privacy and
confidentiality of such information.

Pa-111
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From: Peter Camp

To: Casey Woods; Elizabeth Minott

Ce: Carolyn Knight-Cole; tammy.khaleque@yutgers edu
Subject: RE: Work Order: RO04095-031318:: RO04095-031318
Date: Thursday, March 15, 2018 11:31:50 AM

Attachinents: OPRA 4095 O2.xis

. Advisory, Consultative, Drie est

 

From: Casey Woods <caseywoo@uec rutgers.edu>

Sent: Tuesday, March 13, 2018 5:55 PM

To: Elizabeth Minott <eminott@ogc.rutgers.edu>

Cc: Peter Camp <ppc36@hr rutgers.edu>; Carolyn Knight-Cole <ckcole@hr.rutgers.adu>
Subject: Work Order: RO04095-031318:: RO04095-031318

Attachments:
55818031317 pdt

Advisory, Consultative, Deliberative

 

Reference Na: RO04095-031318

Request Status: Assigned

Service Request Type: Open Public Records Act Request
Priority: Medium

Assigned To: Casey Woads

Pa-112
MESSER OE CY 11 O88 BOCA LpntlBG PY EP144 TRAG LEC cS dzagslP: 184

Customer Email je@iamieensteiniaw.com

Name: Mr. Jamie Epstein

Customer Phone: 8569799925

Create Date: 3/13/2018 5:48:19 PM
Update Date: 3/13/2018 5:49:02 PM
Last Reviewed: 3/13/2018 5:48:22 PM
Source: Fax

: Open Public Records Center

: Rutgers University

is this request related to athletics?: No

Category of Requestor: Attorney

Type of Record(s) Requested: Other/Unknown

Describe the Record(s) Requested: 1. Any and all documents, whether in electronic or paper media,
which make reference to Zhijian Hong (aka ZH) and are dated between 1/1/2017 to present.
Documents requested include, but are not limited to: (a) financial records (requested immediately
pursuant tO NJ.S.A. 47:1A-5} such as bills, invoices, receipts, ledger accounts, payments, both sides
of canceled checks, atc.; (b) academic records such as records kept by staff who provided 7H
educational services, transcripts, notes, letters, emails, reports, tests, etc.; (c) administrative records
such as health recerds, discipline records, etc.; (d) communication records such as emails, memos,
text messages, voice mail, letters, etc. sent or received by staff, administrators, cantractors or agents
of the University. Email search: where the sender or recipients is a staff, administrator, contractor or
agent of the University and the body or subject of the email refers to Zhijian Hong or 7H 136003725
2. Regarding each employee listed below the following information is requested: title, position,
salary, payroll record, length of service, data contained in the information which disclose conformity
with specific experiential, educational or medical qualifications required for employment, date of
separation (if any) and the reason and the employee's employment contract (which is requested
immediately pursuant to NJSA 47:14-5), (a) Or. Edward Bonder, Associate Professor Faculty Arts and
Sciences - Department Biological Sciences (b) Dr. Wayne Eastman, Professor Rutgers Business School
- Supply Chain Management {c) Dr. Francis Bartkowski, Professor Faculty Arts and Sciences -
Department of Engtish; {d)} Dr. Kinna Perry, Associate Dean Graduate School-Newark (e} Or. Kyle
Farmbry, Dean of the Graduate School-Newark, 3, Any and all documents or emails which refer to
Record Request information item #1 and #2 above either in the body of the email or document or in
its attachment. 4. Any and all records created including metadata in responding to this OPRA
request.

Preferred Method to Receive Records: Electronic via Records Center

Piease Choose: | agree with the statement above.
Exemptions:

Additional Exemptions Applied:

Estimated Page Count:

Estimated Hours:

Hourly Wage Apolied:

Special Services Fee Total:

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Date Payment Received:

Amount of Payment Received:

Legal information

Legal Review Required:

Initial Legal Review Completed:

Executive Order No. 21 (McGreevey 2002)
Executive Order No. 26 (McGreevey 2002}

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~9:

Pa-114
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From: Elizabeth Mincott

Ta: Casey Woods

Subject: RE: Work Order: ROU4TE12-031918:: RGO4E12-031918
Date: Monday, April 2, 2018 $9:31:45 AM

Agreed

From: Casey Woods [mailto:caseywoo@uec. rutgers.edu]
Sent: Wednesday, March 28, 2018 1:53 PM

To: Hizabeth Minott

Subject: Work Order: RO04112-031918:: RO04112-031918

Cll Melt rae

 

Reference No: R004] 12-031918

Request Status: Assigned

Service Request Type: Open Public Records Act Request
Priority: Medium

Assigned To: Casey Woods

Customer Email: je@jamieepstemlaw. com
Name: Me. Janue Epstem

Customer Phone: 8569799925

Create Date: 3/19/2018 10:29:28 AM
Update Date: 3/20/2018 12:56:19 PM
Last Reviewed: 3/19/2018 10:29:32 AM
Source: Email

: Open Public Records Center

: Rutgers University

Is this request related to athletics?: No

Category of Requestor: Attorney

Type of Record(s) Requested: Other/Unknown

Deserbe the Record(s} Requested: With all personal identification information (PID
redacted, any and all documents, whether in electronic or paper media of the following: a. the
disciplinary case file of any and all Rutgers Newark Graduate Student charged with a
separable offense from 1/1/2013 to present.

Preferred Method to Receive Records: Electronic via Records Center

Please Choose: I agree with the statement above.
Exemptions:

Additional Exemptions Apphed:

Estimated Page Count:

Estunated Hours:

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Hourly Wage Applied:

Special Services Fee Total:
Date Payment Received:
Amount of Payment Received:
Legal Information:

Legal Review Required:

Initial Legal Review Completed:

Executive Order No. 21 (McGreevey 2002) - I:
Executive Order No. 26 (McGreevey 2002) - 9:

Pa-116
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From: Pegay Pouliot

To: Casey Woods

Cc: Peter Camp

Subject: Work Order; RO64095-031318:: ROO4095-031318
Date: Tuesday, Aprit 17, 2018 3:18:12 PM

 

a

Peggy

QB RUTGERS

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Margaret 5. Pouliot (Peggy)

University Human Resources

Manager Faculty & Staff Resource Center

p: (848-932-3942)

f: (732-932-0047)

e: pouliot@hr rutgers.edu

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all copies of this email including all attachments without reading them, If you are the intended
recipient, secure the contents in a manner that conforms to ali applicable state and/or federal
requirements related to privacy and confidentiality of such information.

 

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From: je

To: Gasey Weods

Ce: Walter Luers

Subject: 2H: FRecords Center} Open Public Records Act Request :: RO04095-031318
Date: Saturday, April ?, 2028 11:32:20 AM

Mr. Woods:

I do not waive my right to complain that the response to the March 13 request delayed until
April 20 violates the Open Public Records Act.

Jamie Epstein Law.com

On 4/6/2018 5:03 PM, Rutgers Open Public Records Center wrote:

--~ Please respond above this line ---

Reference: Rutgers Open Public Records Request # RO04095-031318

Dear Mr. Epstein,

Please accept this letter as the University Custodian of Records response to your
request for records pursuant to the Open Public Records Act (“OPRA”). On
March 13, 2018, this office received your request for the following:

“tT. Any and all documents, whether in electronic or paper media, which make
reference to Zhijian Hong (aka ZH) and are dated between 1/1/2017 to present.
Documents requested include, but are not limited to: (a) financial records
(requested immediately pursuant to N.J.S.A. 47:1A-5) such as bills, invoices,
receipts, ledger accounts, payments, both sides of canceled checks, etc.;

(b) academic records such as records kept by staff who provided ZH educational
services, transcripts, notes, letters, emails, reports, tests, etc.;

(c) administrative records such as health records, discipline records, etc.;

(d) communication records such as emails, memos, text messages, voice mail,
letters, etc. sent or received by staff, administrators, contractors or agents of the
University. Email search: where the sender or recipients is a staff, administrator,
contractor or agent of the University and the body or subject of the email refers to
Zhijian Hong or ZH 136003725

2. Regarding each employee listed below the following information is requested:
title, position, salary, payroll record, length of service, data contained in the
information which disclose conformity with specific experiential, educational or
medical qualifications required for employment, date of separation (if any) and
the reason and the employee's employment contract (which is requested
immediately pursuant to NJSA 47:1A-5). (a) Dr. Edward Bonder, Associate
Professor Faculty Arts and Sciences - Department Biological Sciences (b) Dr.
Wayne Eastman, Professor Rutgers Business School - Suppiy Chain Management

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(c) Dr. Francis Bartkowski, Professor Faculty Arts and Sciences - Department of
English: (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark (e) Dr.
Kyle Farmbry, Dean of the Graduate School-Newark.

3. Any and all documents or emails which refer to Record Request Information
Item #1 and #2 above either in the body of the email or document or m its
attachinent.

4. Any and all records created including metadata in responding to this OPRA
request.”

The University is attempting to locate offer letters for the individuals mentioned
in portion 2 of this request in our archives. We require an extension until April 20,
2018 to determine whether there are any further responsive records.

If you have any questions or concerns, please contact me at my office at
973.972.1887.

Sincerely,

Casey Woods

Office of Custodian of Records

Rutgers, The State University of New Jersey
973.972.1887

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To imonitor the progress or update this request please log into the Open Public
Records Center.

Pa-119
Case 1:21-cv-17811 Document 1 Filed 09/29/21 Page 191 of 206 PagelD: 191

EXHIBIT E
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COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No, 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 401

Saddle Brook, New Jersey 07663
(201) 845-9600

JAMIE EPSTEIN, ESQ.- 008081990
17 Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925

Attorneys for Plaintiff

Chris Doe, Plaintiff, | SUPERIOR COURT OF NEW JERSEY

Vv. 3
RUTGERS, THE STATE UNIVERSITY OF LAW DIVISION: MIDDLESEX COUNTY

“NEW JERSEY and Jewell Battle in her official DOCKET NO. MID-L- ~
jcapacity as the OPRA ADMINISTRATOR and .
RECORDS CUSTODIAN of Rutgers University, | CIVIL ACTION

Defendants. (PROPOSED) FINAL ORDER

 

 

THIS MATTER having been brought before the Court pursuant to R. 4:67-1 and 2(a) by
Jamie Epstein, ESQ and Walter M. Luers, ESQ, for Plaintiff, by Verified Complaint and Order to Show
Cause for an Order requiring Defendants, RUTGERS, THE STATE UNIVERSITY OF NEW JERSEY
and Jewell Battle in her official capacity as the OPRA ADMINISTRATOR and RECORDS
CUSTODIAN of Rutgers University, and the Court having considered the papers submitted by the
parties, and having heard oral argument; and for the reasons set forth on the record on

, 2021, and for good cause shown,

 

ITiSonthis day of , 2020, ORDERED
1. Defendants shall provide Plaintiff with copies of the following records in pdf media of:
A. De-identified disciplinary records of other Rutgers Newark Graduate Students
charged with a separable offense;
B. Plaintiffs own student records of Defendants’ communications making
reference to Plaintiff as requested by Plaintiff in Plaintiff's OPRA Requests of 4/3/21 and

4/13/21; and
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C. After in-camera review, the non-privileged portion of the redacted 102 page record in
response to the 4/3/21 OPRA Request item 4, OPRA search/response records improperly

asserting various privileges.

 

2. An award of costs of this action and reasonable attomeys’ fees:

3, Such other, further and different relief as the Court may deem equitable and just.

4. A copy of this Order shall be served upon all parties by operation of the eCourts system.
HON. JSC,

This order was:
OPPOSED _

UNOPPOSED
Case 1:21-cv-17811 Document1 Filed 09/29/21 Page 194 of 206 PagelD: 194

EXHIBIT F
Caspci2 besos losbenonestt-2F Ped P9/28/44 TRagel Le RAG daggelp: 195

COHN LIFLAND PEARLMAN
HERRMANN & KNOPF LLP
Walter M. Luers, Esq., No. 034041999
Park 80 West - Plaza One

250 Pehle Avenue, Suite 401

Saddle Brook, New Jersey 07663
(201) 845-9600

JAMIE EPSTEIN, ESQ.- 008081990
17 Fleetwood Drive

Hamilton, New Jersey 08690
Telephone: 856.979.9925

Attorneys for Plaintiff

Chris Doe!, Plaintiff, | SUPERIOR COURT OF NEW JERSEY
¥ | / i open |
RUTGERS, THE STATE UNIVERSITY OF , LAW DIVISION: MIDDLESEX COUNTY |
NEW JERSEY and Jewell Battle in her official | DOCKET NO. MID-L-~__ |
(capacity as the OPRAADMINISTRATOR and | |
‘RECORDS CUSTODIAN of Rutgers University, CIVIL ACTION
i Defendants. VERIFIED COMPLAINT

Plaintiff Chris Doe, through counsel, Law Offices of Walter M. Luers, LLC &
Jamie Epstein, Attorney at Law, and by way of verified complaint against the Defendants
Rutgers, The State University of New Jersey and Jewell Battle in her official capacity as the
OPRA Administrator and Records Custodian of Rutgers University, alleges as follows:

PRELIMINARY STATEMENT

1. This is an action under the Open Public Records Act, N.J.S.A. 47: 1A-~1 et seq., seeking a copy
of his own student records from 1/1/17 to the present and the de-identified disciplinary records of other
Rutgers Newark Graduate Students charged with a separable offense as per Plaintiff's OPRA Request
received by Defendant on 4/3/21 and 4/13/21,

PARTIES

1 Chris Doe is a fictitious name used to protect the plaintiff/student’s right to confidentiality of the plaintiff/student's records
under state and federal law which are the subject of civil action. The Federal Family Educational Rights and Privacy Act of
1974 (FERPA), 20 U.S.C.S. § 12328, New Jersey Pupil Records Act, NJS.A. § 18A:36-19, LR. vy Camden City Pub. Sch.
Dist., 452 NJ, Super. 56, 86 (NIAD 2017) (“to safeguard the reasonable privacy interests of parents and students against the
opposing interests of third parties who may seek access to their student records “*}

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2. Plaintiff Chris Doe is a citizen of the State of New Jersey, a natural person and a former student
of Rutgers University. Chris Doe's current State of residence is New Jersey.

3. Defendant Rutgers, the State University of New Jersey, is a public entity of the State of New
Jersey and is a public agency within the meaning of N.J.S.A.47:1A-1,1, With respect to requests for
public records, on information and beltef, Rutgers’ principal place of business is 65 Bergen Street, Suite
1346, Newark, New Jersey. Rutgers is a public institution of higher education and is subject to all
applicable state and federal laws pertaining to the maintenance and dissemination of its students’
records,

4, Defendant Jewell Battle, sued in her official capacity as the OQPRA Administrator and Records
Custodian of Rutgers, is a “custodian of a government record” as that term is defined by OPRA,
N.J.S.A. 47:1A-1.1, On information and belief, Defendant University Custodian of Records’ principal
place of business is 65 Bergen Street, Suite 1346, Newark, New Jersey.

JURISDICTION AND VENUE

5, Venue is properly laid in Middlesex County. R. 4:3-2(a).
6. This Court has subject matter jurisdiction pursuant to OPRA, N.JS.A.
AT:1A-6.
FACTUAL ALLEGATIONS
7. From September 2010 to October 2017, Plaintiff was a student at Rutgers University in the

graduate school of business - Newark.

3. While at Rutgers University, all of Plainuff’s personally identifiable student records were non-
public records because of Plaintiff's’s status as a student.

9, Rutgers University receives funding under programs that are administered by the United States
Department of Education. As such, Rutgers University 1s subject to the Family Educational Rights and
Privacy Act (“FERPA”), which requires Rutgers University to not disclose personally identifiable

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information from a student’s records. Doing so risks loss of funding.
10, Because Plaintiff was a student of Rutgers, Plaintiff was within the class of persons whose
personally identifiable information was protected by FERPA.
HH. Rutgers University’s duty to safeguard the privacy of Plaintiff’s personally identifiable
information continues indefinitely, regardless of whether Plaintiff is a student at Rutgers.

I, THE 4/3/21 OPRA REQUEST (OPRA1)
12. Via 4/3/21, email, Plainuff’s attorney, Jamie Epstein, Esquire, transmitted Plaintiff's OPRA
Request for Defendants to deliver the following records in pdf format via email:

Records, whether in electronic or paper media, which make reference to [plaintiff's
name, initials and student id #]. Documents requested include, but are not limited to:
(L) academic records: [plaintiff's initials] file kept by Dr. Edward Bonder, Associate Professor,
Faculty Arts and Sciences - Department of Biological Sciences; (b) Dr. Wayne Eastman,
Professor Rutgers Business School —- Supply Chain Management; (c) Dr. Francis Bartkowski,
Professor Faculty Arts and Sciences — Department of English; (d) Dr. Kinna Perry, Associate
Dean Graduate School-Newark; (e) Dr. Kyle Farmbry, Dean of the Graduate School-Newark.
Date range 1/1/17 to present.
(2) communications records such as emails, memos, text messages, voice mail, letters, etc.,
sent or received by staff, administrators, contractors or agents of the University,
search information:
senders or recipients: Dr. Edward Bonder, Associate Professor, Faculty Arts and Sciences -
Department of Biological Sciences; (b) Dr. Wayne Eastman, Professor Rutgers Business School
~ Supply Chain Management; (c) Dr. Francis Bartkowski, Professor Faculty Arts and Sciences —
Department of English; (d) Dr. Kinna Perry, Associate Dean Graduate School-Newark; (e} Dr.
Kyle Farmbry, Dean of the Graduate School-Newark: (e) [plaintiffs real name] or [plaintiff's
initials]
body or subject: [plaintiff's name] or [plaintiffs initiais}.
date range: 1/1/2017 to present
(3) other student discipline records: with all personal identification information (PID)
redacted: the disciplinary case file of any Rutgers Newark Graduate Student charged with a
separable’ offense from 1/1/2015 to present.

2 (this footnote was appended to item #3) A separable offense is defined by Rutgers University as, “2. Separable
Violations Separable violations are very serious violations of academic integrity that affect a more significant portion of
the coursework compared to nonseparable viclanions. Separable violations are often characterized by substantial
premeditation or planning and clearly dishonest or malicious intent on the part of the student committing the violation.
Below are some examples of violations that are most often considered separable. Again, the list is certainly not
exhaustive and classification of a given violation as separable or nonseparable is always heavily dependent an the exact
facts and circumstances of the violation.

A second nonseparable violation.
Substantial plagiarism on a major assignment.

Copying or using unauthorized materials, devices, or collaboration on a major exam.

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4, OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian’s search in response to [plaintiff's] OPRA Request of 3/13/18 or 3/16/18.

b. The metadata showing the folders, sub-folders and files containing the records of the

Records Custedian's search in response to [plaintiff's] OPRA Request of 3/13/18 or 3/16/18
Record Request.

Attached to the 4/3/21 OPRA Request was Plaintiff's executed Authorization for Defendants to

provide the records to Plaintiffs attorney, Jamie Epstein, Esquire.

14.

15.

On 4/14/21, Defendant responded to Plaintiff's 4/3/21 OPRA Request:

In regards to item 1, academic records, Defendant provided the following partial response:
Please see attached for academic records provide by Dr. Edward Bonder in response to this
portion of the request consisting of 2 files (Impact_of_Employee_Referral_copy.pdf and
Wentzel_ Tomezak_ Henkel_2014.pdf ) and requesied an extension to 4/22/21.

In regards to item 2, communication records, Defendant requested an extension to 4/22/21.

In regards to item 3, other students’ disciplinary records, Defendants denied the request as
overly-broad.

in regards to item 4, Defendant requested an extension to 4/22/21.

On 4/22/21, in response to the 4/3/21] request, Defendants provided 2 records in response to

item 1, academic records (truman_thesis.pdf and Hearing Board_Roster.pdf) and requested an

extension to 4/28/21.

16.

On 4/28/21, Defendants provided 5 records in response to Hem 1, academic records

(Al_Prelim_Report.(1).pdf, Comparison_Report_(1}.docx, Open_Case.docx

Preim_AI_ Report.pdf, [plaintiffs name].pdf ) and extended their response to 5/6/21.

17.

18.

19,

On 5/6/21, Defendants extended their response deadline to 5/13/21.
On 5/13/21, Defendants extended their response deadline to 5/20/21.

On 5/20/21, Defendants extended their response deadline to 5/27/21.

Having a substitute take an examination.

Making up or falsifying evidence or data or other source materials for a major assignment, including falsification
by selectively omitting or altering data that do not support one’s claims or conclusions.

Facilitating dishonesty by another student on a major exam or assignment.

Intentionally destroying or obstructing another student's work,

Knowingly violating research or professional ethics.

Any violation involving potentially criminal activity.”
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20, On 5/27/21, Defendants provided | heavily redacted 102 page record in response to item 4,
OPRA search/response records asserting various privileges (i.e., attorney-client, work product,
deliberative, etc.)

21. On 5/27/21, Defendants extended their response deadline to 6/3/21.

22. On 6/3/21, Defendants extended their response deadline to 6/10/21.

23. On 6/10/21, Defendants advised they had located 1,400 responsive records and asked if the
search criteria could be narrowed.

24. On 6/10/21, Plaintiff responded,

“its been over 2 months since the request was received by your office. you are saying request
#2, where “[plaintiff] is in the subject or body of the communication record", there are 1200
records? ] can narrow the request by eliminating sender/recipient "(e) [plaintiff's name]
[plaintiff's name] or [plainuff's initials]", how many responsive records do you get now?
remember to include any attachments to the emails.”

25, On 6/10/21, Defendants extended their response deadline to 6/15/21.
26, On 6/16/21, Defendants requested the search criteria of ‘plaintiffs initials” be eliminated,
27. On 6/16/21, Plaintiffs responded, as per the 6/10/21 email plaintiff's name and initials may only
be eliminated from the sender/recipient search criteria.
28. On 6/16/21, Defendants extended their response deadline to 6/23/21,
29, On 6/17/23, Plainuff wrote Defendant, the request is over 2 months old how many records have
you found are responsive to each item, 1., 2. , 3?
30. On 6/22/21, Defendants wrote Plaintiffs;
Please note the following regarding your request:
1. We have provided you responsive records for portion 1 of your request. The number of pages
for these records does not count towards the calculation of the special services fee.
2. In accordance with your previous correspondence, we are not processing the portion of your
request seeking [plaintiff's name] [plaintiff's name]’s emails. The number of responsive records
are as follows for the remainder of individuals identified in this portion of your request:

- Bonder: 134 pages of responsive emai! records
- Bartkowski: 372 pages of responsive email records

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- Perry: 751 pages of responsive email records

~ Farmbry: 703 pages of responsive email records

The total number of pages of responsive email records is 1960. The University understands that
you do not wish to further narrow your request. Please see below for information regarding the
special services fee to process portion 2 of your request.

Pursuant to N.J.S.A.47:1A-S(c), an agency is authorized to impose a special service charge
where the agency must make an extraordinary expenditure of time and effort to accommodate a
request to inspect government records.

This request has 1,960 pages to be reviewed and potentially redacted. At the rate of 40 pages
per hour, the request will require 49 hours, As the University does not charge for the first four
hours of review and redaction, the special services fee shall be $2,025 based on 45 hours at
$45.00 dollars per hour, as summarized below:

Total Pages: 1960

Total time for review/redaction (40 pages/hour): 49 hours

Actual cost ($45.00/hour x 49 hours): $2,205

Total waived ($45.00 x first 4 hours): $180.00

Total charged: $2,025

If you choose to request the records, you must pay the special service charge prior to the work
commencing.

I]. THE 4/13/21 OPRA REQUEST (OPRA2)
On 4/13/21, Plaintiff submitted another OPRA Request:

Records, whether in electronic or paper media, which make reference to [plaintiff's name,
initials, student id #] Documents requested include, but are not limited to:
(1) academic records: [plaintiffs initials]'s file kept by (a) Dr. Daniel Wentzel, Distinguished
Professor Materials Science and Engineering and (b) Dr. Sengu Yeniyurt, Dean’s Research
Professor and the Chair of the Marketing Department . Date range 1/1/17 to present.
(2) communications records such as emails, memos, text messages, voice mail, letters, etc.,
sent or received by staff, administrators, contractors or agents of the University.
search information:
senders or recipients: (a} Dr. Daniel Wentzel, Distinguished Professor Materials Science and
Engineering and (b) Dr. Sengu Yentyurt, Dean's Research Professor and the Chair of the
Marketing Department . (e) [plaintiff] or [plaintiff's initials]
body or subject: [plaintiff] or [plaintiff's initials}
date range: 1/1/2017 to present
(3) OPRA Requests Response Search Records:

a. Emails with attachments of the University Ethics and Compliance Office of the
Custodian's search in response to [plaintiff's] OPRA Request of 4/6/21.

b. The metadata showing the folders, sub-folders and files containing the records of the
Records Custodian's search in response to [plainuff’s] OPRA Request of 4/6/21.

Attached to the 4/13/21 OPRA Request was Plainuff's executed Authorization for Defendanis to
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provide the records to Plaintiffs attorney, Jamie Epstein, Esquire

33. On 4/22/21, Defendants extended their response deadline to 4/29/21.

34. On 4/29/21, Defendants extended their response deadline to 5/6/21.

35, On 5/6/21, Defendants extended their response deadline to 5/13/21.

36. On 5/13/21, Defendants extended their response deadline to 5/20/21,

37. On 5/20/21, Defendants extended their response deadline to 5/27/21.

38, On 5/27/21, Defendants extended their response deadline to 6/3/21.

39, On 6/3/21, Defendants extended their response deadline to 6/10/21.

40, On 6/10/21, Defendants extended their response deadline to 6/15/21.

4}. On 6/17/21, Defendants extended their response deadline to 6/22/21.

42. On 6/24/21, Defendants extended their response deadline to 7/1/21.

43, On 7/3/21, Defendants extended their response deadline to 7/9/21.

44, On 7/12/21, Defendants provided the following 5 records to request | academic information;

(jplaintiff] NOTES docx, Event, Data_Term, Paper, ~ Truman_|plainuff|.docx

truman_thesis.pdaf, ttuman_thesis_highlights.pdf, [plaintiff] _ Thesis Highlighted pdf )

45, Also on 7/12/21, Defendant wrote Plaintiff in response to Request 2 for communication records:
We are only able to process the portions of your request seeking communications records of Dr.
Sengu Yeniyurt and {plaintiff's name]. We were not able to conduct a search of Dr. Wentzel’s
emails as he is not in our IT system. However, we have included his name as a keyword in the
search of Dr. Yeniyurt and [plaintiff's name]’s emails in addition to the keywords you provided.
As stated in your other public records request, we are aware that you do not wish to narrow:
The number of responsive records are as follows for the remainder of individuals identified in
this portion of your request:
- Yeniyurt: 4031 pages of responsive email records
- [plainuff's name]: 577 pages cf responsive email records
The total number of pages of responsive email records is 4608. Please see below for
information regarding the special services fee to process portion 2 of your request,
Pursuant to N.JLS.A. 47:1A-5(c), an agency is authorized to impose a special service charge
where the agency must make an extraordinary expenditure of time and effort to accommodate a

request to inspect government records.
This request has 4608 pages to be reviewed and potentially redacted. At the rate of 40 pages per

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hour, the request will require 115 hours. As the University does not charge for the first four
hours of review and redaction, the special services fee shall be $4995 based on 111 hours at
$45.00 dollars per hour, as summarized below:

Total Pages: 4608

Total time for review/redaction (40 pages/hour): 115 hours

Actual cost ($45.00/hour x 49 hours}: $5175

Total waived ($45.00 x first 4 hours): $180

Total charged: $4995

If you choose to request the records, you must pay the special service charge prior to the work
commencing,

WI. Doe v. Rutgers, State Univ. of N.J., 466 N.J. Super. 14 (NJAD 2021)
46. On 1/12/21, the Appellate Division decided the parties’ prior OPRA civil action on appeal from
the Superior Court of New Jersey, Law Division, Middlesex County, Docket No. L-1651-18. .
47, Specifically, in regards to Plaintiff's prior request for de-identified disciplinary records of other
Rutgers Newark Graduate Students charged with a separable offense, the Appetlate Division, at 30,
held,
Lastly, we turn to Request Five seeking disciplinary files ——- with PI redacted —~ of all Rutgers
Newark graduate students charged with a separable offense from January 1, 2013 to the present.
Despite plaintiff's efforts to comply with OPRA's requirement that student records not disclose
the student's identity, N.J.S.A, 47:1A-1.1, the trial court was correct in ruling the records were
not subject to disclosure because the request was overbroad. Plaintiff fails to provide any
reference to disciplinary guidelines indicating what charge might result in a student being
separated or expelled from a graduate program. Leaving it to defendants to research and
compile a database to determine what discipline records were exempted or could be redacted
makes the request overbroad.
48. Plaintiffs 4/3/21 OPRA Request, item 2 request (supra, [12.n. 2), fully conforms with the
Appellate Division's specifications as how to properly delineate the request for de-identified other
students’ disciplinary records.
FIRST COUNT
(OPEN PUBLIC RECORDS ACT - N.JS.A. 47:1A-1, ET SEQ.)

50. Plaintiff hereby repeats and incorporates by reference paragraphs 1-48 of this Verified

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Complaint.
51. Defendants’ demal of access to Plaintiff's 4/3/21 OPRA Request, item 2, for de-identified
disciplinary records of other Rutgers Newark Graduate Students charged with a separable offense
because if was overly-broad (supra, 4/14) constituted a denial of access in violation of OPRA.
52. Defendants’ service charges of $2,025 and $4,995 constitute a denial of access to Plaintiffs’
4/3/21 and 4/13/21 request for Plainuff's own student records of Defendants’ communications making
reference to Plaintiff.
53. As matter of law, Defendants are prohibited from charging a student for the costs to search for
or retrieve the student's own education records. 34 CFR § 99.11(b), 20 U.S.C. 1232a(a)(1)
54. The information requested by Plaintiff and withheld by Defendants are public records within
the definition of NJ.S.A. 47:1A-1.1.
35, Defendants violated OPRA by not providing access to the information sought by Plaintiff.
WHEREFORE, Plaintiff demands:
A. An order or judgment compelling access to of PDF copies of the following records:
i. De-identified disciplinary records of other Rutgers Newark Graduate Students
charged with a separable offense;
H. Plaintiff's own student records of Defendants’ communications making reference
to Plaintiff;
i, Based on an in-camera review, the non-privileged records of the heavily redacted
102 page record in response to item 4, OPRA search/response records

improperly asserting various privileges.

B. An award of costs of this action and reasonable attorneys’ fees; and
Cc. Such other, further and different relief as the Court may deem equitable
and just.
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DESIGNATION OF TRIAL COUNSEL
Plaintiff hereby designates Walter M. Luers as trial counsel.
CERTIFICATION PURSUANT TO R. 1:38-7(B)

l certify that confidential personal identifiers have been redacted from documents

now submitted to the Court, and will be redacted from all documents submitted in the future.
CERTIFICATION OF NO OTHER ACTIONS

Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy is not the
subject of any other action pending in any other court or of a pending arbitration proceeding to the
best of my knowledge and belief. To the best of my belief, no other action or arbitration proceeding
is pending or contemplated. Further, other than the parties set forth in this pleading, I know of no
other parties that should be joined in the above action. In addition, I recognize the continuing
obligation of each party to file and serve on all parties and the Court an amended certification if
there is a change in the facts stated in this original certification.

Respectfully submitted,

Welter  Leuers, Eig 4
WALTER M. LUERS, ESQ.
Dated: 8/2/21

JF

JAMIE EPSTEIN, ESQ.
Dated: 8/2/21

VERIFICATION
I, Chris Doe am the Plaintiff in the within case and do hereby verify the following
statements are made based upon personal knowledge or is based upon information and belief, as this is
the understanding of the law as it has been explained to me.

I cerufy on this 31" day of July, 2021, the foregoing statements made by me are true and that if

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the statements are willfully false or misleading, ] understand that 1 am subject to punishment.

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Chris Doe, Plaintiff

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Civil Case Information Statement

Case Details: MIDDLESEX | Civil Part Docket# L-005051-21

Case Caption: DOE CHRIS VS RUTGERS, THE STATE U Case Type: OPEN PUBLIC RECORDS ACT (SUMMARY ACTION}
NIVERSITY Document Type: Verified Compiaint

Case Initiation Date: 08/26/2021 Jury Demand: NONE

Attorney Name: JAMIE MARK EPSTEIN Is this a professional malpractice case? NO

Firm Name: JAMIE EPSTEIN Related cases pending: YES

Address: 17 FLEETWOOD DR If yes, list docket numbers: MID-L-001651-18

HAMILTON NJ 08690 Do you anticipate adding any parties {arising out of same
Phone: 8569799925 transaction or occurrence}? NO

Name of Party: PLAINTIFF : DOE, CHRIS

Name of Defendant's Primary Insurance Company Are sexual abuse claims alleged by: CHRIS DOE? NO

{if known}: None

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEGIATION
Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Other(explain} STUDENT/UNIVERSITY

Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title 59? NGO Consumer Fraud? NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

08/26/2021 is/ JAMIE MARK EPSTEIN
Dated Signed
